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                EXHIBIT A
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THE ODYSSEY OF THE MOVE REMAINS




 REPORT OF THE INDEPENDENT INVESTIGATION INTO THE
DEMONSTRATIVE DISPLAY OF MOVE REMAINS AT THE PENN
        MUSEUM AND PRINCETON UNIVERSITY

                          August 20, 2021

                            Prepared By
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                          I.     EXECUTIVE SUMMARY

        A.    Introduction
        The University of Pennsylvania (the “University”) retained the Tucker Law Group
(“TLG”) to conduct an independent investigation into the circumstances under which the
unidentified remains of a MOVE member killed by the City of Philadelphia on May 13,
1985 on Osage Avenue came to be stored -- four miles away, for 36 years -- at the
University of Pennsylvania Museum of Archaeology and Anthropology (“Penn
Museum” or “Museum”), and subsequently used as a demonstrative exhibit in a 2019
Princeton Online course taught by one of its anthropologists.
        The remains were obtained in early 1986 by Dr. Alan Mann, a physical
anthropology professor at the University, who was retained by the City Medical
Examiner’s Office (“MEO”) as a private consultant to assist in the identification of the
remains. Mann was assisted in this effort by Dr. Janet Monge, a graduate student at the
time, who later became an associate curator at the Penn Museum. Mann stored the
remains in his office at the Penn Museum until he retired in 2001 and joined the faculty
at Princeton. Mann left the remains with Monge who then stored them in her office and
in the Physical Anthropology Lab (the “Lab”) at the Penn Museum for the next twenty
years. During this time Monge showed the remains to different individuals and groups
on at least ten occasions before the demonstrative exhibit in the online video course in
2019.
        After consultation with some MOVE members, and unsuccessful attempts to
reach possible relatives, the Penn Museum arranged to have the remains that were
displayed in the video returned to MOVE members on July 2, 2021.

        B.    Objectives

        Our primary objectives in this inquiry have been descriptive and prescriptive, that
is: to make findings and conclusions of the facts relating to the demonstrative display of
the MOVE remains; ascertain the storage and use of those remains at the Penn Museum;
determine whether the possession and use of the remains conformed to the Penn


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Museum’s policies, or violated any relevant professional, ethical, or legal standards;
make recommendations to the University relating to the MOVE remains; and suggest
other actions and initiatives that the University might undertake relating to this current
controversy and beyond.


       C.     Why The Demonstrative Display of the Remains Matters
       Given the widespread public controversy that this matter has engendered, we
thought it important that our inquiry also determine how this controversy arose and
provide an interpretive perspective on why the display of the MOVE remains matters at
this moment in time. As a preliminary matter, we note that much of the critical
commentaries from a congeries of sources about this controversy are based, in part, on
three inaccurate factual premises: (1) that the remains used in the video were indisputably those
of a specific MOVE child killed in the bombing,(2) that the remains of a second MOVE child were
housed at the Museum, and (3) no effort was ever made to identify and return any of those remains
to MOVE family members. In fact, the identity of the remains used in the video is still a
matter of legitimate dispute, and all that we could conclude, with a reasonable degree of
certainty, is that the remains displayed in the video were of a MOVE member. We found
no credible evidence that the remains of a second child were ever housed at the Museum.
And finally, we also found that efforts were indeed made to identify the remains used in
the video with the goal of returning them to MOVE family members. We point this out,
not because it was outcome determinative in our investigation, because one of our
objectives was to examine the ethical and legal propriety of the custody and display of
any MOVE remains, identified or not. Rather, we do so to illustrate the potency of
carefully crafted and widely disseminated misinformation to shape public opinion and
inflame passions. Not surprisingly, that inaccurate narrative circulated with warped
speed across print and electronic media and the internet and fueled much of the resulting
public expressions of outrage and condemnation.

       Notwithstanding this misleading narrative and how it arose, we believe that this
issue matters because of the fortuitous confluence of the lingering sense of injustice


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relating to MOVE’s treatment by the City of Philadelphia; the current era of racial
reckoning relating to the role of university anthropologists in the development of
scientific racism; and the international movement to repatriate human remains from
museums—especially those of Black and Indigenous People.

       First, the City of Philadelphia’s deadly confrontations with MOVE in 1978 and
1985 are just contemporary examples of the Philadelphia Police Department’s long and
sordid history of the use of excessive and deadly force against Black people. In 1978, after
five years of conflicts with and numerous arrests of MOVE members, the City of
Philadelphia blockaded the MOVE compound in Powelton Village and then waged a
military style assault on the building, which contained women and children, to arrest
members of MOVE for housing code violations. During the shootout that followed, a
police officer was killed, and nine MOVE members were tried, convicted, and sentenced
to 30-100 years in prison for his death. Many Philadelphians have never comprehended
how nine people were convicted of killing one officer who died from a single bullet
wound. On the other hand, the three police officers who kicked and stomped a MOVE
member, after he surrendered, in full view of cameras and dozens of spectators, were
tried for assault but acquitted by a judge who removed the decision from the jury.
       In 1985, eleven men, women and children were killed when the City, after a 12-
hour military style assault to arrest MOVE members for misdemeanor offenses, bombed
the Osage Avenue MOVE house causing a fire that that they purposefully allowed to
burn, which destroyed it along with sixty other homes. The only person convicted of a
crime was the lone adult survivor of the bombing who was tried and sentenced to seven
years in prison for riot and conspiracy. Not a single City official was ever held criminally
liable for the deaths of the MOVE adults and innocent children, or the destruction caused
by the City’s deadly confrontation.
       Second, this current period of racial reckoning, coupled with the repatriation of
human remains movement of the last several years, demand an acknowledgement that
many universities and museums were complicit in creating the scientific justifications for
slavery resulting in the dehumanization of Black people in life and the desecration of


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their bodies after death. It also raises the moral and human dignity implications of the
continuing possession and use of human remains by universities and museums, of which
the Samuel Morton Cranial Collection at the Museum is emblematic.


       D.     Investigative Methodology
       TLG interviewed forty people who included: members of the MOVE organization
and displaced residents of Osage Avenue; current and former Penn Museum employees;
faculty, graduate students, and graduates of the University; anthropologists, academics,
community members, clergy, elected officials, and journalists. We reviewed thousands of
pages of documents, including archival records of the MOVE Commission and their
experts that investigated the 1985 bombing, which are located at Temple University; the
1988 grand jury report that investigated the bombing; and City and Police Department
records and investigative reports relating to MOVE. We also reviewed the records of the
Philadelphia MEO relating to (1) how the 6221 Osage Avenue site was excavated, (2) the
City’s efforts to identify the remains, and (3) the chain of custody of the remains that
ultimately ended up at the Penn Museum. We surveyed the codes of ethics of several
anthropological associations, and Pennsylvania and New Jersey statutory and common
law regarding the treatment of human remains.
       Finally, we reviewed newspaper articles, videos, documentaries, studies, and
dissertations on the history of MOVE, police brutality, scientific racism, best stewardship
standards of museums, and the ethical propriety of the housing and exhibition of human
remains, particularly those of minorities and indigenous people. We also consulted
widely with anthropologists, historians, journalists, and other subject-matter experts on
the racial and human dignity implications of the possession and use of human remains
by museums generally, and why the MOVE remains, in particular, matter with such
resonance at this moment in time.




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       E.     Findings and Conclusions
1. After the Bombing of Osage Avenue, a dispute arose between the MEO and the MOVE
   Commission’s experts over the identity of two sets of remains of MOVE children. The
   Commission’s experts concluded that they were the remains of Katricia Africa and
   Delisha Africa, but the MEO disagreed with those findings.

2. The MEO retained Dr. Alan Mann, a physical anthropologist at the University, who
   was acting as a private consultant, to assist in the identification of the disputed
   remains. He was assisted in that effort by Dr. Janet Monge, who was his graduate
   student assistant at that time. Mann then issued a report that disputed the conclusions
   of the Commission’s experts as to the identity of the remains. In early 1986, Mann took
   the remains of what the Commission concluded were those of Katricia to his office at
   the Penn Museum to conduct further tests. There is no credible evidence that Mann
   also took the remains that the Commission concluded were those of Delisha. Mann
   and Monge did not believe that the remains taken to the Museum could be
   conclusively identified as those of Katricia Africa.

3. After the examination in 1986, Mann conducted no further tests on the remains and
   stored them in his office from 1986 to 2001 when he retired from the University and
   joined the faculty at Princeton University. Mann left the remains at the Museum when
   he went to Princeton.

4. From 1986 to 2001, Mann made no effort to return the remains to the MEO or contact
   any MOVE family member.

5. The MOVE remains were never accessioned or formally added to the Penn Museum’s
   collections.

6. Mann did not violate any specific prevailing professional, ethical or legal standards
   by his retention of the remains from 1986 to 2001.

7. Mann’s retention of the remains from 1985 to 2001 after he was unable to identify
   them, and his failure to return them to the MEO, demonstrated extremely poor
   judgement, and a gross insensitivity to the human dignity as well as the social and
   political implications of his conduct.

8. From 2001 to 2014, the remains were stored in a file cabinet in Dr. Janet Monge’s office.
   Monge is the current Penn Museum associate curator, who was a graduate assistant
   to Mann when he took custody of the remains. From 2014 to 2021, the remains were
   stored in Monge’s Lab at the Museum.




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9. In 1995 and 2014, Dr. Monge sought to identify and return the remains, by contacting
   two of the MOVE family members, one through a third-party intermediary, but they
   refused to help her.

10. The remains were shown by Dr. Monge to graduate students, donors, and Museum
    personnel on at least ten occasions between 2014 and 2019.

11. The remains were used by Dr. Monge as a case study in a Princeton Online video
    course that she taught in 2019 as a visiting professor at Princeton.

12. Dr. Monge did not inform MOVE family members of and obtain their consent to use
    the remains in the Princeton Online video course.

13. The Museum did not have a policy on the retention, display or use of the MOVE
    remains and other non-accessioned remains as demonstrative artifacts or for other
    purposes.

14. Dr. Monge’s retention and use of the remains as a demonstrative artifact did not
    violate the Museum’s Policy Statement on Human Remains which was adopted in 2017
    because it did not apply to the non-accessioned MOVE remains.

15. Dr. Monge did not violate any specific professional, ethical or legal standards by
    retaining and displaying the remains.

16. Dr. Monge’s retention of the remains from 2001 to 2021 and their use in the Princeton
    Online video course demonstrated, at a minimum, extremely poor judgement and
    gross insensitivity to the human dignity and social and political implications of her
    conduct.

17. Although the remains were not formally a part of the Museum’s collection, several
    persons, including a former director and deputy director of the Museum, observed
    some of the remains at some point during the time that they were at the Museum, and
    were aware of their provenance.

18. No one in a leadership position at the Penn Museum believed that having the remains
    at the Museum and their display to students, donors and others violated any Museum
    policies.

19. There is no evidence that any University Officer or Administrator was aware that
    Monge was in possession of the remains or of their use or display.




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      F.     Recommendations

1. Appoint a University funded diverse, multidisciplinary committee to advise the
   University on these recommendations as well as its ongoing relationship with the
   West Philadelphia Community. The Committee should publish an annual report on
   its activities and accomplishments.

2. Establish a permanent installation on the Bombing of Osage Avenue at a publicly
   accessible location at the University.

3. Hire a chief diversity officer for the Penn Museum.

4. Create a new full-time position for a bio-anthropologist/archaeologist with expertise
   in the analysis of human remains with a record of advocacy for Black and Indigenous
   people and in repatriation requests; this individual should hold a dual position as a
   Penn Museum curator and a tenure-track faculty member in the Department of
   Anthropology.

5. Conduct a comprehensive review of the holdings and collection practices of the
   Museum’s Physical Anthropology section and reassess its practices relating to the
   possession and various uses of human remains, accessioned as well as privately held.

6. Present a joint exhibition with the African American Museum in Philadelphia on the
   role of university scholars and anthropologists in the development of scientific racism.

7. Establish a scholarship program and actively recruit academically talented students
   who are graduates of Philadelphia public high schools and charter schools located
   within the 19142 and 19143 zip code areas in West Philadelphia.




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                  II.     MOVE IN THE CITY OF PHILADELPHIA

        A.      The History of Philadelphia Police Brutality
        For over 150 years, the Philadelphia Police Department has beaten, brutalized, and
killed Black people and others with impunity. The Department’s deadly confrontations
with MOVE in 1978 and 1985 are two of the most horrific recent examples of this history
of systemic racism and institutionalized deadly violence.
         In 1870, a white police officer was convicted of killing an unarmed Black man in
Society Hill.1 Since that conviction there have been hundreds of publicized instances of
brutality by Philadelphia police officers against Black people and rarely were any held
civilly or criminally accountable. In August of 1870, several Black people were beaten by
police at a polling place at 5th and Lombard Streets because they complained about
waiting in line while white people voted. 2 On October 10, 1871,
Octavius Catto, a Black educator and political organizer, was
assassinated the day after Black voters were attacked by white
police officers and other politicians. His killer was acquitted
despite evidence from six eyewitnesses. 3 In September of 1915,
                                                                                    Octavius Catto
police officers attacked Black people who were protesting the
showing of D. W. Griffith’s racist film, “The Birth of a Nation” at the Forrest Theatre on
South Broad Street. 4


1 Much of this chronology is taken from “Black and Blue: Timeline of Police Brutality in Philadelphia”

Philadelphia Inquirer (2020)
https://www.inquirer.com/news/inq/philadelphia-police-brutality-history-frank-rizzo-20200710.html

Also see, History of Racism in the Philadelphia Police Department” (2020) Time Magazine
https://time.com/5905583/philadelphia-police-racism-history/

2 “Black and Blue”


3 Biddle and Dubin, Tasting Freedom: Octavius Catto and the Battle for Equality in Civil War America

(2017). In 2017, Mayor Jim Kenney erected a statue of Catto, the first memorial to a Black person on public
land in Philadelphia history. https://www.phila.gov/news/mayors-office-of-black-male-engagement/a-
philadelphia-hero-octavius-catto-statue-unveiled-at-city-hall/

4 “The Birth of a Nation, Police Brutality and Black Protest.”(2015)




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        In 1922, Philadelphia’s police department became the first in America to obtain
tear gas, and the first person they used it against was a Black man named George Rex
who was suspected of having committed a robbery. 5 In March of 1946, after a fight broke
out between Black and white students at Samuel Tilden High School in Southwest
Philadelphia, the police arrested 14 Black students, but none of the whites.
        A 1952 University of Pennsylvania Law Review article on racial disparities in arrests
in Philadelphia found:
        Negroes who assert their rights against the police apparently do so in some
        cases at the risk of arrest. Arrests of negroes for disorderly conduct have
        been made solely for such reasons as: protesting at the police station; an
        illegal entrance and beating; objecting to an unauthorized search of the
        person and to being struck; or inquiring why a friend was in the police
        wagon. 6

        A 1963 study of deadly Philadelphia police shootings found that of the 32 men
killed, between 1950 and 1960, 90% were Black. 7 This disparate pattern of shooting and
killing of Black people has remained constant over the years. Fifty years later, a 2015
study found that 81% percent of people shot by police officers in Philadelphia from 2007
to 2013 were Black, although Black people comprised less than 40% of the City’s
population. 8




https://www.cambridge.org/core/journals/journal-of-the-gilded-age-and-progressive-
era/article/abs/birth-of-a-nation-police-brutality-and-black-
protest/A664ADC7E6272ED7E23952181CD3F6FB

5 “Black and Blue”


6 Note, “Philadelphia Police Practice and the Law of Arrest” 100 University of Pennsylvania Law Review

1182 (1952)
https://scholarship.law.upenn.edu/cgi/viewcontent.cgi?article=8018&context=penn_law_review

7 “Black and Blue”


8 “Philadelphia police shooting victims are 81% African American, report finds” The Guardian (2015)

https://www.theguardian.com/us-news/2015/mar/24/philadelphia-police-black-people-shooting



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        In 1979, the United States Justice Department filed a lawsuit against Frank Rizzo,
all of his cabinet members and several dozen police officers in the police department
alleging:

        [T]here exists a pervasive pattern of police abuse in Philadelphia, the effect
        of which is to deny basic federal constitutional rights to persons of all races,
        colors, and national origins. This abuse…consist of such practices as, for
        example, using deadly force where it is unnecessary, physically abusing
        arrestees and prisoners, extracting information and confessions by means
        of physical brutality, stopping persons without probable cause, and
        conducting illegal searches and seizures…. [W]hile police abuse in
        Philadelphia is visited to some extent on all segments of the population, it has a
        disproportionately severe impact on black and Hispanic persons. 9 [Emphasis
        added]

        William Cradle was beaten so badly by police in Society Hill in 1977 that they
broke several nightsticks. Then Mayor Frank Rizzo was quoted as saying ”We have a
very, very good police department and they’re not brutal…It’s very easy to break some
of those nightsticks.” Three white police officers were tried but acquitted by an all-white
jury in the beating of Mr. Cradle.10 Between 1976-2018, seven police officers were charged
with killing Black men, but only one was convicted of manslaughter.
        Almost 100 years after George Rex was teargassed, on June 26, 2020, the
Philadelphia Police Department used tear gas, pepper spray, white smoke, beanbag
rounds and plastic pellets on hundreds of peaceful protesters and reporters trapped on
Interstate 676 in Center City Philadelphia. The protesters had gathered to march in
solidarity with the hundreds of thousands of people around the world who were
protesting the public killing of George Floyd. After initially claiming that the use of force


9 “Justice Department Accuse Philadelphia of Police Abuses” (1979), Philadelphia Inquirer

https://www.washingtonpost.com/archive/politics/1979/08/14/justice-accuses-philadelphia-of-police-
abuses/46b8061c-b494-4215-b081-4c461cd06379/

A federal district court judge dismissed the complaint because he concluded that the United States Attorney
General did not have the authority or standing to bring such an action. United States vs. City of Philadelphia,
482 F.Supp.1248 (1979); https://law.justia.com/cases/federal/district-courts/FSupp/482/1248/2095905/

10 “Black and Blue”




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was necessary because the protesters were violent – a claim that was refuted by videos –
the mayor and police commissioner retracted the claim and apologized. After suspending
a SWAT officer who was filmed pulling a protester’s mask away from his face so that he
could spray tear gas directly in his nose and eyes, the City promised to make reforms in
the police department and approved an independent investigation of the incident. 11 At
the time of the incident, the police commissioner claimed that she was unaware of the
police department’s intention to use the level of force employed, however, an
independent investigation conducted by the City Controller’s office released several
months later concluded that she had in fact authorized the use of force against the
protesters. 12
        A few months later, on October 26, 2020, two white police officers shot Walter
Wallace, an obviously mentally ill Black man, who was wielding a knife, fourteen times.
They claimed deadly force was necessary because they were not equipped with tasers.
The killing was followed by several nights of peaceful protests as well as rioting and
looting. After three nights of demonstrations the National Guard was deployed to quell
the disturbances. 13
        The culture of racism and excessive deadly force against Black people is so deeply
entrenched in the Philadelphia Police Department that it is resistant to reform even from
police commissioners and mayors motivated by the best of intentions. And the race of
these top city officials is irrelevant: at the time of the MOVE bombing, both the mayor
and managing director were Black, and the police commissioner in 2020 was a Black
woman. Since 1983, Philadelphia has elected three Black mayors and had six Black police



11 “Pathways to Reform, Transformation and Reconciliation”

https://www.phila.gov/programs/philadelphia-reforms/

12 “Independent Investigation into the City of Philadelphia’s Response to Civil Unrest (2021)

https://controller.phila.gov/philadelphia-audits/civil-unrest-response/#/

13 “Police Release Traumatic Body Cam Video of Walter Wallace, Jr. Shooting.”

https://www.npr.org/2020/11/04/931598467/philadelphia-police-release-traumatic-bodycam-video-of-
walter-wallace-jr-shooting



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commissioners. The killing of unarmed Black people continued throughout the
administrations of every Black mayor and every Black police commissioner. A federal
review of police shootings requested by Police Commissioner Charles Ramsey in 2013
concluded that 80% of people shot by police between 2007 and 2014 were Black, and 45%
were unarmed. 14 The extent to which racial animus still persists in the Police Department
was demonstrated in 2019 when Police Commissioner Richard Ross suspended 72 white
police officers after they posted several hundred racists posts on Facebook.15


         B.       Frank Rizzo’s Police Department16

         Frank Rizzo, who was a high school dropout, joined the police department in 1943
and thirty years later he was elected the mayor of Philadelphia. Early in his career, he
                                                       earned the nickname of the “Cisco Kid” for
                                                       leading police raids on strip clubs and after-
                                                       hours speakeasies. He once stated his
                                                       philosophy of policing as spaaco il capo,
                                                       Italian for “break their heads.” He was
                                                       appointed deputy commissioner in 1963
                                                       and commissioner in 1967. His rise in the
                                                       Philadelphia Police Department and his
Rizzo wearing a tuxedo with a night stick in his
cummerbund                                             subsequent political career were based on
his projecting a tough cop image and on his condoning and vigorous defense of the


14 “Report on Philadelphia Police, New Rules and Training Needed” Philadelphia Inquirer, (2015)

https://www.inquirer.com/philly/news/20150324_DOJ_on_Philly_police_shootings__new_rules__train
ing_needed.html

15 “72 Police Officers Pulled Off of the Streets Because of Racist Face Book Posts” Washington Post (2019)

https://www.washingtonpost.com/nation/2019/06/20/philadelphia-cops-pulled-off-street-amid-
probe-into-racist-facebook-posts/

16 Timothy J. Lombardo, “Civil Rights and the Rise of Frank Rizzo in 1960’s Philadelphia,” Historical

Society of Pennsylvania (2019). https://hsp.org/blogs/fondly-pennsylvania/civil-rights-and-rise-frank-
rizzo-1960s-philadelphia



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systemic racism that permeates the police department and its brutal treatment of Black
people. For much of his career Rizzo was committed to suppressing Black activist groups
and demonstrations for civil rights through the use of overwhelming police power and
he openly boasted about it. Rizzo had been in the police department for 20 years when
he was appointed Deputy Police Commissioner in 1963. At the time, the National
Association for the Advancement of Colored People (“NAACP”) protested that he had
used “storm trooper tactics against negroes.” 17
         Between May and December of 1965, attorney Cecil B. Moore, head of the local
NAACP, and other Black leaders led demonstrations to integrate racially segregated
Girard College, that was located in North Philadelphia. 18 Moore and the protesters and
the police, encouraged by Rizzo, clashed frequently leading to dozens of arrests. During
these demonstrations, Rizzo’s reputation as a tough “law and order” policeman
defending the white status quo enhanced his emerging local and national reputation. In
August of 1966, Rizzo led a series of raids on several houses occupied by a local chapter
of the Student Nonviolent Coordinating Committee (“SNCC”) under the pretext that they
were amassing explosives to use in blowing up Independence Hall. Several members
were arrested and charged but were acquitted of all charges. 19
         In November 1967, 3500 Black students demonstrated at the Philadelphia School
District headquarters to demand the hiring of more Black teachers, the teaching of Black
History courses and the right to celebrate Black History.20 Rizzo ordered over 100 heavily
armed police officers in riot gear and police dogs to break up the protest. He is alleged to



17 “Black and Blue.”


18 “School Desegregation and Civil Rights Stories: Girard College” Educators Resources, National Archives

https://www.archives.gov/education/lessons/desegregation/philadelphia.html

19 Timothy J. Lombardo, “Civil Rights and the Rise of Frank Rizzo in 1960’s Philadelphia,” Historical

Society of Pennsylvania (2019). https://hsp.org/blogs/fondly-pennsylvania/civil-rights-and-rise-frank-
rizzo-1960s-philadelphia

20 Id.




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have said at the time “Get their Black asses” as he led the police charge into the crowd.21
When the national Black Panther Party planned a conference in Philadelphia for
September of 1970, Rizzo used the unrelated shootings of three police officers in a
different section of the city as a
pretext to quash the convention
and discredit the Party. On August
31, 1970, Rizzo ordered police
raids on the Black Panther’s head
quarters in North Philadelphia and
directed that they be stripped
naked in public. He bragged about
the incident in a documentary filmed in 1978 stating, “They’re a little angry. They were
humiliated. We took their pants off them to search them.” 22
         During his years as police commissioner, Rizzo acquired military style vehicles,
equipment and weapons and increased the number of police officers from 7,000 to 9,000
and the department’s budget increased from $60 million to $100 million. He once boasted
on a national news show that “We are equipped to fight wars. We could invade Cuba
and win.” 23
         Rizzo took office as mayor in 1972, the same year that MOVE was founded. He
ran a racist “law and order” campaign for mayor urging people to “Vote White.” Once


21 Jake Blumgart, “The Brutal Legacy of Frank Rizzo, the Most Notorious Cop In Philadelphia History”

(2015)
https://www.vice.com/en/article/kwxp3m/remembering-frank-rizzo-the-most-notorious-cop-in-
philadelphia-history-1022

22 Gambacorta and Laker, “Frank Rizzo Leaves a Legacy of Unchecked Police Brutality and Division in

Philadelphia” Philadelphia Inquirer, June 3, 2020

Robert Mugge, Amateur Night at City Hall: The Story of Frank Rizzo (2016)
https://www.amazon.com/Frank-L-Rizzo-Amateur-Night/dp/B07JLT6WYP/

23 Id.




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he got elected, he continued the militarization of the Philadelphia Police Department, and
encouraged and defended its brutal treatment of and use of excessive force against Black
people especially Black activists. It was just a matter of time before the “toughest cop” in
America would encounter a very different and unorthodox Philadelphia based Black
activist group -- one that was cult-like, unpredictable, and far more tenacious than the
NAACP, SNCC or the Black Panthers.


        C.      The Founding and Devolution of MOVE 24
                1. 1972-1978: The Early Years




        MOVE was founded in 1972 by Vincent Leaphart, as the “Christian Action Life
Movement.” Leaphart, who was not educated beyond the third grade, could not read or
write. He adopted the name John Africa, and his followers took the same last name,



24 Craig McCoy, “Who Was John Africa?” Philadelphia Inquirer, January 12, 1986



Linn Washington, “MOVE: A Double Standard of Justice” published in the Yale Journal of Law and Liberation
(1989).

Seven-Part Documentary on MOVE (1978)
https://www.youtube.com/watch?v=1-3BzrSVK0g&list=UUb8aGNw2RmOITgm4EjXhWFQ&index=8

“MOVE Collection” West Philadelphia Collaborative History
https://collaborativehistory.gse.upenn.edu/stories/move#after-content-container

Cf. “20 Years on the MOVE: John Africa’s Revolution” for a contrasting history of the MOVE
organization. http://onamove.com/twenty-years-on-the-move-excerpt/



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considered themselves his “family” 25 and practiced an anti-technology, communal
lifestyle. The name MOVE is not an acronym and is thought to be a
shortened version of the word “movement.” With the assistance of the
MOVE co-founder, a white University of Pennsylvania social worker
named Donald Glassey, 26 John Africa is said to have dictated and
distributed a set of governing principles, 300 pages long, for members
                                                                                        Donald Glassey
that was called at various times, “the Guidelines,” “The Teachings of
John Africa” or “The Book.”
        MOVE practiced a back-to-nature, philosophy that included a love of animals, the
rejection of processed foods, eating only raw meat, vegetables and fruit, and natural
childbirth. They rejected all modern technology and medicine, as well as all of the widely
shared political and social norms of modern society, the political process, and rejected
the authority of the law and the courts. The MOVE children received no formal education,
could not read or write, and were only taught John Africa’s “principles.” 27 MOVE’s
philosophy and communal lifestyle was to be practiced by its members wherever they
lived even if in urban areas. Although their primary residence was Philadelphia, at
different times, MOVE also owned properties in Richmond, Virginia and Rochester, New
York. 28


25 He chose the name “Africa” to pay homage to the continent where “all life began.” McCoy, supra. Several

of the original members were related by blood. See Exhibit 2: MOVE Family Chart. John Africa’s sisters
Louise James and Laverne Sims and six of their children belonged to MOVE. It is estimated that MOVE in
the early years never had more than 150 members, many of whom were part-timers and sympathizers.
Washington, supra p. 68. John Africa arranged all marriages between MOVE members. Louise James
Telephone Interview with the Philadelphia Police Department, July 13, 1984

26 By 1977 Glassey had become disenchanted with John Africa. He stated that “there is a thin line between

genius and insanity” and John Africa had crossed that line. He became an undercover informant for the
federal government and served as a prosecution witness against John Africa when he was tried and
acquitted in 1981 in federal court on weapons and explosives charges. McCoy, supra His sister, Louise
James, described him as “legally insane” after John Africa ordered her son, Frank Africa, to severely beat
her for disobeying him. Louise James Telephone Interview with the Philadelphia Police Department, July
13, 1984

27 Louise James In-Person Interview with the Philadelphia Police Department February 21, 1984


28 McCoy, supra.




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        MOVE’s founding in 1972 was against a backdrop of political fervor which
included massive demonstrations against the Vietnam War, and Black activism in
Philadelphia and in cities around the country aimed at challenging continuing vestiges
of racial discrimination, systemic racism, and institutionalized violence against Black
people by the police. Richard Nixon had been elected three years earlier with his
“Southern Strategy” and on an implicitly racist “law and order” platform that was a
backlash to the race riots of the late 1960’s, especially those that occurred in dozens of
cities after the assassination of Dr. Martin Luther King, Jr. in the summer of 1968.
        The Black Panther Party was founded in 1966 as a Black liberation movement that
armed its members and declared their willingness to defend themselves against police
brutality by any means necessary. By 1970 it had grown to several thousand members
with chapters in 68 cities, including Philadelphia. Delbert Africa was a member of the
Black Panther Party in Chicago before he joined MOVE. In 1969, FBI Director J. Edgar
Hoover described the Black Panther Party as “the greatest threat to the internal security
of the county,” and the FBI and state and city law enforcement agencies waged a
campaign to discredit and destroy the Party. The government’s tactics ranged from
misinformation, surveillance, and infiltration to humiliating raids on their headquarters,
some of which resulted in the killing of some of its members. The Party’s popularity in
the Black community increased as a result of this persecution and it expanded into
various state prisons. In August of 1971, George Jackson, a prison inmate at Soledad
Prison who was also a Black Panther, was killed when he allegedly tried to escape. Black
activists were convinced that Jackson was assassinated because of his militancy and his
protests of prison conditions. The following month in September, a riot by inmates at
Attica Prison in upstate New York resulted in the killing, by gunshot, of 29 Black and
Latino inmates and ten white hostages. 29


29 See Heather Ann Thompson, “The Lingering Injustice of Attica.” Although the death toll in Attica was

substantially higher than with MOVE in 1985, the overwhelming use of deadly force by law enforcement
against unarmed Black people, including the use of a helicopter to drop teargas before the assault, and the
lack of legal accountability for their deaths is comparable.
https://www.nytimes.com/2011/09/09/opinion/the-lingering-injustice-of-attica.html?_r=0


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        While these national political developments 30 may have influenced John Africa’s
decision to found MOVE, the Philadelphia Police Department’s long history of brutality
against Black people and the emergence of Rizzo were likely the dominant motivations.
Rizzo would become the main antagonist in MOVE’s frequent, violent, and ultimately
deadly clashes with the City in the early years. MOVE’s first demonstration was in 1972
at the Philadelphia Zoo to protest the caging of animals. That demonstration was the first
of what would be hundreds of clashes over the next 13 years with the Philadelphia Police
Department and the federal government, that culminated in the siege in Powelton Village
and ultimately the bombing of 6221 Osage Avenue. 31




Thompson’s book on the Attica riot, Blood in the Water: The Attica Prison Uprising of 1971 and its Legacy
(2017) won a Pulitzer Prize. Thompson is writing a book on the MOVE confrontations.

30 In fact, John Africa’s original “teachings” had very little of the political rhetoric and Black liberation goals

of their contemporary counterparts such as SNCC, the NAACP or the Black Panthers. Bobby Seale, one of
the founders of the Black Panthers, criticized MOVE in 1985 because he felt that rather than uplifting and
serving Black people, MOVE was determined to antagonize and divide the Black Community in an effort
to free their imprisoned members. Washington, supra

31 MOVE members were arrested over 50 times in 1973 and 150 times in 1974. Each of these encounters

involved violent struggles with the police. See Washington, p. 71. MOVE members were regularly charged
with disorderly conduct, assault, and contempt of court. But no police officers were ever criminally charged
for their use of force against MOVE members. Id.

Seven-Part MOVE Documentary(1978)
https://www.youtube.com/watch?v=1-3BzrSVK0g&list=UUb8aGNw2RmOITgm4EjXhWFQ&index=8

MOVE claimed that in 1976 Janine Africa’s baby, Life Africa, was killed by the Police Department when
they assaulted Janine and stomped her while she was on the ground. Several elected officials were invited
to the home in Powelton Village to see the remains. “20 Years on the MOVE: John Africa’s Revolution” for
a contrasting history of the MOVE organization. http://onamove.com/twenty-years-on-the-move-
excerpt/

After several incidents and arrests involving excessive force by the Philadelphia Police Department, in 1976
MOVE filed a $26 million lawsuit in federal court alleging that the City was harassing them for exercising
their constitutional rights. The lawsuit was dismissed.



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               2. 1978: The Siege in Powelton Village 32
                               “The police will be in there to drag
                              them out by the backs of their necks.
                                     They will be taken by force,
                                           children or not”

                                                       Frank Rizzo 33

       In the summer of 1973, MOVE moved into a building owned by MOVE co-founder
Donald Glassey at 307 North 33rd Street in the Powelton Village section in West
Philadelphia. They used wooden beams and metal sheets to convert it into a fortified
compound, including a reinforced barricade in the front of the building. MOVE then
regularly used a bullhorn to loudly broadcast John Africa’s principles to its neighbors
and passersby, and to criticize the racist and brutal treatment of MOVE members and
other Black people by the Philadelphia Police Department. Some of MOVE’s neighbors
complained to the City about the unsanitary conditions in the MOVE compound and
stated that several of the minor children living there were not enrolled in school and often
appeared filthy, naked, and malnourished. MOVE also kept numerous stray dogs, cats,
and rats in the compound, fed them raw meat, and allowed the dogs to roam freely in the
streets.
       Since they believed that “all life begets life” MOVE composted their garbage with
human and animal feces often dumping it and raw sewage in the streets, creating a
stench, and attracting rats and roaches. As a result, for much of its history MOVE was
regularly cited for violations of the City’s health and housing codes. In 1975, some of
MOVE’s neighbors also complained of being verbally and physically assaulted by MOVE
members. In early 1977, MOVE armed themselves and could be seen on the top of the




32 John C. Puckett and Devin DiSilvis, “MOVE in Powelton Village: 1973-1978”West Philadelphia

Collaborative History. https://collaborativehistory.gse.upenn.edu/stories/move-powelton-village

33 Seven-Part MOVE Documentary (1978)

https://youtu.be/xnl_MF3NsF0?list=PL00D8AB63627DAEAF



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building brandishing handguns and rifles, stating that they had the weapons to protect
themselves from the police and announcing that they would not hesitate to use them.




                           307-309 North 33rd Street, Powelton Village

       After receiving frequent complaints about health and housing code violations at
the house from MOVE’s neighbors, MOVE’s refusal to pay utilities, and their frequent
clashes with the police, the City obtained a court order in early 1978 that required MOVE
to vacate the compound within 90 days. MOVE initially agreed to do so and surrendered
some of their weapons. In March of 1978 when MOVE refused to leave the house, Rizzo
deployed hundreds of police officers to set up a blockade of several blocks around the
house, which lasted 55 days. This blockade, which was intended to starve MOVE into
surrendering, also prevented residents from entering the area without passbooks and
they were subject to searches before they could enter. The result was numerous
demonstrations and rallies in support of MOVE. 34
       Finally on August 8, 1978, the police and fire departments began an assault on the
house and demanded that the MOVE members for which there were arrest warrants
surrender. Twelve adult men and women as well as several children were in the house at
the time. When MOVE refused to surrender, the City used a crane and a bulldozer to
destroy the wall and reinforced front of the house, and pumped hundreds of gallons of
water and dozens of tear gas cannisters into the house with full knowledge that there


34 Seven-Part MOVE Documentary(1978)

https://www.youtube.com/watch?v=1-3BzrSVK0g&list=UUb8aGNw2RmOITgm4EjXhWFQ&index=8




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were children inside. When a shot was fired from an undetermined direction, a shootout
ensued for several minutes between MOVE and the police, and a police officer named
James Ramp was tragically killed. Several other police officers, firefighters, bystanders
and MOVE members were also injured. One MOVE member, Delbert Africa, surrendered
with his arms extended and was still pulled out of the building by his hair and kicked
and beaten in the street by three police officers in full view of the public and news media.




                          The Public Beating of Delbert Africa, August 8, 1978

        Shortly after the shootout ended, and a 90-minute “investigation” of the building,
Rizzo ordered that the building be razed, he claimed, to prevent other MOVE members
from reoccupying the building which by that time was uninhabitable. Consequently, the
crime scene was effectively destroyed before a proper investigation could be conducted
into who caused Officer Ramp’s death. Although MOVE contended that he was killed by
gunfire from the police, nine of their members (the “MOVE 9”) were convicted of third-
degree murder in August of 1981 and sentenced to 30-100 years in prison. 35 As was their




35 The police officers who beat Delbert Africa were not criminally charged until 1981 because the Police

Department refused to provide their names. Notwithstanding the video evidence of the beating, in an
unprecedented ruling, Philadelphia Common Pleas Judge Stanley Kubacki issued a directed verdict of
acquittal even though their lawyers did not ask that he do so. Commonwealth v. Geist, 5 Phila. 210 (1981).



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practice, MOVE rejected the assistance of lawyers and
represented themselves in a nineteen-week, nonjury trial
which was the longest criminal trial in Philadelphia
history at the time.36 The convicted members were Merle
Africa, Phil Africa, Delbert Africa, Janet Africa, Chuck
Africa, Janine Africa, Eddie Africa, Mike Africa, Sr., and
Debbie Africa. Janine and Phil ’s son, Phil, and Janet and
Delbert’s daughter, Delisha would both later be killed at
Osage Avenue. Merle Africa and Phil Africa died while
                                                                                   MOVE 9
incarcerated and Delbert Africa died six months after his
release from prison in 2020. The six remaining MOVE 9 members are no longer
incarcerated.

                3. The Bombing and Burning of Osage Avenue37
                        “I bet they won’t call the Police Commissioner
                                    a mother f…. anymore” 38

        In 1983, John Africa and several of the remaining MOVE members forcibly
occupied a three-bedroom row house at 6221 Osage Avenue in the predominantly Black
working-class area of Cobbs Creek that was owned by his sister Louise James. 39 The


36 Three other persons, including one MOVE member Consuewella Africa, were represented by lawyers

during the trial, and were acquitted. Washington, p. 69

37 The Report of the Philadelphia Special Investigation Commission (“MOVE Commission Report”)

http://library.temple.edu/scrc/philadelphia-special-1

Louis Massiah, “The Bombing of Osage Avenue” (1986)
https://www.youtube.com/watch?v=Cqgwm0iFAIs

38 MOVE Commission Report.     Statement heard over a police radio as the fire consumed 6221 Osage
Avenue.

39 After most of the interior walls were knocked down, James was confined to her bedroom and denied free

movement inside the house, and her mail was censored. In October of 1983, James was severely beaten by
her son Frank James, on John Africa’s orders, after their sister, Laverne Sims, allegedly disrespected John
Africa. Louise James and Laverne Simms Interview with the Philadelphia Police Department, February 21,
1984



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interior walls were removed and reinforced, and more than thirteen men, women and
children lived in the house. On Osage, MOVE continued its “back to nature” lifestyle
which included the same unsanitary conditions in and around the MOVE house.
Neighbors again complained that the minor children living there were not enrolled in
school and often appeared filthy, naked, and malnourished. Other than Birdie Africa,
none of the children who lived at Osage were with their parents. In fact, Katricia Africa
and Delisha Africa’s parents were incarcerated members of the MOVE 9. As they had
done in Powelton Village, MOVE continued its practice of composting its household,
human and animal waste. They erected a pigeon coop on the roof, kept numerous stray
dogs, cats, and rats in the compound, fed them raw meat, and allowed the dogs to roam
freely in the streets. They also blocked off the common rear driveway that was used by
other neighbors on the block.




               MOVE demonstrating on Broad Street to demand release of MOVE 9




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        By 1983, an embittered MOVE’s protest tactics aimed at freeing the MOVE 9
became even more aggressive and their relationship with their Black neighbors on Osage
was drastically different than in 1978. For much of the time that MOVE was in Powelton
Village, the neighbors were generally supportive, notwithstanding the conditions in the
house and their occasional clashes with the neighbors. In fact, the 1978 blockade, assault
and the resultant brutal treatment of several neighbors during the assault, resulted in
                                       several hours of protests and statements of support for
                                       MOVE and its cause.
                                                On Osage Avenue, MOVE immediately began to
                                       campaign for the release of the jailed MOVE 9, and in
                                       October 1984 they constructed a bunker on the top of the
                                       house. They also obtained weapons and were frequently
                                       seen brandishing them from their roof and the roofs of
                                       their neighbors. MOVE installed a loudspeaker on the
                                       roof which they used day and night to harangue and
                                       insult the neighbors with profanity and insisted that they
                                       join in their demand that the City’s first Black mayor,
       Bunker on 6221 Osage           Wilson Goode, release their members from prison. On
                                      Christmas Eve of 1983, a profanity laced MOVE harangue
lasted for 36 straight hours. MOVE routinely used profanity directed to neighbors, city
employees, police officers and judges as a tactical weapon. 40 By May of 1985, MOVE had,
as the MOVE Commission found, evolved into:



40 This deliberate strategy to provoke its Black neighbors was acknowledged recently on a MOVE website

called onamove.com, which is managed by MOVE supporters: “By 1983, a core group of MOVE members,
including the group’s founder, John Africa, had relocated to the house on Osage Avenue, in the Cobbs
Creek area of West Philadelphia. The longer they lived there, the more determined they became to force
the city and its newly elected Black mayor, Wilson Goode, to revisit the sentences of the move nine. By
Christmas Eve of 1983, the residents of 6221 Osage Avenue were blasting their demands for justice, and
their increasingly vitriolic and profanity-laced critiques of city officials and the system, from loudspeakers
day and night. As dismay about the situation mounted among move’s neighbors, they began pressuring
the city to do something.” http://onamove.com/



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        “An authoritarian, violence threatening cult…that was armed and
        dangerous, and used threats, abuse and intimidation to terrify their
        neighbors and bring about a confrontation with city government.”41

        After several months of failed
negotiations between the City and MOVE
over the conditions of the house and to
resolve the complaints of the neighbors, on
May 13, 1985, the City mounted a military
style assault to arrest MOVE members for
parole violations, illegal possession of
firearms and making terrorist threats. 42                 Louise James, owner of 6221 Osage, sister of John
                                                          Africa and mother of Frank Africa who perished in
        Before the assault began, Police                                      the house

Commissioner Gregore Sambor, using a bullhorn, stated “Attention MOVE: this is
America, you have to obey the law,” and announced that they had arrest warrants for
four of the persons in the house and demanded that they surrender within 15 minutes.
At the time of the assault, the City knew that there were children in the house. When
MOVE members rejected the ultimatum over the group’s loudspeaker, the City
commenced a siege of the house at 5:50 a.m. As they had done in 1978, the Fire
Department then used high powered water cannons to direct thousands of gallons of
water at the bunker on the top of the house in an effort to destroy it before they
commenced the military style assault. The water completely flooded the basement of the
house. When MOVE still did not surrender, the Police Department used explosives to
destroy the front of the house as well as the adjoining walls of two houses on each side,

41MOVE Commission Findings # 1 and #2. The Report of the Philadelphia Special Investigation
Commission (MOVE Commission) (1986) http://library.temple.edu/scrc/philadelphia-special-1

The MOVE organization of 1985 was no longer, as recent media accounts described them: “a social justice
organization” or a “black liberation group.” Washington, infra; See also: Platt, “The Forgotten Victim of the
MOVE Bombing” The Philadelphia Citizen (May 21, 2021) https://thephiladelphiacitizen.org/forgotten-
victim-move/

42 MOVE Commission “Chronology,” Exhibit 3.




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and then pumped numerous tear gas cannisters into the house. MOVE responded to the
assault by firing several shots at the police. The Police Department, armed with 12-gauge
pump shotguns, machine guns, semi-automatic rifles, silencer equipped sniper rifles, and
Uzis fired over 10,000 rounds of ammunition into the house in a 90-minute period. After
the fire, the City recovered two .38 revolvers, two 12-gauge pump shotguns, and a .22
caliber bolt action rifle from the fire ravaged ruins of the MOVE house.
        When all of these efforts still failed to force the MOVE members to surrender, and
after a 12-hour standoff, at 5:27 p.m., the City made an impromptu decision to drop an
                                               improvised       bomb      on    the    house    from     a
                                               Pennsylvania State Police helicopter aimed at
                                               destroying the bunker-like structure on the roof.43
                                               The bomb targeted the bunker even though the
                                               Police Department had reason to believe that
                                               gasoline was stored in the bunker. The bomb
                                               caused a fire that Police Commissioner Sambor
                                               decided to let burn unabated for 45 minutes. He
rationalized his conduct by claiming that letting the fire burn would force the MOVE
members out of the house. 44 The fire quickly raged out of control and spread to adjoining
homes on that block and others, and burned until the Fire Department finally
extinguished it at 11:41 p.m.




43 The use of the bomb was not a part of the original assault plan. In fact, the City’s decision to use the

improvised explosive device made from C-4 explosive was made late in the afternoon when all other tactics
had failed to dislodge the MOVE members from the building. 1988 Grand Jury Report

44 MOVE Commission Finding #27



Bowser, Let the Bunker Burn (1989)

Boyette, Let it Burn, MOVE, the Philadelphia Police Department and the Confrontation That Changed a
City (2013) https://library.ccp.edu/record=b1144527~S0



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        When a male adult and child had tried to escape through a back alley, there was
testimony before the MOVE Commission that they were fired upon by the police and
forced back into the building. 45
        When the siege ended 18 hours later, eleven members of MOVE had been killed.
                                                                The eleven MOVE members who
                                                                perished were six adults: John
                                                                Africa, Rhonda Africa, Frank
                                                                James Africa, Conrad Africa, and
                                                                Teresa Africa; and five children:
                                                                Katricia Dotson Africa, Zanetta

    Ramona Africa                  “Birdie" Africa              Dotson Africa, Delisha Africa,
and Tomasa Africa. One adult female, Ramona Africa and one child Michael “Birdie”
Ward Africa did manage to escape and were the only survivors. Birdie was rescued by a
white police officer name James Berghaier who was called a “nigger lover” by some his
fellow police officers for doing so.46
        In 1986, Ramona Africa, who acted as her attorney, was tried, and convicted on
riot and conspiracy charges and sentenced to a seven-year prison sentence, although
there was no evidence presented that she ever held or fired a weapon. In 1996, she and
two relatives of MOVE members killed in the bombing obtained a $1.5 million judgement
against the City of Philadelphia. Michael “Birdie” Ward died in a drowning accident in
2013.
        The fire also destroyed sixty adjoining homes on Osage Avenue and Pine Street
and damaged another 100. The 250 residents who were told the night before the siege to
pack just enough personal items for 24 hours when they were evacuated, were left
homeless, with all their prized possessions and lifetimes of memories lost forever.



45 MOVE Commission Finding #28. The 1988 grand jury contradicted this Commission finding. 1988

Grand Jury

46 Berghaier statement in forthcoming documentary, “Philly on Fire”(2021)




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               4. The MOVE Commission 47
       In the aftermath of this horrific disaster, Mayor W. Wilson Goode issued an
executive order 48 that created the eleven-member Philadelphia Special Investigation
Commission (“MOVE Commission” or “Commission”) to investigate and make findings
and conclusions on the events leading up to and the City’s conduct during and after the
assault on the MOVE house. The staff included a director, special counsel, seven
investigators, and numerous support personnel. Outside experts in explosives, fires and
forensic pathology were retained, and eleven attorneys and forty-five law students
conducted over one thousand interviews in the summer of 1985.
       After conducting hundreds of interviews and gathering evidence from a wide
variety of sources, the Commission held five weeks of televised public hearings in the
Fall of 1985, during which 92 witnesses testified. The members of the police bomb unit


47 The full Report is published at 59 Temple Law Quarterly 354 (1986), and the Commission’s records are

located at the main Temple Library: http://library.temple.edu/scrc/philadelphia-special-1

48 Executive Order No. 5-85 “Establishing the Philadelphia Special Investigation Commission”

https://www.phila.gov/ExecutiveOrders/Executive%20Orders/1985_EO05-85.pdf

“How the Panel Came to Be” Philadelphia Inquirer, May 8, 2010
https://www.inquirer.com/philly/news/How_the_panel_came_to_be.html



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refused to testify, taking the Fifth Amendment after attempts by the Fraternal Order of
the Police to block their appearance through legal challenges failed. The lone surviving
adult MOVE member, Ramona Africa, refused to testify, but Birdie Africa did testify. The
witnesses included several MOVE members: Louise James, who owned 6221 Osage
Avenue and was the sister of John Africa and the mother of Frank Africa, both of whom
died in the fire. Her sister, Laverne Sims, who was also the mother of Debbie Africa, who
was one of the imprisoned MOVE 9, testified as well. Several key City officials testified
including Mayor Wilson Goode, Managing Director Leo Brooks, Police Commissioner
Gregore Sambor and Fire Commissioner William Richmond.
       The Commission also heard from Osage Avenue residents, citizen negotiators and
its forensics expert consultants. The hearings ended in early November and the
Commission deliberated for several months before issuing its report on March 6, 1986.
The report denounced and strongly condemned the actions of the City government,
concluding that "Dropping a bomb on an occupied row house was unconscionable” and
it found that the City was “grossly negligent.” In addition to its strong condemnation of
the City officials responsible for the planning and execution of the siege, they also
condemned the MEO’s callous and inhumane treatment of the MOVE members remains
during the excavation of the site and thereafter. The Commission's Report included 38
conclusions and recommendations.




Mayor Wilson Goode, Managing Director Leo Brooks, Fire Commissioner William Richmond, and Police
              Commissioner Gregore Sambor testifying before the MOVE Commission

       The Commission, concluding that the City’s actions were “grossly negligent” and
constituted “unjustifiable homicide,” called for a grand jury investigation into the Osage


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catastrophe. District Attorney Edward Rendell, who had approved the arrest warrants
for the four adult MOVE members, refused to convene a grand jury. A grand jury which
was convened in 1988 by Rendell’s successor, Ronald Castille, issued a 279-page report
but refused to indict any of the City officials for criminal wrongdoing because it
concluded that there was no evidence that they acted with criminal intent, recklessness,
or negligence under Pennsylvania criminal law. The report stated: “We do not exonerate
the men responsible for this disaster. Rather than a vindication of those officials, this
report should stand as a permanent record of their morally reprehensible behavior.” In
what the report called a “Leadership Void,” it concluded that the incident was “an epic
of governmental incompetence, marked by political cowardice in its inception,
inexperience in its planning and ineptitude in its execution.” 49
        In a Philadelphia Inquirer op-ed article, MOVE Commission Chairman William
Brown was highly critical of the grand jury’s refusal to indict any City officials and stated:
        “The grand jury has confirmed the belief of many that in Philadelphia there
        are two standards of justice: one for the poor and minority and another for
        those who are white and economically secure….I am ashamed to be a part
        of a legal system that treats the loss of life so cavalierly.”50

                 5. The Aftermath 51
        After the destruction of the 61 homes, Mayor Wilson Goode offered to temporarily
house the 250 displaced homeowners in a nearby vacant housing project complex. When
the homeowners expressed their outrage at the proposal, Goode was able to relocate them
to several newly constructed but unoccupied townhouses near the airport. 52 Goode then


49 “Grand Jury Clears Everyone In Fatal Philadelphia Siege” New York Times (1988)

https://www.nytimes.com/1988/05/04/us/grand-jury-clears-everyone-in-fatal-philadelphia-siege.html

50 Philadelphia Inquirer, May 8, 1988


51 John L. Puckett, “The Long Shadow of the MOVE Fire: 1985-2018, ”West Philadelphia Collaborative

History (2016) https://collaborativehistory.gse.upenn.edu/stories/move

Michael Coard, “MOVE 30: Inside the May 1985 Assault on Osage Avenue,” Philadelphia Magazine (2015)
https://www.phillymag.com/news/2015/05/12/move-30-year-anniversary/

52 Baba Renfrow Interview, July 8, 2021




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vowed to rebuild the neighborhood and provide new houses for the displaced residents
by Christmas of 1985. 53 The City did not meet that deadline, but by the summer of 1986
most of the homes had been rebuilt, but they were defectively constructed. The projected
cost to rebuild the homes was $4.9 million but the actual cost rose $8.27 million. These
new homes cost $130,000 each to replace the destroyed homes that had a market value of
only $30,000. The first contractor was fired and later convicted of embezzling over
$130,000 of the funds. Residents constantly complained to the City about the various
defects in the new homes and, in 1997, the City determined that it would cost an
additional $6 million to bring the homes up to code.
       By the summer of 2000, that number had risen to $10 million for an average price
per house of $430,000. When that number was estimated to increase to $13 million by
2005, the City decided to board up the homes and purchase them from the owners for
$150,000 each. Thirty-six of the homeowners accepted the buyout, but 24 refused and
sued the City in federal court in 2005 and won a judgement of $534,000 each. In 2008, an
appellate court reduced the amount to $150,000 for each homeowner, the same amount
that was offered but refused in 2000. The 36 homes that the City purchased were
eventually rebuilt and Osage Avenue and Pine Street are once again a stable and thriving
Black middle-class neighborhood. Sadly, the financial cost to the City for the Osage
bombing exceeded $50 million, and the continuing reputational harm to the City and its
international image is immeasurable.
       Although Goode’s administration was responsible for the Osage bombing and its
deadly aftermath and devastation, he ran against Rizzo in 1987 and was narrowly
reelected mayor for a second term. Rendell, who authorized the arrest warrants and
refused to convene a grand jury to investigate the bombing, succeeded Goode and was
twice elected mayor and served two terms as governor of Pennsylvania.




53 “1985 Special Report: Philadelphia MOVE Bombing” (2021)

https://www.youtube.com/watch?v=dAZFqGqV21k



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       D.     The Original Sin: The Excavation of 6221 Osage Avenue

                     “The performance of the Medical Examiner’s Office was
                     unprofessional and violated generally acceptable practices
                     for pathologists.” 54




    The clamshell crane bucket being used to excavate the MOVE remains from 6221 Osage Avenue


              1. Collection and Mishandling of the Remains
       After the fire was brought under control at 11:41 p.m. on May 13, 1985,
representatives of the Medical Examiner’s Office refused to go to the Osage Avenue
disaster scene until after the first body was discovered, which was late in the afternoon
of May 14, 1985. By the time they arrived, the City had begun using a clam shell crane to
dig up debris and body parts which resulted in the dismemberment and commingling of
human body parts along with animal body parts. More importantly, these excavation
methods destroyed important physical and medical evidence. Even after arriving on the
scene, the pathologists in charge failed to coordinate and control the actions of the various


54 MOVE Commission Finding #31




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agencies that were searching for evidence and other possible victims. 55 These early
incompetent, insensitive and unconscionable decisions by the MEO and the City laid the
groundwork for the instant controversy over the remains and this investigation.
        On May 16, 1985, Dr. Alan Mann, a University of Pennsylvania anthropologist,
who was retained by the MEO to assist with the identification of victims of the bombing,
arrived at their offices along with his then assistant graduate student Janet Monge to
begin their examinations. 56 Monge described the examination room as being twenty by
twenty feet full of “mountains of dirt,” piles that were a few feet high with human body
parts comingled with those of animals and other debris. 57 On May 23, 1985, ten days after
the burning and excavation of 6221 Osage Avenue, Louise James the owner of the
building, was sent a letter from a City department stating:
        The Department of Licensing and Inspections has determined that your
        property at 6221 Osage Avenue is imminently dangerous…. You are hereby
        notified that the Department …will demolish the remaining portions of
        your property…. A lien will be placed against your property for the costs
        of demolition. 58

        The MOVE Commission harshly criticized the MEO’s conduct in the collection and
mishandling of the remains and concluded that:




55 Hameli Reports: “Review of Scene Investigation”, “Examination of the Remains”, ”Condition of the

Remains”, Exhibit 4

“The Role of a Forensic Anthropologist in a Death Scene Investigation” Journal of Forensic Research
(2012)https://www.hilarispublisher.com/open-access/the-role-of-a-forensic-anthropologist-in-a-death-
investigation-2157-7145.1000154.pdf

56 Mann Report, Exhibit 6. Mann’s claim in his written statement dated July 8, 2021, that his “involvement

at the time was tied to my position at Penn” suggests that he was doing so in his capacity as a professor at
the University. In fact, as he had done for ten years previously, he was paid as a private forensic consultant
as evidenced by an invoice for $300 paid directly to him. Mann Invoice, Exhibit 7.

See also Segal Report, Exhibit 9.

57 Monge Interview, May 10, 2021; Mann Statement, Exhibit 15.


58 Letter from James Stanley White, Exhibit 5.




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        “Finding 31: The performance of the Medical Examiner’s Office was
        unprofessional and violated generally acceptable practices for
        pathologists.

    •   The pathologists did not follow a systematic procedure for uncovering and
        recording the position of each body. For example, locator stakes were not
        placed where each body was found; bodies were not numbered or tagged
        at the scene; no sequential photographic or descriptive record was made of
        the recovery process. As a result, there was no proper control of the physical
        remains.

    •   In the laboratory, the pathologists…violated generally accepted practices in
        the storage, examination, and analysis of the bodies.

    •   The facility itself was unclean, and not conducive to disciplined scientific
        examination.

    •   Animal bones were mixed with human remains.

    •   The bodies were improperly stored at temperatures of 56 degrees, causing
        accelerated deterioration and the growth of fungus and mold.
        Recommended storage temperature is 34 to 36 degrees.

    •   Tissue samples for toxicology tests were not taken until long after the fire,
        rendering them practically useless in determining the cause of death in
        most of the cases.

    •   The pathologists did not take lateral x-rays of the remains, although the
        equipment and expertise to do so was present. As a result, the pathologists
        failed to discover metallic fragments, including firearms ammunition, in six
        of the bodies.

    •   The Medical Examiner’s office failed to identify five bodies and incorrectly
        stated the number of dead adults and children.” 59




59 Finding # 31. Hameli Reports Exhibit 4;   Kerley Report, Exhibit 11



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                 2. The Dispute Over the Identity of the Remains
        On June 24, 1985, William Brown, Chairman of the Commission, informed the
City’s Medical Examiner, Dr. Marvin Aronson, that the Commission intended to retain a
forensic pathologist to review the MEO’s findings concerning the identification of the
human remains found in the MOVE house. Brown further informed Aronson that the
MEO was to “not release or otherwise dispose of any of the remains currently in your
custody and that you provide to us at your earliest convenience all records relating to the
examination of the remains…” 60 On July 19, 1985, the Commission hired three forensic
pathologists to assist it in evaluating how the MEO collected the MOVE remains from the
site, ascertain the identities of the victims, and determine the causes and manners of their
deaths: Drs. Ali Hameli, Ellis Kerley, and Lowell Levine. 61 Mayor Goode instructed the
MEO to provide the MOVE Commission experts full cooperation with their investigation.
The official from the MEO overseeing the investigation was Dr. Robert Segal, the
Assistant Medical Examiner. According to Segal, all MOVE victim remains were kept in
a locked freezer and “stayed under the absolute control of the MOVE Commission’s
experts until after Dr. Hameli’s public testimony before the [MOVE] Commission on
November 5, 1985.”62
        The Commission experts and the MEO initially agreed on the identities of all of
the victims except Katricia Africa, whose body was labeled “B-1” and Delisha, whose
body was labeled “G.” The Commission’s experts concluded that those remains,
fragments of the pelvis and a portion of the femur, belonged to Katricia, whose estimated
age at the time of her death was 14 -15 years of age, and a portion of a skull belonged to
Delisha. Segal and Mann disagreed and concluded that B-1 were the remains of an older
female between the ages of 17-21. After the Commission’s experts testified to their



60 Exhibit 19


61 59 Temple Law Quarterly 354 (1986), at p. 4-5.


62 59 Temple Law Quarterly 354 (1986), at p. 5.




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conclusions on November 5, 1985, the MEO, at Segal’s direction, continued its
investigation of the identity of Body B-1 and Body G. Mann conducted a supplemental
investigation in November of 1985 and issued a report in which he reaffirmed his
conclusion that the remains of Body B-1 could not be those of Katricia. 63 The
Commission’s experts then re-examined the remains and issued a supplemental report
reaffirming their conclusions that the remains of B-1 did indeed belong to Katricia. 64 The
Commission’s experts refused to meet with Dr. Mann or Monge during this process. 65
         On January 23, 1986, Segal informed the Commission that yet another expert that
examined the B-1 remains, Dr. Judy Suchey, a Forensic Anthropologist, 66 concurred with
the Commission’s experts regarding B-1. Segal stated that Suchey concurred with the
Commission’s experts’ identification of body B-1 as Katricia Africa, and that “It would be
unreasonable for me to reject these findings in light of the evidence available at the
time.” 67 Despite Segal’s publicly stated admission that he lacked evidence to dispute the
Commission experts’ conclusions, he wrote in his March 18, 1986 final report that he did
not concur with the conclusion that the remains of B-1 belonged to Katricia Africa and
further questioned the methodology employed by the MOVE Commission’s experts. 68
         The Commission wrote in December 1985 that their experts had concluded that
the B-1 remains were those of Katricia and that they could be released in accordance with
MEO policy.69 On December 14, 1985 what was thought to be the remains of Katricia
Africa were buried after they were released to Hankins Funeral Home, by order of


63 Mann Report, Exhibit 6: Mann Invoice, Exhibit 7.


64 Correspondence from Dr. Ellis Kerley to William B. Lytton December 28, 1985, Exhibit 20.


65 Monge Interview, May 3, 2021


66 Correspondence from Dr. Robert Segal to William By Lytton, January 23, 1986, Exhibit 21.


67 Id.


68 Segal Report, Exhibit 9, at p. 4.


69 Correspondence from William B. Lytton to Dr. Robert Segal, December 4, 1985, Exhibit 22.




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Nathaniel Galloway, Katricia’s father. 70 On September 22, 1986, what was thought to be
the remains of Delisha Africa were also released for burial to Hankins Funeral Home, by
order of Gerald Ford (Africa), who had been given Power of Attorney by three mothers
of the children who perished on March 13, 1985. 71
         The City gave the MOVE Commission and its experts the final authority to
complete the identification of the MOVE victim remains and determine the cause of
death. Segal had no authority to retain the disputed B-1 remains which he apparently
later released to Mann for further investigation. It would appear that Mann took
possession of a femur and several pelvic fragments in early 1986 and took them to his
office at the Penn Museum for further examination. 72 Since Mann, through his lawyer,
would not agree to an interview, we were unable to ask him what, if any, efforts he made
after 1986 to confirm his theory regarding the identity of the B-1 remains which conflicted
with the consensus of the three MOVE Commission experts. 73 Furthermore, it appears
that Mann lost all interest in the remains and had no idea where they were located after
he took them to the Penn Museum in 1986. 74




70 City of Philadelphia Officer of the Medical Examiner Release of Body Form for Katricia Africa, Exhibit

23.

71 City of Philadelphia Officer of the Medical Examiner Release of Body Form for Delisha Africa, Exhibit

24.

72 Mann Statement,   Exhibit 15

73 Monge stated that the conclusions that she and Mann reached in 1985 regarding B-1 were subsequently

confirmed by at least seven different forensic anthropologists between 1986 and 2019. For example, during
an American Board of Forensic Anthropology conference in 1988 several student anthropologists reviewed
the B-1 remains and concluded that they were the remains of a female at least 17 years of age. Monge
Statement, Exhibit 14 (Dr. Monge incorrectly referenced in her interview and written statement that the
Society of Forensic Anthropology conducted the diplomatic examination of MOVE remains in 1988. Dr.
Monge has since confirmed that it was indeed the ABFA).

See also, Marc Kaufman, “A MOVE Finding is Disputed: 4 Experts Challenge Panel on Remains” Philadelphia
Inquirer, January 21, 1986.

74 Mann Statement, Exhibit 15




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     III.    WHY THE DEMONSTRATIVE DISPLAY OF THE MOVE
                       REMAINS MATTERS

       Our primary objectives in this inquiry have been descriptive and prescriptive --
that is: to make findings and conclusions of the facts relating to the demonstrative display
of the MOVE remains; ascertain the storage and use of those human remains at the Penn
Museum and Princeton University; determine whether the possession and use of these
remains by Mann and Monge conformed to the Penn Museum’s policies or any relevant
professional ethical, or legal standards; make recommendations relating to the MOVE
remains; and suggest other actions and initiatives that the University might undertake
relating to this current controversy and beyond.
       Given the widespread public controversy that this matter has engendered, we
thought it important that our inquiry also determine how this controversy arose and
provide an interpretive perspective on why the display of the MOVE remains matters at
                                          this moment in time. As a preliminary matter,
                                          we note that most of the critical commentaries
                                          from    a   congeries of      sources   about   this
                                          controversy are based, in part, on three
                                          inaccurate factual premises: (1) that the remains
                                          used in the video were indisputably those of Katricia
                                          Africa, one of the MOVE children killed in the
                                          bombing,(2) that the remains of a second child
Delisha were also housed at the Museum, and (3) no effort was ever made to identify and return
any of the remains to MOVE family members. In fact, the identity of the remains taken to the
Museum by Dr. Mann is still a matter of legitimate dispute, and all that we could
conclude, with a reasonable degree of certainty, is that the remains displayed in the video
in 2019 were of a MOVE member. We found no credible evidence that Delisha’s remains
were ever housed at the Museum. And finally, we also found that efforts were indeed
made to identify the remains used in the video with the goal of returning them to MOVE
family members. With regard to the assumption that the remains were used in the video


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without the consent of MOVE members, it would follow that if they were in fact
unidentified, there would have been no persons with a legal relationship to the remains
from whom consent could have been obtained. The femur and pelvic remains were
returned to MOVE members on July 2, 2021. 75
        We point this out, not because it was outcome determinative in our investigation,
because one of our objectives was to examine the ethical and legal propriety of the
custody and display of any MOVE remains, identified or not. We do so to illustrate the
potency of carefully crafted and widely disseminated misinformation to shape public
opinion and inflame passions. 76 Not surprisingly, that misleading narrative moved with
warped speed across print and electronic media and the internet and fueled much of the
resulting public expressions of outrage and condemnation.
        A.        The Samuel Morton Cranial Collection 77
        The root cause of the current public controversy surrounding the MOVE remains
is the Samuel Morton Cranial
Collection (“Collection”) at the
Penn         Museum. 78         The
Collection,     which      contains
over 1300 skulls, is one of the
largest and most famous in the
world. The public dispute over the repatriation of skulls from the Collection dates back




75 “Toward a Respectful Resolution” Penn Museum Statement on the MOVE Remains (July 14, 2021)

https://www.penn.museum/towards-respectful-resolution/?fbclid=IwAR3aNkSaGYlrk2Mn-
uByEjhkbcVVnMXKcY1kPQcG8tQ8_9Me7LskZP7fRAo

76 See The Professional and Personal Dispute Over the Collection, infra


77 “The Samuel George Morton Cranial Collection” Penn Museum Brochure

https://www.penn.museum/sites/expedition/the-samuel-george-morton-cranial-collection/

78 “The Morton Cranial Collection and the Legacies of Scientific Racism in Museums” (2021)

The History of Anthropology Review (2021) https://histanthro.org/tag/morton/



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to 2020,79 and the MOVE remains controversy is a current manifestation of that dispute.80
One of the reasons that the MOVE remains controversy is reverberating at this moment
is because it involved the possession, research and display of the remains of a Black
person by Mann and Monge, two University of Pennsylvania and Princeton University
physical anthropologists, who served as curators at the Penn Museum. As stated more
succinctly in one of the more knowledgeable critiques of this controversy: “Indeed, the
idea that the museum was holding the bones of a Black Philadelphian who was alive as
                                              recently as 1985 in the same way that it held the
                                              skulls of enslaved people, procured by grave
                                              robbers, was beyond comprehension.” 81 Morton is
                                              widely regarded as one of the inventors of
                                              scientific racism who gained worldwide fame for
                                              promoting polygenism, the theory that mankind
                                              could be divided into five or more distinct races,
  Mann and Monge with the Morton Collection
                                              each with a separate origin.82 Both Mann and
Monge have written articles in defense of Morton and the University’s retention of the


79 Alvarado, “The Penn Museum Must End Abuse of the Morton Collection” (June 25, 2020)The Daily

Pennsylvanian

80 See Exhibit 26, “Morton Collection/MOVE Remains Public Controversy Timeline”


81 Cf: Heather Thompson, “Saying Her Name”, The New Yorker, May 16, 2021

https://www.newyorker.com/news/essay/saying-her-name

82 Kelleher, “How a Museum’s Skull Collection Sparked a Racial Reckoning.” (April 16, 2021)

https://www.forbes.com/sites/suzannerowankelleher/2021/04/16/penn-museum-samuel-morton-
human-skull-collection-black-slaves-repatriation/

Morton adopted the five racial categories that were developed by the anatomist Jonathan Freidrich
Blumenbach.
http://www.bibliotecauniversitaria.ge.it/export/sites/bug/documenti/UetP/7_CONTESTO_TEOLOGI
CO_FILOSOFICO/Blumenbach.pdf

See also, “Race & Anthropology: People and Cultures of the World”
http://www.anthrocervone.org/PeoplesandCultures/modules/social-relations/race-anthropology/




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Collection. This controversy is occurring at a time in which the Penn Museum has come
under widespread criticism for its continuing possession and, until recently, public
display of the skulls of some Black and Indigenous People in the Morton Collection. It is
also occurring during this era of racial reckoning that includes a national debate over the
role of physical anthropologists in the invention of scientific racism.
         Samuel George Morton was born in Philadelphia 1799 and received a medical
degree from the University of Pennsylvania Medical School in 1820. He soon became a
prominent physician in the city and was appointed professor of anatomy at the
Pennsylvania Medical College where he developed an interest in the skull, or cranial.83
In 1830, he presented a lecture entitled “The Different Forms of the Skull as Exhibited in the
Five Races of Man” in which he postulated that the intellectual capacity of the five racial
categories of mankind could be measured by the size of their skulls and concluded that
the skulls of persons of European descent were larger, and they were therefore more
intelligent. 84 In 1839 Morton introduced his theory of craniometry in a book called Crania
Americana which brought him international fame. In order to prove this hypothesis,
Morton began a lifelong quest to collect skulls from all regions of the world from all racial
and ethnic groups. 85 In 1842 he gave a lecture called “Brief Remarks on the Diversities of
the Human Species and On Some Kindred Subjects.” 86
         Morton’s collection efforts were wide ranging, extending to ancient civilizations
as well as contemporary societies around the world. He then measured the volume of
seeds that could be contained in a skull and then ranked the intelligence of the various
“races” accordingly. Over the next twenty years, Morton published several more articles


83 Renschler and Monge, “The Samuel George Morton Cranial Collection: Historical Significance and

New Research (2008).
https://www.penn.museum/sites/expedition/the-samuel-george-morton-cranial-collection/

84 Id.


85 “A History of Craniology in Race, Science and Physical Anthropology”

https://www.penn.museum/sites/morton/craniology.php

86 Morton Lecture: “Diversity of the Human Species and On Some Kindred Subjects” (1845).

https://collections.nlm.nih.gov/ext/mhl/9514382/PDF/9514382.pdf


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and books on craniology which increased his stature in the medical and scientific
community in Philadelphia and beyond. His research and theories on white racial
superiority were readily adopted throughout the south as a justification for slavery, and
upon his death in 1851, The Charleston Medical Journal published a tribute to him stating:
       We can only say that we of the South should consider him as our benefactor,
       for aiding most materially in giving to the negro his true position as an
       inferior race. 87

       The Morton Collection came to the Penn Museum in 1966 on loan from the
Academy of Natural Sciences and the Museum obtained legal ownership in 1997. In the
summer of 2020, after student protests, the Collection was removed from public display
in a university classroom. 88 The Penn & Slavery Project was instrumental in this
reckoning at the University.89 And on April 12, 2021, the Penn Museum announced its
intention to repatriate the remains of Black and Indigenous People in the Collection 90 and
issued the following statement:
       “Racism has no place in our Museum. In the summer of 2020, the killing of
       George Floyd by police and the height of the Black Lives Matter movement
       ignited civil unrest that underscores the critical need for institutions like the
       Penn Museum to continuously examine the colonial and racist histories of
       their collecting practices….We reject scientific racism that was used to
       justify slavery and the unethical acquisition of the remains of enslaved
       people.” 91




87 Renschler and Monge


88 “Racism Has No Place in Our Museum”

https://www.penn.museum/sites/morton/

89 http://pennandslaveryproject.org/


90 Museum Announces the Repatriation of the Morton Cranial Collection (2020)

https://www.penn.museum/documents/pressroom/MortonCollectionRepatriation-
Press%20release.pdf

91 Penn Museum Statement on the Morton Cranial Collection. https://www.penn.museum/sites/morton/




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       B.      Anthropology, Scientific Racism, and Repatriation92

       This MOVE remains controversy is also occurring at a time that the University of
Pennsylvania and other universities are facing an international reckoning and scrutiny
over their complicity in the invention of scientific racism 93 by university physical
anthropologists in particular, and how they promoted and benefitted from it through
their collections and exhibits. Dr. Mann acknowledged this development in his recent
statement:
       “[A]nthropologists have sometimes historically not treated Black, Brown,
       and Native bodies with respect. We as a society are finally confronting the
       systemic racism that has pervaded academia and anthropology, in
       particular….The field of anthropology must confront and reckon with its
       racist past. Universities and museums around the globe must acknowledge
       their institutional racism and the harm done to communities of color.” 94

       Universities and museums are being urged to repatriate items in their collections
such as the human remains of Black and Indigenous People and to acknowledge that
these items and other artifacts are legacies of this racist past. The racial reckoning of the
past year prompted by the Black Lives Matter Movement and the killing of George Floyd
has increased the urgency of doing so. The anthropology faculty at Princeton issued the
following statement regarding the role of physical anthropology in promulgating
scientific racism after this controversy arose over the MOVE remains:
       “…American physical anthropology began as a racist science marked by
       support for, and participation in, eugenics. It defended slavery, played a
       role in supporting restrictive immigration laws, and was used to justify
       segregation, oppression, and violence in the USA and beyond. Physical
       anthropology has used, abused, and disrespected bodies, bones, and lives

92 Blakey, “Understanding Racism in Physical (Biological) Anthropology” (2020)

https://onlinelibrary.wiley.com/doi/abs/10.1002/ajpa.24208

“Timeline of Scientific Racism” https://apa.nyu.edu/hauntedfiles/about/timeline/

93 “Curating Racism: Understanding Field Museum Physical Anthropology from 1893 to 1969” (2019)

https://articles.themuseumscholar.org/2019/05/01/tp_vol2procopio/

94 Mann Statement, Exhibit 15




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       of indigenous and racialized communities under the guise of research and
       scholarship. Despite increasing anti-racist methods, theory, and action in
       anthropological approaches to studying human bodies and human
       variation, there remain too many echoes of the past in current practices.” 95

     The Anthropology Department at the University also issued a statement
acknowledging the roots of scientific racism in physical anthropology:

       “In the last few decades, we have seen intensive scrutiny of the discipline’s
       colonial roots, reimagined forms of ethnographic research, strengthened
       institutional controls on informed consent in ethnographic, biological, and
       archaeological studies of contemporary communities, and have
       established new regulations and practices surrounding the acquisition,
       display, and disposition of human remains and other cultural materials.
       These self-critiques and redressive actions have changed our practices,
       improved our collaborative research efforts, and have enhanced our
       understandings of the world. The painful processes of critique and change
       have not been easy or smooth nor are they close to complete. The first step
       is to acknowledge and apologize for the damage we have done, which we
       do here now.” 96

       C.      The Origins of the MOVE Remains Controversy
               1. The Public Controversy
       In February of 2019, Dr. Janet Monge, the Keeper and Associate Curator of the
Physical Anthropology Section at the Penn Museum, used three fragments of bones that
were the remains of a deceased MOVE member as demonstrative artifacts in a free, 11 -
session video course that she taught for the Princeton University Online learning
platform class called Coursera. The 1985 MOVE confrontation and the remains were used
as a case study in a class called “Real Bones: An Adventure in Forensic Anthropology.”97




95 https://anthropology.princeton.edu/news/legacies-violence-and-complicity-current-policies-and-

guidelines

96 “Statement on Anthropology, Colonialism and Racism”

 https://anthropology.sas.upenn.edu/news/2021/04/28/statement-anthropology-colonialism-and-
racism

97 The course has been removed from the Princeton Online platform.




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At the time that she taught the course, Monge was serving as a visiting professor at
Princeton.
       Although the video course was taught over two years ago, it did not become a
matter of public controversy until April 23, 2021. When it did become public, it
precipitated a firestorm of controversy resulting in numerous critical online and print
newspaper articles and editorials, statements of condemnation from various
anthropological associations, and several protest demonstrations on the University of
Pennsylvania’s campus and in West Philadelphia. The University, the President of
Princeton and the Anthropology Department at Princeton University issued statements
of apology. 98 It also ignited a broader public debate on the ethics of the housing and
displaying of human remains by universities and museums, especially those of minorities
and indigenous people. 99
       Several days before the public controversy surfaced on April 21, 2021, Paul Wolff
Mitchell, an anthropology graduate student at the University, met via video conference
with Christopher Woods, the incoming director of the Penn Museum. Mitchell expressed
his concerns about the Penn Museum’s policies with regard to the MOVE remains and
other human remains housed at the Penn Museum including the Samuel Morton Cranial
Collection. Mitchell had written extensively on the Morton Collection, including his
master’s thesis. 100


98 https://www.penn.museum/towards-respectful-resolution/?fbclid=IwAR3aNkSaGYlrk2Mn-

uByEjhkbcVVnMXKcY1kPQcG8tQ8_9Me7LskZP7fRAo

https://president.princeton.edu/blogs/princetons-responsibilities-human-remains-move-bombing

https://anthropology.princeton.edu/news/legacies-violence-and-complicity-current-policies-and-
guidelines

99 Deborah Thomas, “Enclosures and Extractions: Move and the Penn Museum” (May 14, 2021)

https://histanthro.org/news/observations/enclosures-and-extraction/

100 Mitchell, “The Fault in His Seeds: Lost Notes to the Case of Bias in Samuel George Morton’s Cranial

Race Science”(2018) https://journals.plos.org/plosbiology/article?id=10.1371/journal.pbio.2007008

“A New Take on the 19th Century Skull Collection of Samuel Morton”(October 2018)
https://penntoday.upenn.edu/news/new-take-on-infamous-Morton-skulls


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          Mitchell also expressed his concerns about Monge’s stewardship as curator and
what he believed was the overall lack of professionalism at the Penn Museum and what
he regarded as the lack of transparency relating to remains in the Museum. During the
meeting, Mitchell told Woods that in 2015 he had seen the remains of two MOVE children
among what he claims was a “teaching collection” of un-accessioned remains and
expressed his view that their presence in the Penn Museum was unethical. He followed
up with a detailed letter that provided details of the matters he had previously
discussed. 101 He also informed Woods that he had heard that there were several articles
about to be published regarding the MOVE remains at the Museum.
          Shortly after his meeting with Woods, Mitchell said that he heard a rumor that the
Penn Museum was planning to issue a public statement on the MOVE remains, which he
considered a “preemptive strike” designed to coverup the actual number of children
represented in the remains. 102 Mitchell then instigated the first media articles on the
MOVE remains. 103 The first two articles on the video course appeared simultaneously in
print and electronic media on April 21, 2021. The first was an op-ed article in the
Philadelphia Inquirer by Abdul-Aily Muhammad entitled: “Penn Owes Reparations for
Previously Holding Remains of a MOVE Bombing Victim.” 104 The article asserted that
the remains were those of two young girls, Katricia Africa and Delisha Africa, who were
killed during the 1985 fire, and criticized the Penn Museum for displaying the remains in
the Coursera video and for not returning them to surviving MOVE family members.
          Also, on the same day of the Muhammad op-ed, an online article was published
in a WHYY online newsletter called Billy Penn, entitled “Remains of Children Killed in




101 Mitchell Letter, April 16, 2021


102 Id.


103 Exhibit 26, “Morton Collection/MOVE Remains Controversy Timeline.”


104 https://www.inquirer.com/opinion/commentary/penn-museum-reparations-repatriation-move-

bombing-20210421.html



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MOVE Bombing Sat in a Box at Penn Museum for Decades.” 105 The online article was
written by Maya Kassutto, who also wrote a second article on April 26, 2021, entitled
“Move Members Mourn Their Children’s Lives as Penn Museum Apologizes for Storing
Remains.” 106 This second article, unlike the previous one, disclosed that Kassutto was a
former student in the Anthropology Department at the University who had worked at
the Penn Museum. The two op-ed articles by Muhammad, including the one dated May
5, 2021, were based on Mitchell’s research as were the two articles written by Kassutto.107
According to Mitchell, he first heard of the existence of the Coursera video in early April
of 2021 from Kassutto, whom he had previously dated, who told of him of her plans to
write a story about it. In fact, Mitchell knew of the video as early as January of 2019
because Monge had invited him to participate in the course. 108
         On April 23, 2021, Mitchell prepared a paper on the purported chain of custody
and identity of the MOVE remains at the Penn Museum which he argued were
indisputably those of two MOVE children named Katricia and Delisha. He distributed
his paper widely to employees at the University, several MOVE members, other persons
in the news media, and elsewhere. 109 Also on April 23, 2021, another article appeared in
Hyperallergic, an online publication, entitled “Penn Museum Kept Remains of MOVE
Bombing Victim: Now, Activists Call for Curator’s Firing.” 110 Also on that date, an
editorial appeared in Inside Higher Education condemning the Penn Museum’s treatment




105 https://billypenn.com/2021/04/21/move-bombing-penn-museum-bones-remains-princeton-africa/


106 https://billypenn.com/2021/04/26/move-remains-penn-museum-apology-africa-family-mann-

monge/

107 Mitchell Interview, May 12, 2021


108 Monge Email to Mitchell, January 21, 2019


109
    Mitchell, Preliminary Report on the Archives of the Philadelphia Special Investigation Commission in Relation
to the Remains of MOVE Bombing Victims Stored at the Penn Museum, April 23, 2021

110 https://hyperallergic.com/640344/philadelphia-activists-call-for-penn-museum-curator-firing/




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of the remains. 111 And on April 24, 2021, The New York Times published an article entitled:
“Decades After Police Bombing, Philadelphians are Sickened by Handling of Victims’
Bones.” 112
        Muhammad had published two previous op-ed articles in the Philadelphia Inquirer
on the Morton Collection using Mitchell’s research. In July of 2019 he wrote an op-ed
entitled “As Reparations Debate Continues, the University Has a Role to Play.” 113 On
April 5, 2021, he published an op-ed entitled “Penn Museum Kept Remains of MOVE
Bombing Victim: Now, Activists Call for Curator’s Firing. 114 A February 16, 2021 article
in the Philadelphia Inquirer by Stephen Salisbury entitled “Some Skulls in a Penn Museum
Collection May Be the Remains of Enslaved People Taken From a Nearby Burial Ground”
was based on an article that Mitchell published on February 14, 2021. 115
        On April 26, 2021, the University of Pennsylvania issued a statement apologizing
to MOVE members for Monge’s possession and use of the remains stating: “We
understand the importance of reuniting the remains with the family and we are working
now to find a respectful, consultative resolution.” It further stated, “We are reassessing




111 https://www.insidehighered.com/quicktakes/2021/04/29/penn-princeton-apologize-treatment-

move-bombing-victims-remains

112 https://www.nytimes.com/2021/04/24/us/move-rowhouse-bombing-victim-remains.html


113 https://www.inquirer.com/opinion/commentary/university-of-pennsylvania-slavery-reparations-

debate-20190712.html This article appeared a month after the heated argument between Monge and
Mitchell over the Morton Collection in May of 2019. See The Professional and Personal Dispute Over the
Collection, Infra.

114 https://www.inquirer.com/news/mortion-collection-skulls-upenn-museum-repatriation-racial-

justice-20210405.html

115 https://www.inquirer.com/news/penn-museum-morton-collection-black-philadelphians-skulls-

20210216.html

On February 15, 2021, Mitchell published an article on the provenance of some of the skulls called “Black
Philadelphians in the Samuel Morton Cranial Collection.”
https://prss.sas.upenn.edu/penn-medicines-role/black-philadelphians-samuel-george-morton-cranial-
collection



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our practices of collecting, stewarding, displaying, and researching human remains.”116
That same day, both the American Association of Anthropologists and the Association of
Black Anthropologists issued statements condemning the treatment of the remains. 117
       The controversy regarding the disposition of MOVE remains took an unexpected
turn on May 13, 2021, when Philadelphia Mayor James Kenney announced that the City’s
Health Commissioner, Thomas Farley, to whom the Medical Examiner’s Office reports,
had been asked to resign because in 2017 he had ordered the destruction of several
additional MOVE remains that had been stored in the office since 1985. Farley stated that
he decided to disclose his previous decision to destroy the remains because of the
controversy surrounding the MOVE remains at the Penn Museum. The following day the
City reported that the remains had not in fact been destroyed because a lower-level
employee in the office had secretly refused to do so. The City has hired a law firm to
conduct an inquiry into the Medical Examiner’s recent handling of the remains and has
also retained another law firm to separately represent the MOVE organization. 118

               2. The Professional and Personal Dispute Over the Collection
       The MOVE remains controversy is the result,
in part, of a professional disagreement and a
personal dispute regarding the Morton Collection
between Monge and Mitchell, who she had
mentored since he came to the University. The
inaccurate factual narrative regarding the location of
the MOVE remains at the Penn Museum and their
purported identities was disclosed to the media by Paul Mitchell and the Morton Collection



116 https://www.penn.museum/towards-respectful-resolution/?fbclid=IwAR3aNkSaGYlrk2Mn-

uByEjhkbcVVnMXKcY1kPQcG8tQ8_9Me7LskZP7fRAo

117 https://www.americananthro.org/StayInformed/NewsDetail.aspx?ItemNumber=26217

http://aba.americananthro.org/

118 https://www.phila.gov/2021-07-12-city-provides-update-on-mishandling-of-move-victims-remains/




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Mitchell and others to bring public disapprobation on the Museum for its continuing
possession of the Morton Collection and other human remains and to personally discredit
Monge. Monge, while acknowledging Morton’s role in promoting scientific racism,
advocated retaining the Collection at the Museum and establishing a gradual process for
the repatriation of certain remains in the Collection. 119 On September 9, 2020, eight
women anthropologists wrote to University Provost Wendell Pritchett to express their
concerns that the Morton Collection controversy was being used to disparage Monge and
get her fired:

        “The intention of this letter is to alert you to a growing and damaging
        misrepresentation of how the Penn Museum approaches the curation of the
        Samuel G. Morton Cranial Collection and the potential for an inexcusable
        scapegoating of its steward, Dr. Janet Monge…. We are deeply concerned
        that descriptions in the media have been fueled by individuals on the Penn
        campus with careerist motivations and/or without sufficient knowledge
        about the history of the debate.” 120

        Mitchell, who is now a Ph.D. candidate, came to the University as an
undergraduate student in the Anthropology Department in 2009 and received his
bachelor’s degree in 2013 and master’s degree in 2014. He took several courses from
Monge, who over the next several years would be his teacher, mentor, employer,
benefactor, advisor on his master’s thesis and serve on his dissertation committee. 121 In
fact, after receiving his master’s degree from the University, Mitchell entered a Ph.D.
program at the University of California at Berkeley. When Mitchell encountered some
difficulty completing his studies there, and left the program, Monge encouraged him to
come back to Penn to pursue his Ph.D. 122


119 Kauer Letter, Exhibit 12; Mitchell Letter to Christopher Woods, Exhibit 13 ; Mitchell Interview May 12,

2021; Murray Interview, July 22, 2021

120 See Exhibit 25, “The Samuel G. Morton Cranial Collection and Its Steward, Dr. Janet Monge” (September

9, 2020)

121 “Paul Mitchell: At Penn, Four Years of Looking at the Past “(2013)

https://penntoday.upenn.edu/news/paul-mitchell-penn-four-years-looking-past

122 Monge Interview, May 19, 2021; Mitchell Interview, May 12, 2021; Mitchell Email , May 13, 2021




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        Mitchell’s graduate work concentrated on Morton’s scientific methodology, the
racial implications of his work, and the identities and provenance of the skulls in the
collection. 123 In 1981, Stephen J. Gould wrote The Mismeasure of a Man 124, in which he
argued that the work of Morton and others led to the invention of scientific racism.
Mitchell agreed with Gould’s conclusions and wrote his master’s thesis on what Mitchell
argued was the flawed methodology that Morton used to support his theories. Both Mann
and Monge had written on Morton, and they disagreed with Gould over his
interpretations and the implications of Morton’s research. 125 For example, Mann wrote in
2009: “Samuel George Morton, [is] considered the founder of physical anthropology. The
American School of Anthropology, which argued for the polygenic origins of human
races, was substantially founded on Morton's work. Recent accusations that Morton
manipulated data to support his racist views would appear unfounded.” 126 Mitchell also
believed that Monge was attempting to divorce Morton from the scientific racism of his
research and to “valorize” him to justify keeping and displaying the Collection at the
Penn Museum. 127


123 Mitchell, “The Fault in His Seeds: Lost Notes to the Case of Bias in Samuel George Morton's Cranial Race

Science”(2018) https://journals.plos.org/plosbiology/article?id=10.1371/journal.pbio.2007008

Mitchell, “A New Take on the 19th Century Skull Collection of Samuel Morton”(October 2018)
https://penntoday.upenn.edu/news/new-take-on-infamous-Morton-skulls

124 Stephen J. Gould The Mismeasure of Man (1981)

http://biopolitics.kom.uni.st/Stephen%20Jay%20Gould/The%20Mismeasure%20of%20Man%20(148)/T
he%20Mismeasure%20of%20Man%20-%20Stephen%20Jay%20Gould.pdf

125 Mann, Monge and others “The Mismeasure of Science: Stephen Jay Gould versus Samuel George

Morton on Skulls and Bias”(2011)
https://journals.plos.org/plosbiology/article/info%3Adoi%2F10.1371%2Fjournal.pbio.1001071

“Scientist Measure the Accuracy of Racism Claim”(2011) New York Times article on Mann, Monge and
Morton
https://www.nytimes.com/2011/06/14/science/14skull.html

126 Mann, “The Origins of American Physical Anthropology in Philadelphia.” (2009)

https://pubmed.ncbi.nlm.nih.gov/19890866/

127 Mitchell Interview, May 12, 2021




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       In 2019, Mitchell applied for and received a fellowship to continue his studies of
the Morton Collection by collecting his correspondence, digitizing them, conducting
additional research on the provenance of the skulls, and publishing them on the Museum
website. Monge claimed that she first became aware of Mitchell’s receipt of the fellowship
when she read about it online. In fact, Monge was aware that Mitchell had applied for
the fellowship in early 2019. Monge stated that she became upset because, apart from his
alleged failure to consult her in advance and their professional relationship, she was also
the curator responsible for the Collection. Monge believed that what Mitchell was
actually proposing to do in his research was unethical and greatly impacted her own
work and would possibly violate the Native American Graves Protection and
Repatriation Act (NAGPRA) because some of the skulls in the Collection were of
indigenous people.
       In a meeting in May of 2019, attended by several other Penn Museum employees,
Monge confronted Mitchell about the implications of his proposed work during the
fellowship and told him that he would not be allowed to conduct the work in the manner
that he proposed. 128 Monge claims that Mitchell became very angry, insulted her, and
threatened her. Two of the employees who were present during the meeting confirmed
Monge’s statement regarding the tenor of the meeting. Monge and a museum employee
then met with Stephen Tinney, the Museum’s deputy director, and expressed her
concerns over Mitchell’s conduct and his threats. Monge then changed the locks in the
Museum and the Lab and denied Mitchell access to the Collection altogether. The first
article on the Morton Collection controversy appeared two months later on July 12, 2019,
in the Philadelphia Inquirer written by Muhammed. 129
       Mitchell admitted his role in publicizing Monge’s use of the MOVE remains in the
Coursera video and claims that it was motivated solely by the concerns that he expressed
in his meeting with Woods, his belief that the Museum’s practices with regard to human

128 Monge Interview, May 9, 2021


129 See Exhibit 26, MOVE Remains/Morton Collection Timeline




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remains were unethical and that Monge was engaging in a coverup. He further stated
that there was “nepotism, favoritism, corruption, and intentional deception” at the Penn
Museum that needed to be exposed. 130 While that may have been one of his motives, it
appears that the other motive for his actions were more personal and amounted to an
effort to get Monge fired for having barred him from the Lab and other rooms in the
Museum and, most importantly, his access to the Morton Collection. Mitchell admitted
that he had raised his voice during the meeting over the fellowship but denied that he
had threatened Monge and stated that if he had an issue with a person, rather than
physically assault them, he would “slowly poison them.” 131 When asked whether that
included leaking stories to the media, he agreed that it did. In a follow-up questionnaire
to his previous interview, Mitchell was asked whether he had told anyone that he wanted
Monge’s job, and he stated: “I do not recall ever having done so, but it is plausible that I
did. If I did so, it was only in the context…that I wanted to be a professional physical
anthropologist. I would have been happy to have had Janet’s job at some point….” 132




130 Mitchell Question Responses, May 17, 2021


131 Mitchell Interview, May 12, 2021


132 Mitchell Question Responses, May 17, 2021; Jean Henry Interview, July 23, 2021; Zhenia Bemko

Interview, July 23, 2021



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                 IV.     THE ODYSSEY OF THE MOVE REMAINS:
                             FINDINGS AND CONCLUSIONS133

        A.          Custody and Storage of the Remains

1. After the Bombing of Osage Avenue, a dispute arose between the MEO and the
   MOVE Commission’s experts over the identity of two sets of remains of MOVE
   children. The Commission’s experts concluded that they were the remains of
   Katricia Africa and Delisha Africa, but the MEO disagreed with those findings.

2. The MEO retained Dr. Alan Mann, a physical anthropologist at the University, who
   was acting as a private consultant, to assist in the identification of the disputed
   remains. He was assisted in that effort by Dr. Janet Monge, who was his graduate
   student assistant at the time. Mann then issued a report that disputed the
   conclusions of the Commission’s experts as to the identity of the remains. In early
   1986, Mann took the remains of what the Commission concluded were those of
   Katricia to his office at the Penn Museum to conduct further tests. There is no
   credible evidence that Mann also took the remains that the Commission concluded


133 See Odyssey of the MOVE Remains Timeline, Exhibit 1



These findings and conclusions are based on our examination of Museum documents and records; email
correspondence; MOVE Commission archives; and documents provided by the City of Philadelphia. We
also conducted over fourteen hours of interviews with Dr. Monge, who also provided a written statement,
and interviews of other Museum employees and fact witnesses; and we conducted several tours of the
Museum. Dr. Monge who agreed to be interviewed without the presence of legal counsel, fully cooperated
in all aspects of our investigation and, for the most part, we found her to be credible and remorseful.
Monge’s Interviews were conducted on April 29, May 10, 13, 19, 21 and August 17, 2021. See Monge
Statement, Exhibit 14.

We did not interview Dr. Mann, however, because, despite several requests, we were unable to negotiate
terms for the interview that were acceptable to his legal counsel. While an interview with Dr. Mann would
have been preferable, it was not essential to our findings because his role in examining and taking custody
of the remains is purportedly fully detailed in his written report dated November 11,1985; from interviews
with Monge; in several of the documents that we reviewed; a public statement that he made; and the
written statement his lawyer submitted in lieu of an interview, Exhibit 15. We sought to interview him to
determine, among other things: why he thought he was qualified to render an opinion on the identity of
the disputed remains; whether he took custody of both the B-1 and G remains that he wrote about in his
report for further study; whether he knew that the City was prohibited from releasing the remains to him
when he took possession of the remains; why he took and retained custody of the remains in his office for
16 years; why he made no further efforts to identify the remains or return them to the Medical Examiner’s
office in 2001; and whether he believed that his conduct violated any Museum policies, ethical standards
for anthropologists or Pennsylvania law.




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    were those of Delisha. Mann and Monge did not believe that the remains taken to
    the Museum could be conclusively identified as those of Katricia Africa.

3. After the examination in 1986, Dr. Mann conducted no further tests on the remains
   and stored them in his office from 1986 to 2001 when he retired from the University
   and joined the faculty at Princeton University. Mann left the remains at the
   Museum when he went to Princeton.

4. From 1986 to 2001, Mann made no effort to return the remains to the MEO or contact
   any MOVE family member.

5. The remains were never accessioned or formally added to the Penn Museum’s
   collections.

6. Mann did not violate any specific prevailing professional, ethical or legal standards
   by the retention of the remains from 1986 to 2001.

7. Mann’s retention of the remains from 1985 to 2001 after he was unable to identify
   them, and his failure to return them to the MEO, demonstrated extremely poor
   judgement, and a gross insensitivity to the human dignity as well as the social and
   political implications of his conduct.

8. From 2001 to 2014, the remains were stored in a file cabinet in Dr. Janet Monge’s
   office. Monge is the current Penn Museum associate curator, who was a graduate
   assistant to Mann when he took custody of the remains. From 2014 to 2021, the
   remains were stored in Monge’s Lab at the Museum.

        After the bombing of Osage Avenue, the MOVE Commission’s experts and the
MEO agreed on the identities of the remains of all of the victims except for the femur and
pelvic fragments of one victim, and certain skeletal bones, the mandible, and occipital
bone of another. The Commission’s experts, Drs. Hameli and Kerley, concluded that the
femur and pelvic fragments, labeled as B-1, belonged to Katricia Africa, and the skeletal
bones, mandible, and an occipital bone, labeled as G, belonged to Delisha Africa. 134 Dr.
Robert Segal, the assistant Medical Examiner, did not agree with those conclusions, at
least as to B-1, 135 and retained Dr. Alan Mann to examine both sets of remains. Mann
concurred with the MEO and concluded that the B-1 remains were those of an older

134 Hameli Report, Exhibit 8


135 Segal Report, p. 18, Exhibit 9.




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female than the estimated age of Katricia. Mann also examined the skeletal bones,
mandible and occipital bone of Body G and concluded that those remains were those of
a younger female than Delisha’s estimated age. 136 As a result, another expert, Dr. Judy
Suchey, was retained in January of 1986 to conduct another independent review to try to
settle the dispute as to the B-1 remains. Those remains were then sent to Suchey at
California State University in Fullerton, California for her examination. Suchey agreed
with the Commission’s experts’ findings with regard to B-1. 137 Thereafter, Mann took
custody from Segal of a small box containing the femur and fragments of a pelvic bone,
that the Commission labeled B-1. 138 As stated, we were unable to interview Mann to
determine whether he also received any of the three Body G remains that he examined
and referenced in his report. However, his statement does acknowledge that he was
asked to review “two bone fragments from the same person labeled B1.” 139
        While Monge does not have a specific recollection of seeing the actual contents of
the box at the time, she stated that she is certain that it did not contain the occipital bone
of Body G, both because it could not be used for aging and that Segal and the MEO had
accepted the Commission’s experts’ findings on the identity of those remains. 140 Monge’s
recollection is confirmed by several compelling facts. First, Mann examined not only the
occipital bone of Body G, but other skeletal fragments and the mandible as well. If he was
going to continue his examination of the Body G remains, he most certainly would have


136 Mann Report,   p. 1 and p. 5, Exhibit 9.

137 While we have been unable to locate Suchey’s report, her letter to Segal dated January 22, 1986, twice

refers to her examination of remains in the singular as “the MOVE specimen” and Segal’s letter to Lytton
confirms that she only examined B-1 Remains, Exhibit 21.

138 Although Monge stated that she was unsure of when Mann took possession of the MOVE remains, she

believes that it had to have been transferred to Mann after Hameli’s December 1985 re-examination,
because the remains were at the MEO at the time of the re-examination. Because Suchey was retained to
conduct an independent review of the remains in January of 1986, it is estimated that the remains were
delivered to Mann by Segal sometime after Suchey completed her review and prior to Segal’s issuing his
final report in March of 1986. Mann confirms the likely time as early 1986. Mann Statement, Exhibit 15.

139 Mann Statement, p. 4, Exhibit 15


140 Segal Report, supra




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taken all fragments of the Body G remains and not just the occipital bone, which alone
would not assist in the aging analysis. Second, as of January 22, 1986, Segal was only
concerned with the identity of B-1 remains, which were the only remains that he sent to
Suchey for examination. Third, there is no evidence whatsoever that the remains that
were released by the MEO to Delisha’s family on September 22, 1986, and subsequently
buried, did not include the occipital bone that Mann studied. 141 Fourth, from 2001 to 2019,
Monge made several efforts to contact MOVE members to ascertain the identity of B-1. It
is highly unlikely that if the Body G occipital bone was also there, that she would not
have made similar outreach efforts with regards to it as well. Lastly, during that same
period, Monge displayed the B-1 remains on ten separate occasions, including the
Princeton video, and there is no evidence that an occipital bone was ever included in
those displays.
           Although the weight of the evidence that we reviewed clearly establishes that
Mann and Monge did not receive the occipital bone or any other bone fragments of Body
G from the MEO in 1986, there is, however, information that an occipital bone along with
the B-1 pelvis and femur may have been together in a box at the Museum at some point.
Paul Mitchell claimed that he, Maya Kassutto, and one other person observed an occipital
bone along with the femur and pelvic fragments in the same box. Mitchell did not state
why he or they concluded that the bone, that was not labeled, was the bone of Body G. 142
Further, neither Kassutto, nor the one other person that Mitchell identified, responded to
our requests for an interview to confirm Mitchell’s claim. Mitchell is the only person who




141
      Exhibit 24

142 Mitchell claims that he observed the box on a single occasion in about 2015, and when he inquired about

it, Monge stated, without looking at the contents of the box, ”Be careful with those, they are MOVE
remains.” Mitchell Interview, May 12, 2021.



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claims that the Body G occipital bone was ever at the Museum, and even he admits that
the only information that supports his claim is “anecdotal” 143 and “suggestive.”144
        We also investigated other information that the Body G occipital bone may have
been present at the Museum. During the 2018-2019 school year, Monge was the faculty
advisor to an undergraduate student who wrote a senior paper on the MOVE remains.145
That student was given access to the B-1 remains while working on the paper and
arranged to have x-rays done of those remains on November 1, 2018, at the Museum. The
student also had x-rays done of an occipital bone which she labeled “G1 skull” and
“MOVE G1 scap and vert.” The student stated that Monge played no role in arranging
for and was not present when the x-rays were taken. This is the first time there was ever
a reference to a “MOVE G1”remain, or a suggestion that the Body G bone was present at
the Museum. The student’s paper, which was 36 pages long, discussed at length the age
of the B-1 remains and made only a passing reference to what she described as the “Body
G” occipital bone and included an x-ray of an occipital bone. 146 Monge reviewed a first
draft of the paper that did include a reference to G, but it did not have an x-ray in the
draft. Monge stated that she did not review the final version of the paper before it was
submitted which included the purported Body G x-ray image.
        Monge offered several explanations as to how she failed to notice that the student
included the occipital bone x-ray and reference in the final draft of her paper. First, she

143 “Anecdotal evidence from former interns in the Penn Museum...is that there may be an occipital bone

with the remains of Katricia held by the Museum.” Mitchell, Preliminary Report on the Archives of the
Philadelphia Special Investigation Commission in Relation to the Remains of MOVE Bombing Victims Stored at the
Penn Museum, p.9, April 23, 2021

144 Mitchell Email to Woods, April 25, 2021


145 The original proposal for the paper, dated September 11, 2018, only described the B-1 or Katricia remains

as a part of the research project. Why the occipital bone x-ray, which the student labeled as a MOVE remain,
was added is unclear because the occipital bone and the x-rays of it were not included in her original
research proposal, nor were the x-rays included in the first draft of the paper.

146 The paper contained two sentences on the occipital bone: “As Figure 10 [the occipital bone]

demonstrates, in the MOVE skull of a younger person, Body G, is very thin. From this observation, it was
concluded that the skull is of a child growing up in MOVE conditions and susceptible to malnutrition while
Body G is of manual density.”



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stated that she was not given the final draft of the paper by the student until the day it
was due, and she could not review it before the student completed it and submitted it.
Monge further asserts that she did not actually read the final paper until 2021 when this
instant controversy arose, and she was shocked to see the reference to the Body G
occipital bone and the x-ray. Monge also stated that she would have revised any initial
draft that contained a reference to Body G occipital bone and deleted it from the paper.147
        Dr. Katherine M. Moore, Undergraduate Chair, Department of Anthropology, also
stated that she too only reviewed the first draft of the paper, and she recalls making
significant edits and changes to the draft that were not incorporated into the final draft.
She also stated that she did not review a final draft of the paper before it was submitted
and did not focus on the issue of the occipital bone in the final version because it was
irrelevant to the subject matter of the paper and appeared out of place. The student, for
her part, stated that she was confused and simply made an error by including the occipital
bone in the final version of her paper. 148 We did not place great weight on the paper’s
reference to the occipital bone because the paper was not subjected to any strict academic
rigor, Dr. Moore’s critique of the paper, and the student’s acknowledgment that she made
an error in referencing an occipital bone as Body G. As part of this investigation, TLG and
Monge conducted several extensive searches of the Lab and Museum and were unable to
locate the specific occipital bone depicted in the paper. Again, Monge is firm in her
position that she never possessed the Body G occipital bone.
        It is important to note that whether the box that Mann received in 1986 also
contained the Body G occipital bone is not outcome determinative to our inquiry which
concerns, in part, the ethical propriety and legality of retaining custody of and using any
human remains at all as demonstrative artifacts in the Coursera video class or otherwise.




147 Monge Interview, August 18, 2021


148 Student Interview, June 18, 2021




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        Once the remains were given to Mann, they were primarily kept in a box in a
cabinet in Mann’s office at the Penn Museum. 149 Mann’s office was a double office with
an adjoining door. Mann allowed Monge, a graduate student at the time, to use one of
the offices. The cabinet containing the remains was on Monge’s side of the office door.
Once she earned her Ph.D. in 1991, that office became her office. The cabinet containing
the remains was kept there until 2001, at which time Monge’s office was moved down
the hall. The remains were then stored in a cabinet in her new office until 2014 at which
point Monge moved the box to the Physical Anthropology Lab (the “Lab”) at the
Museum.
        The Lab is located in the Center for Analysis of Archeological Materials
(“CAAM”), which is on the lower level of the Museum. Key card readers are required at
the doors that lead to CAAM. According to Monge, staff, such as curators and keepers,
and students who have classes in CAAM have key card access. The Lab, which is room
183, also has a key card access reader at the door. Students and staff members have access
to CAAM but do not have access to the Lab. Students working in the Lab, however, do
indeed have access to room 183. People entering the Lab are required to sign in. A review
of the Lab sign-in book revealed unsupervised students were routinely permitted access
to the Lab. Mitchell stated that during his ten-year association with the Museum, he had
keys and ready access to all of its facilities. In fact, in 2017, he admitted to taking some
human remains from the Museum to his home and also leaving them at the home of a
friend before returning them to an undisclosed location in the Museum. 150 In the Lab,
there are trays and carts that contain remains. Some of the remains are used for teaching
and research and are not labeled. There are cabinets along the walls in the Lab. Monge
said she kept the box of MOVE remains in one of the cabinets. Monge also said that some
other materials, including some of her forensic work, was kept in the same cabinet.



149 Monge Interview, May 19, 2021


150 Mitchell Interview, May 12, 2021




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        When this current controversy arose, Dr. Stephen Tinney, Deputy Director at the
Museum, directed Monge to take the remains to Mann, since Mann was the original
recipient of the remains. Monge complied with Tinney’s request. On April 30, 2021, at the
University’s request, Mann then turned the remains over to a funeral director from West
Philadelphia who came to his home to pick them up. At the University’s direction, Terry
Funeral Home, a historic and Black-owned funeral home located in West Philadelphia,
sent a hearse to Mann’s home to retrieve the remains. The remains that were given to
Terry Funeral Home were inspected by TLG on that same date and were the femur and
pelvic remains only. The remains were then placed in an infant casket at Terry Funeral
Home. The femur and pelvic remains were returned to several MOVE members on July
2, 2021.


        B.      Efforts to Identify and Return the Remains
9. In 1995 and 2014, Dr. Monge sought to identify and return the remains that the
   Commission’s experts had concluded belonged to Katricia by contacting two of the
   MOVE family members, once through a third-party intermediary, but they refused
   to help her.

        During the years that the remains were at the Museum, Monge stated that she
made several efforts to communicate with MOVE members to enlist their help in
identifying the B-1 remains and, if they did belong to Katricia, return them to her mother,
Consuewella Africa. 151 Since Monge maintains that the Body G remains were never at
the Museum, her interests and efforts were therefore only focused on the B-1 remains. In
1995, close to the tenth anniversary of the MOVE bombing, Monge said that she reached
out to Ramona Africa, the only living survivor of Osage Avenue, because she understood
that Ramona was developing a documentary on the bombing. Ramona Africa initially
agreed to meet with Monge at the Museum. When Ramona Africa came to the Museum,



151 Paul Mitchell stated that he had a conversation with Monge about her efforts to identify the remains in

2015. Mitchell Interview, May 12, 2021. Mann also recalls that effort by Monge in 2015 as well. Mann
Statement, Exhibit 15.



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Monge told her that they had custody of the B-1 remains since 1986 and that she believed
that they were misidentified. Monge also asked Ramona African if she could provide
them any information that would help Monge identify the remains. Ramona Africa stated
that she would not help. 152
          In 2014, Monge sought the assistance of Malcolm Burnley, a writer for Philadelphia
Magazine, in contacting Consuewella Africa, 153 the mother of two of the children who
died in the fire: Zanetta Dotson Africa and Katricia Dotson Africa. Monge stated that she
did not feel comfortable contacting MOVE members herself, both because of what she
perceived to be MOVE’s aggressive public image, and because as a white woman, she
did not have the lived experiences to be able to relate to MOVE’s experience. Monge
enlisted Burnley because she thought that, as a Black man, Consuewella and other MOVE
members might be more willing to speak to him. Emails from Burnley to Monge from the
Fall of 2014 state that he called Consuewella Africa on multiple occasions but was not
able to reach her until December of 2014. 154 Once Burnley reached Consuewella, he said
she agreed to a phone call which took place in early December of 2014. 155 Burnley sent
Monge an email on December 7, 2014, detailing his conversation:
          “My conversation with Consuewella did not go well. I'm extremely
          bummed but not willing to give up on this. The conversation began with
          her swearing at me and telling me that "unless I can bring her daughter
          back, I need to stop fucking with her." Every time I would speak, she'd
          either interrupt me or stop me, then confer with someone else she had on
          speaker phone (a different phone I guess) about what to say next. I found
          out that this other person was Ramona Africa, late in the conversation. After
          trying to let her say her peace for 10 minutes, I spoke over Consuewella—
          telling her that the city did an injustice on that day, and the only way I could
          possibly find out about bringing her daughter back, would require her

152 Monge Interview, May 19, 2021


153 Consuewella Africa died on June 16, 2021,

https://digital.olivesoftware.com/Olive/ODN/PhiladelphiaInquirer/shared/ShowArticle.aspx?doc=P
HQP%2F2021%2F06%2F17&entity=Ar02000&sk=9DE75FE7&mode=text

154 Email exchange between Burnley and Monge. Exhibit 16, December 7, 2014


155 Id.




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          participation. She seemed to consider it for a moment, and then started
          swearing at me again. She said that Ramona would call me (she hasn't) and
          talk more. It really sounds like she's still part of MOVE and is loopy. I don't
          know how to proceed. I can get Ramona's phone and email address and try
          her this week. Perhaps she'd be willing to talk reasonably about the matter,
          but I doubt it. As terrible as this sounds, I wonder if I could get
          Consuewella's DNA somehow without her consent? That's highly
          unethical, I know, but I'll do everything that I can to prove this. It's an
          important piece of history and the city shouldn't be able to have covered
          this up for so long. Let me know what you think. 156

          Burnley emailed Monge again on December 29, 2014, advising that he exchanged
emails with Ramona Africa. He said, “Ramona emailed me back with one line, ‘No, I will
not talk to you.’ I guess I’ll have to try the uncle now. Very disappointing.” 157 Monge
stated that she was focused and dedicated in determining the identity of the B-1 remains
so that she could have the remains returned to the appropriate relative, if possible. To
that end, emails from January to March 2019 document Monge and Burnley’s plans to
“stakeout” Consuewella Africa’s home in order to obtain a DNA sample from her trash.
Monge said they decided against going through Consuewella Africa’s trash because they
thought it was unethical. Monge made no attempt to return the remains to the MEO. 158




156 Id.


157 Email exchange between Burnley and Monge. Exhibit 17, December 29, 2014


158 Monge Interview, May 19, 2021




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      C.     Use, Display and Knowledge of the Remains at the Museum

10. The remains were shown by Dr. Monge to graduate students, donors, and Museum
    personnel on at least ten occasions between 2014 and 2019.
11. The remains were used by Dr. Monge as a case study in a Princeton Online video
    course that she taught in 2019 as a visiting professor at Princeton.

12. Dr. Monge did not inform MOVE family members of and obtain their consent to
    use the remains in the Princeton Online video course.

13. The Museum did not have a policy on the retention and display or use of the
    remains and other non-accessioned remains as demonstrative artifacts or for other
    purposes.

14. Dr. Monge’s retention and use of the remains as a demonstrative artifact did not
    violate the Museum’s Policy Statement on Human Remains which was adopted in
    2017 because it did not apply to the non-accessioned MOVE remains.

15. Dr. Monge did not violate any specific professional, ethical or legal standards by
    retaining and displaying the remains.

16. Dr. Monge’s retention of the remains from 2001 to 2021 and their use in the
    Princeton Online video course demonstrated, at a minimum, extremely poor
    judgement and gross insensitivity to the human dignity and social and political
    implications of her conduct.

17. Although the remains were not formally a part of the Museum’s collection, several
    persons, including a former director and deputy director of the Museum, observed
    some of the remains at some point during the time that they were at the Museum,
    and were aware of their provenance.

18. No one in a leadership position at the Penn Museum believed that having the
    remains at the Museum and their display to students, donors and others violated
    any Museum policies.

19. There is no evidence that any University Officer or Administrator was aware that
    Monge was in possession of the remains or of their use or display.

      While the MOVE remains were at the Museum, some of them were shown or used
on at least ten occasions. In 1988, the remains were made available for use by the
American Board of Forensic Anthropology (“ABFA”) for an exam. ABFA was in
Philadelphia for a meeting at that time, and the head of ABFA asked Monge for


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permission to use materials in the Museum for a diplomat exam for four students. Monge
made the decision to use the MOVE remains as part of the exam. Monge took the remains
to the room in the Museum where the exam was being taken. Monge stated that she
allowed ABFA to use the remains for the exam because she wanted people to age the
remains without knowing their history. Once the students took the exam, the remains
were returned to Monge. Monge stated that the students confirmed her and Mann’s
conclusions that the B-1 remains were not those of Katricia. Notably, no Body G remains
were used as part of ABFA’s examination, which supports Monge’s contention that they
were never at the Museum. Neither the Museum nor Monge were compensated for this
use of the B-1 remains. 159
        Stephen Tinney, the deputy director of the Museum, also recalls that a box
containing some remains was used in 2015 during a meeting of Museum donors at the
Silver Circle level to showcase Monge’s forensic work. Tinney introduced Monge and she
discussed her work on the MOVE remains. 160 However, Monge said she could not recall
the specific date of that donor meeting. Also, Dr. Julian Siggers, the immediate past
director of the Penn Museum, recalls seeing some remains sometime in 2019 although he
could not recall specifically which ones or the circumstances. 161
        Although she does not remember the exact date, Monge recalls displaying the
remains during a class for a graduate seminar on race at Princeton University. Monge
traveled from the Museum to Princeton with the remains for that class and took the
remains back to the Museum after that class. In addition, Monge said she occasionally
showed the remains to other anthropologists to get their opinions on the aging of the
remains when they visited the Museum. Monge maintains that her use of the remains
was part of her attempt to age the remains and to demonstrate that the remains were not
Katricia’s remains.

159 Monge Interview, May 19, 2021


160 Tinney Interview, May 4, 2021


161 Siggers Interview, June 7, 2021




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           In 2019, Monge displayed the B-1 remains, the femur and two fragments of the
pelvis, during a free video class on the Princeton Online platform, Coursera, called “Real
Bones: Adventures in Forensic Anthropology.” The course, which Monge taught in her
capacity as a visiting professor at Princeton, used the MOVE bombing and the conditions
of the remains caused by the fire, and subsequent inhumane handling of the remains as
a case study. The overall purpose of the course was to teach how the techniques of
forensic anthropology could be used to restore the “personhood” of unidentified
remains. 162 The course consisted of eleven sessions, the first seven of which were
recorded at the McGraw Center Studio at Princeton, and four at the Museum by a
Princeton film crew. The first class entitled “Losing Personhood: MOVE A Case Study”
described the history of MOVE and its deadly confrontation with the City of
Philadelphia. The second class, entitled “Restoring Personhood” described the
excavation of 6221 Osage Avenue and displayed slides and x-rays of the remains.
Subsequent classes were entitled: “Tools of the Trade”, “Bone: The Basics”, “How Bones
Grow and Develop”, “Dental and Hand-Wrist Standards”, and “Aging, Dentition, Gross
Morphology.”
           The first time that the remains were displayed and handled in the course was in
the ninth class entitled: “MOVE – An Analysis of the Remains” which was filmed at the
Lab in the Museum. 163 In that class, which was almost 14 minutes in length, Monge and
a student displayed and examined the two pelvic fragments and a femur, and compared
them to other bones and fragments and discussed forensic techniques that could possibly
be used to determine the age of the remains. In discussing the remains, Monge used the




162 Course Outline, Exhibit 18



Cf: “Princeton Owes the Families of the MOVE Bombing Victims Answers”
http://historynewsnetwork.org/article/180027

163 A 3½   minute promotional trailer for the course shows a six second excerpt of that class and the
remains.



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term “juicy” to describe the remains. Monge has stated that this term is her forensic term
of art to describe remains that are relatively new.
        Monge continued to believe that since the remains were unidentified, and that her
previous efforts to contact MOVE members were unsuccessful, there were no MOVE
members that she could consult and obtain their informed consent to display them in the
online course.


        D.       Museum Policies, Ethical Standards and Legal Provisions

                 1. Penn Museum Policies
        As we have seen, the MOVE remains that Mann received in 1986 were given to
him in his capacity as a private consultant and not as an employee of the University of
Pennsylvania or the Museum as he stated in his written statement. Mann also falsely
claimed that he “entrusted the remains to the Penn Museum for safekeeping.” 164 As Dr.
Mann surely knew, since he had performed similar work for the MEO over the previous
ten years, as a private consultant, that the remains were never intended to be and in fact
could never be added to the Museum’s official and permanent collection of human
remains. That is, they were never accessioned 165 and therefore would not have been
“entrusted to the Museum.” Accession is the term used by museums and comparable
institutions to describe the process of legally acquiring, validating, cataloguing, storing,
studying, and displaying objects or artifacts in their permanent collections. 166 Further,
the remains were not accessioned because according to Monge, she and Mann never
intended that they become a part of the permanent Museum collection, and they hoped
that at some point they could be identified and returned to MOVE family members.
Finally, Mann claims that he “felt assured, however, that the bone fragments were being


164 Mann Statement, Exhibit 15.


165 Sigger’s Interview June 7, 2021


166 See Accessioning Guide of the American Alliance of Museums.

https://www.aam-us.org/wp-content/uploads/2018/01/acquisitions-activity.pdf



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safeguarded because they were secured in the Penn Museum’s temperature and
humidity-controlled laboratory, and by bubble wrapping them and placing them in a box
inside a locked steel cabinet.” 167 Apart from not stating who, if anyone gave him such
“assurances,” that claim is contradicted by the very next sentence in his statement which
says, “I do not specifically recall, apart from the re-examining the bone fragments, what
we did with the fragments after we secured them at the Penn Museum.” 168 After taking
the remains to the Museum in 1986, Mann lost all interests in them, made no further
efforts to identify them over the next 15 years, and he abandoned them when he went to
Princeton.
           Between 1985 and 2017 the Museum did not have a written policy on the use of
un-accessioned human remains or artifacts that were not a part of its permanent
collection. 169 According to Siggers, he organized a committee to draft a policy addressing
the use and display of the accessioned human remains in the Museum’s collection. 170 A
policy was written and adopted by the Museum in 2017, and posted to the Museum’s
website. 171 The policy addressed: 1) the respectful, professional, and treatment of human
remains, 2) documentation of the Museum’s inventory of human remains, 3) the
accession and deaccession process, 4) loaning, storage, and access to human remains, 5)
research, 6) display, and 7) educational use. 172 Siggers stated that the Museum had in
place a formal accession process to decide whether to accept materials as part of the



167
      Mann Statement, Exhibit 15, page 4.

168 Id.


169 Woods Interview, June 15, 2021


170 Siggers Interview, June 7, 2021 (Dr. Siggers holds a Ph.D.   in Archaeology and served as Director of the
Museum from July 2012 through August 2020)

171 Statement on Human Remains

https://www.penn.museum/about-collections/statements-and-policies/statement-on-human-remains

172 Id. (The Museum’s policy is currently being reassessed in light of the action plan stated in the Morton

Collection Committee report.)



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Museum’s collection. 173 It also created a rotating committee comprised of individuals
whose expertise was relevant to the items being considered for accession. 174 The
committee would consider where the potentially accessioned item came from and
whether it was legally procured. 175
          The MOVE remains stored in the Lab were never accessioned into the Museum’s
collection. Siggers stated that it was not uncommon for museum affiliated experts,
including anthropologists, such as Mann and Monge, to have in their possession non-
accessioned objects that were the subject of academic study and/or related to forensic
work being conducted for a government body (i.e., a medical examiner or coroner’s
office). Siggers stated that the technology necessary to conduct a forensic examination
was more likely to be located at a museum lab than a medical examiner’s office.
          Siggers stated that the Museum still does not have a policy governing non-
accessioned items such as human remains, that are brought to or stored in any of the
Museum’s facilities, and none that governed how Monge utilized the MOVE remains.
          A previous director and current deputy director at the Museum, Siggers and
Tinney, observed MOVE remains at some point during the time that they were at the
Museum and were aware of their provenance. Neither believed that having the MOVE
remains at the Museum and their display to students, donors, and others violated any
Museum policies. Since the remains were not accessioned and not part of a collection, or
formally used in an exhibition, the guidelines of the Institute of Museum Ethics on the
treatment of human remains would not apply. 176 Likewise, the American Alliance of




173 Siggers Interview, June 7, 2021


174 Id.


175 Id.


176 http://www.museumethics.org/2009/09/museum-q-and-a-2/




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Museums’ Code of Ethics section on “Collections” would not apply for the same
reasons. 177

                2. Professional Ethical Standards
        Dr. Mann and Dr. Monge are physical anthropologists. Anthropology, as an
academic discipline, has several other branches that are fluid, some of which overlap.178
For example, there are also forensic anthropologists, biocultural anthropologists, paleo
anthropologists,      social    anthropologists,       cultural     anthropologists,      and   linguistic
anthropologists. Archaeology is considered a branch of anthropology, which has its own
sub-branches. 179 Finally, we found that it is not unusual for biological and physical
anthropologists to perform the same type of investigative work that forensic
anthropologists 180 perform, as was done by Mann and Monge.181 This made our efforts
to identify common ethical standards to use in evaluating the propriety of Mann and
Monge’s conduct over a 36-year period especially daunting.
        Just as there are various branches in anthropology and archaeology, there are also
multiple professional associations with largely aspirational goals and statements of
principle, but no specific rules of conduct or authority to sanction members who violate



177 https://www.aam-us.org/programs/ethics-standards-and-professional-practices/code-of-ethics-for-

museums/

178 “History and Branches of Anthropology”, National Geographic

https://www.nationalgeographic.org/article/history-branches-anthropology/

“Fields of Anthropology “ https://www2.palomar.edu/anthro/intro/fields.htm

179 While none of the anthropological associations have specific rules relating to the handling of human

remains, the Society for American Archaeology, founded in 1934, does:
https://documents.saa.org/container/docs/default-source/doc-careerpractice/saa-human-remains-
statement-draft-4-14-2021.pdf?sfvrsn=3565512b_2df?sfvrsn=3565512b_2

180 Forensic anthropology is the analysis and identification of human remains to assist
                                                                              coroners or medical
examiners. https://www.bionity.com/en/encyclopedia/Biological_anthropology.html

181 In fact, Monge did forensic anthropological work for the Philadelphia Public Defender’s Association and

the Federal Defender’s Association subsequent to 1985. See Monge Statement, Exhibit 14. Michael Blakey
Interview, July 6, 2021



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them. 182 Also, these rules mostly seem to apply to persons who are actually members of
the respective associations. This is the case for organizations such as: the Society of
Forensic Anthropology, 183 the Society for Applied Anthropology,184 the American Board
of Forensic Anthropology, 185 and the American Academy of Forensic Sciences. 186 The
other organizations, such as the American Anthropological Association, state that while
their codes are primarily for its members, they also exist generally for educational
purposes and to foster discussions within the field at-large. 187
         Lastly, and more importantly, our task was further complicated by the differences
in Mann and Monge’s conduct and the varying dates and timeframes in which they
occurred. For example, we examined the ethical implications of Mann’s actions in taking
custody of the remains in 1986 and retaining them until 2001, while making no further
efforts to identify them during the time, and then leaving them at the Museum when he
went to Princeton without attempting to return them to the MEO. We then examined
Monge’s actions for the period of 2001 to 2019, when she retained custody of the remains
and displayed them on multiple occasions also without attempting to return them to the
MEO.
         There are several professional associations whose ethical standards are arguably
relevant to Mann and Monge’s conduct as physical anthropologists, but to draw any
conclusions that their actions were ethically improper under these various standards


182 Unlike certain regulated professions such as law and medicine with licensure requirements, there are

no authoritative bodies with the responsibility for promulgating ethical standards, interpreting them in
specific situations and then sanctioning violations.

183 http://www.sofainc.org/code-of-ethics


184 https://www.appliedanthro.org/about#jl_magic_tabs_ethics_gix2


185http://theabfa.org/wp-content/uploads/2020/04/2020-ABFA-Policies-and-Procedures-29-March-
2020.pdf

186 http://www.ethicscodescollection.org/detail/163abc00-0baa-4650-b571-3ac3758fd1bd


187 https://www.americananthro.org/LearnAndTeach/Content.aspx?ItemNumber=22869&navItemNu

mber=652



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would be problematic given the varying dates when these associations were formed and
when they adopted their codes of ethics. For example, the oldest association, the
American Anthropology Association, founded in 1902, first adopted a Code of Ethics in
1971 and amended it in 1986, 1998 and 2012. None of these iterations had any specific
guidelines on the custody and use of unidentified human remains. 188 The preamble to the
AAA Code states:
          Ethics and morals differ in important ways. The complex issues that
          anthropologists confront rarely admit to the simple wrongs and rights of
          moral dicta, and one of the prime ethical obligations of anthropologists is
          to carefully and deliberately weigh the consequences and ethical
          dimensions of the choices they make — by action or inaction. Similarly,
          ethical principles and political positions should not be conflated; their foci of
          concern are quite distinct. Finally, ethics and law differ in important ways, and
          care must always be taken in making these distinctions. Different processes are
          involved in making ethical versus legal decisions, and they are subject to different
          regulations. While moral, political, legal, and regulatory issues are often important
          to anthropological practice and the discipline, they are not specifically considered
          here. These principles address ethical concerns. 189 [Emphasis added]

          With these caveats, we surveyed the ethics codes of several professional
associations: the American Anthropological Association (AAA), 190 the Society for
Applied Anthropology (SAA), 191 the American Association of Physical Anthropologists
(AAPA), 192 and the American Association of Biological Anthropologists (AABA).193
Since Mann was acting as a forensic anthropologist when he was retained to help identify
the remains in 1985, we consulted standards that are applicable to that specialty: the



188 https://www.americananthro.org/LearnAndTeach/Content.aspx?ItemNumber=22869#Gusterson5


189 Id.


190 Id.


191 https://www.appliedanthro.org/about


192 https://physanth.org/


193 Id.




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Society of Forensic Anthropology (SOFA), 194 the American Board of Forensic
Anthropology (ABFA), 195 and the American Academy of Forensic Sciences (AAFS). 196
       We also consulted several anthropologists and others whose initial reactions when
they read the inaccurate news accounts relating to Mann and Monge’s conduct in keeping
and displaying the remains was that it was clearly unethical but could identify no specific
professional ethical standards that were applicable. When we clarified that there was a
legitimate dispute about the identity of the remains, and that Monge had tried to identify
and return some of the remains, several stated that her conduct was, at a minimum,
“insensitive” and demonstrated “poor judgment.” Interestingly, none of the statements
of condemnation issued by several of these organizations when this controversy arose
identified the specific ethical standards of their associations that were violated and how
they might apply to Mann and Monge’s conduct over 36 years. 197
       Dr. Mann and Dr. Monge have both had long and distinguished careers as
professors, scholars, and researchers. In the absence of clear and specific ethical criteria
that were applicable at the relevant points in time, we are loath to tarnish those
reputations by conflating conduct that was, at worst, “insensitive” and exhibited “poor
judgment,” with “unethical” conduct, and to do so in hindsight. It is tempting during
public controversies such as this one, with the attendant political passions of the moment,
to rush to judgment. It is also normal to feel an intuitive sense of outrage and to believe
that certain conduct is “just wrong” or “offends moral sensitivities.” Such feelings alone,
however widespread or honestly held, should never be allowed to unfairly disparage and
ruin the reputations of the persons who are caught in the vortex of such a controversy.




194 http://www.sofainc.org/


195 http://theabfa.org/wp-content/uploads/2020/04/2020-ABFA-Policies-and-Procedures-29-March-

2020.pdf

196 http://ethics.iit.edu/codes/AAFS%201978.pdf


197 https://www.americananthro.org/StayInformed/NewsDetail.aspx?ItemNumber=26217




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        The codes of ethics for all of the anthropological associations we surveyed share
several animating ideals: promote intellectual honesty and professionalism in research
endeavors; strive to restore personhood; avoid harm to human dignity; and obtain informed
consent for research whenever possible. While we cannot conclude that their actions were
“unethical” as such, we do conclude that Mann’s cavalier treatment in the storage and
retention of the remains from 1986-2001 and Monge’s similar actions from 2001 to 2019
exhibited extremely poor judgment and gross insensitivity to the moral, social, and
political implications of their conduct. Furthermore, their actions were inconsistent with
the implied overarching principle of the respectful treatment of human remains.
        Monge’s display of the remains on several occasions, when viewed in context,
served legitimate professional and educational objectives, and the display of the remains
in the Coursera class was done in a dignified manner. Since both Mann and Monge, at
some point, had a good faith belief that the remains were unidentified, Monge did not
violate the informed consent principle when she displayed the remains, because she knew
of no persons with a clear legal relationship to the remains from whom such consent
could have been sought.
                            American Anthropological Association
        The American Anthropological Association (AAA) is the world’s largest scholarly
and professional organization of anthropologists. 198 Its membership is comprised of
professors, students, and researchers dedicated to advancing the field and adhering to
industry standards as well as a code of ethics. The AAA has seven Principles of Professional
Responsibility, but none, by their literal terms, apply to the handling of unidentified
human remains:
    1. Do No Harm
    2. Be Open and Honest Regarding Your Work


198 https://www.americananthro.org/LearnAndTeach/Content.aspx?ItemNumber=22869#Gusterson5



See also statement of the Association of Black Anthropologist (ABA) which is a section of the AAA.
https://aba.americananthro.org/category/abaaaa/; https://aba.americananthro.org/



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    3. Obtain Informed Consent and Necessary Permissions
    4. Weigh Competing Ethical Obligations Due Collaborators and Affected Parties
    5. Make Your Results Accessible
    6. Protect and Preserve Your Records
    7. Maintain Respectful and Ethical Professional Relationships
        The one principle that would appear to apply is the first one, which is similar to
the Hippocratic Oath 199 found in medicine – “do no harm” – and the one that was cited
by the AAA in its statement of April 26, 2021. 200 But the statement fails to state how it
applies to the facts of this controversy that involves the continued custody and use of the
MOVE remains by Mann and Monge. The relevant commentary to the principle states:
        A primary ethical obligation shared by anthropologists is to do no harm. It
        is imperative that, before any anthropological work be undertaken - in
        communities with non-human primates or other animals, at archaeological
        and paleoanthropological sites – each researcher thinks through the
        possible ways that the research might cause harm. Among the most serious
        harms that anthropologists should seek to avoid are harm to dignity, and to bodily
        and material well-being, especially when research is conducted among vulnerable
        populations. [Emphasis added]

        The third principle relating to informed consent would arguably apply if there was
no dispute about the identity of the remains and there were persons from whom consent
could be sought. In any event, Monge did reach out to MOVE members to get their
assistance in identifying the remains and presumably return them, but they refused. 201
                               Society for Applied Anthropology
        Another association whose ethical standards arguably apply is the Society for
Applied Anthropology, founded in 1941 making it one of the oldest of the associations.
SAA promotes the advancement of the field of anthropology with a focus on applying its



199 https://www.britannica.com/topic/Hippocratic-oath


200 https://www.americananthro.org/StayInformed/NewsDetail.aspx?ItemNumber=26217


201 See Finding and Conclusion No. 9, supra




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principles to help address contemporary issues. Its Statement of Ethics and Professional
Responsibilities which applies to its members states:
          This statement is a guide to professional behavior for the members of the
          Society for Applied Anthropology. As members or fellows of the society,
          we shall act in way consistent with the responsibilities stated below
          irrespective of the specific circumstances of our employment.

          The Statement contains six broad, aspirational principles that speak generally of
affording dignity, integrity, and worth to communities ultimately affected by an
anthropologist’s work. 202 However none relate specifically to the custody and use of the
unidentified MOVE remains by either Monge or Mann.
                     American Association of Physical Anthropologists
                    American Association of Biological Anthropologists
          The American Association of Physical Anthropologists (AAPA) adopted a code of
ethics in 2003. The provisions of this code include considerations for physical
anthropologists which are based largely on the principles developed by the AAA.203
Because the AAPA relied on the AAA to form its own code of ethics, it also does not have
specific guidelines for proper handling and usage of human remains. Instead, it
addresses ethical obligations generally and urges respect to the peoples and materials
they study. 204 The American Association of Biological Anthropology is apparently the
same as the AAPA. One provision discusses obtaining the informed consent of persons
owning or controlling access to material being studied. 205
                            Professional Forensics Associations
          After our survey of the codes of various anthropological associations that were
generally applicable, we examined the codes of three that were specific to forensic


202 https://www.appliedanthro.org/about#jl_magic_tabs_ethics_gix2


203 https://physanth.org/documents/3/ethics.pdf


204 Id.


205 Id.




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anthropology: the Society of Forensic Anthropology (SOFA), the American Board of
Forensic Anthropology (ABFA), and the American Academy of Forensic Sciences
(AAFS). None contained provisions relating to the treatment of human remains.
       The Society of Forensic Anthropologists is a professional organization of forensic
anthropologists founded in 2003. Their work focuses on ways to improve the practices in
the field. This involves the application of psychical and biological anthropological
knowledge and skills to the medical investigation of death and interpretation of human
skeletal remains. 206 Part A of their code emphasizes that a forensic anthropologist should
“serve the interests of justice” and that their motives should be “conducted with respect
for human dignity.” 207
       The American Board of Forensic Anthropology Code of Ethics, adopted in 2001,
includes a series of ethical and professional standards for forensic anthropologists.208
There are no specific ethical guidelines regarding the custody and use of human remains.
The American Academy of Forensic Sciences was formed in 1986 as an organization to
promote professionalism, integrity, and competency in the forensic sciences. 209 Its by-
laws include ethical and professional standards but has no guidelines regarding the
custody and use of unidentified human remains.

               3. Relevant Legal Provisions
       Pennsylvania and New Jersey have some limited case law and statutes that
concern liability for the mishandling of human remains. We have surveyed this legal
framework to determine their applicability to Dr. Mann and Dr. Monge’s custody and
use of the unidentified MOVE remains from 1986-2019. It is our opinion that their actions
did not violate any of those legal provisions, either because the statutes or holdings by


206 http://www.sofainc.org/


207 http://www.sofainc.org/code-of-ethics


208 http://theabfa.org/wp-content/uploads/2020/04/2020-ABFA-Policies-and-Procedures-29-March-

2020.pdf

209 https://aafs.org/common/Uploaded%20files/About%20Us/AAFS%20Bylaws-April2021.pdf




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their terms did not apply, the requisite states of mind required for liability were not
present, 210 or the statutes of limitations had run on any potential claims. In addition, since
the remains are unidentified, it is not clear which members of the MOVE family would
have standing to assert these claims.
                                                     Case Law
          Pennsylvania courts have adopted the First Restatement of Torts, Section 868211
relating to interference with a dead body: “a person who wantonly mistreats the body of
a dead person or who without privilege intentionally removes, withholds or operates
upon the dead body is liable to the member of the family of such person who is entitled
to the disposition of the body.” 212 The Pennsylvania Supreme Court adopted this
language and created a cause of action in a 1970 case in which the parents of a child sued
a driver who hit the child with his car and buried him in effort to hide the remains. 213 The
court concluded that family members were entitled to recover for mental damages,
emotional disturbance, embarrassment, and humiliation stemming from interference
with the body. 214
          Since then, courts have clarified wanton mistreatment and intentional mishandling of
human remains as behavior that, even if not intentional, is reckless and demonstrates at




210 For example, the line of cases discussing intentional conduct or wanton conduct presumes [defendant

has knowledge of the identity of the remains, their next of kin and nevertheless acted in a way that caused
harm or with disregard for the harm that could be reasonably expected from their conduct].

211 The Restatements of the Law are a collection of legal concepts and principles compiled by the American

Law Institute (ALI) that distilled various common law principles in several areas of the law into model
statements that could be adopted by courts and legislatures around the country. Such Restatements are
persuasive principles only and not controlling unless adopted by the highest court in the state or the state
legislature. The ALI, which is based in Philadelphia, is an organization of judges, lawyers, and law
professors founded in 1923.
https://www.ali.org/about-ali/faq/

212 Restatement (Second) of Torts § 868 (1939)


213 Papieves v. Lawrence, 437 Pa. 373, 376 (1970).


214 Id. at 381.




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least a willingness to injure and an indifference to the wrongdoing. 215 Wanton
misconduct means that, “the actor has intentionally done an act of an unreasonable
character, in disregard of a risk known to him or so obvious that he must be taken to have
been aware of it, and so great as to make it highly probable that harm would follow.” 216
In another case, the court found that the plaintiff had pled enough facts from which a jury
could reasonably find that a hospital’s conduct might have been wanton where it only
made a halfhearted effort to contact the family before sending the body to a nearby
university where the decedent’s organs were removed against the family’s wishes. 217 In
another case, the court found no wanton conduct where the plaintiff’s mother’s casket
and body sustained considerable damage during a flight. 218
         On the question of liability for intentional conduct, courts have concluded that such
actions include, “unlawful interment or disinterment of a body, intentional interference
with a burial, or unauthorized embalming of a corpse, and other intentional, reckless or
wanton acts likely to cause severe emotional distress.” 219 The courts noted that this
definition for intentional conduct was consistent with the common legal understanding
of intent that is found when one shows, “either a desire to cause mental distress or a belief
or knowledge that one’s conduct is substantially certain to cause the plaintiff mental
distress.” 220 Although it has been the subject of debate, the courts in Pennsylvania have
not expanded the concept to include negligent interference with a body. 221




215 Stubbs v. Frazer, 454 A.2d 119, 120 (Pa. Super. Ct. 1982).


216 Id. (internal quotations omitted).


217 Weiley v. Albert Einstein Med. Ct., 51 A. 3d 202 (Pa. Super. Ct. 2012).


218 Hackett v. United Airlines, 528 A.2d 971, 974 (Pa. Super. Ct. 1987).


219 Weiley, A. 3d at 210-11 (emphasis added).


220 Id. at 211 (citing Restatement (Second) of Torts § 8A (1965)).


221 Id. at 214 (citing Hackett, A. 2d at 974).




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          A similar legal framework exists in New Jersey common law where the Supreme
Court has adopted language from the Second Restatement of Torts, Section 868 to create
liability for the mishandling of human remains. 222 One important distinction is that New
Jersey does allow a plaintiff to recover for negligent infliction of emotional distress
resulting from the mishandling of a corpse. 223 In New Jersey, negligent mishandling of a
corpse is an exception to the standard rule requiring that the plaintiff show physical proof
of emotional distress. 224 The courts reasoned that mishandling a corpse creates an
overwhelming likelihood of genuine and serious mental distress which serves as proof
that the claim is not frivolous. 225
                                              Statutory Law
          Pennsylvania has one relevant statute which states that, “a person who treats a
corpse in a way that would outrage ordinary family sensibilities commits a second-
degree misdemeanor.” 226 However, it carries a two-year statute of limitations and is
inapplicable altogether to Mann’s conduct that occurred from 1986 to 2001, or Monge’s
from 2001-2019. 227 Similarly, a New Jersey statute makes it unlawful to “purposely or
knowingly fail to dispose of human remains in a manner required by law.” 228 The statute
of limitations for that offense is five years. 229




222 Strachan v. John F. Kennedy Memorial Hosp., 109 N.J. 523, 531 (1988).


223 Lacy v. Cooper Hosp./University Med. Ctr., 745 F. Supp. 1029, 1033 (D.N.J. 1990).


224 Strachan, 109 N.J. at 537.


225 Id. at 538.


226 18 Pa. C.S.A. §5510.


227 42 Pa. C.S.A. § 5552(a).


228 N.J. Rev. Stat. § 2C:22-1.


229 N.J. Rev. Stat. § 2C:1-6.




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                          V.      RECOMMENDATIONS

1. Appoint a University funded diverse, multidisciplinary external committee to
   advise the University on these recommendations as well as its ongoing relationship
   with the West Philadelphia Community. The Committee should publish an annual
   report on its activities and accomplishments.

       We understand that the University has numerous programs and initiatives in its
various schools, colleges and other facilities aimed at providing and sharing its vast
intellectual and financial resources with the surrounding West Philadelphia community.
However, the fortuitous occurrence of the MOVE remains controversy provides the
University with the opportunity to reassess the adequacy and efficacy of these programs
and to redouble its efforts. This committee could provide an array of perspectives and
critical feedback on these existing efforts and assist in developing new ones.


2. Establish a permanent installation on the Bombing of Osage Avenue at a publicly
   accessible location at the University.

       Our investigation revealed that there is very little contemporary understanding of
one of the most horrific events in Philadelphia history, which included not only the killing
of eleven people, but also the destruction of 61 homes and permanent dislocation and
disruption of the lives of over 250 residents. Other than the simple historical marker
depicted on the cover of this Report, there is no place that memorializes, educates, and
provides a balanced perspective on this event. While the University bears no
responsibility for the events of May 13, 1985, it has the unique opportunity, as an elite
city institution, to provide a vitally needed public service. While we don’t have a
recommendation on where such an installation should be housed at the University, we
strongly recommend that it be permanent and open to the public at no charge.


3. Hire a chief diversity officer for the Penn Museum.

       The Museum has nearly 200 employees and other than the new director, there are
no Blacks in the 40 upper-level management positions at the Museum. The Museum
should set hiring goals aimed at remedying this underrepresentation by 2023. A minority


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perspective at the Museum over the last years would have emphasized the social and
political implications of having the Morton Collection at the Museum at all, and how the
display of the MOVE remains, however well intentioned, would be perceived by
minority and indigenous communities. In addition, that person should be the Museum’s
liaison with the community.


4. Create a new full-time position for a bio-anthropologist/archaeologist with
   expertise in the analysis of human remains with a record of advocacy for Black and
   Indigenous people and in repatriation requests; this individual should hold a dual
   position as Penn Museum curator and a tenure-track faculty member in the
   Department of Anthropology.

       This position brings the same diversity of perspectives to the academic and
scholarly endeavors of the Museum and the University that the chief diversity officer
brings to employment and human resources. The employment of a person with expertise
and scholarly achievement in the area of the repatriation of human remains is critical to
the credibility of the Museum’s efforts in that regard.


5. Conduct a comprehensive review of the holdings and collection practices of the
   Museum’s Physical Anthropology section and reassess its practices relating to the
   possession and various uses of human remains, accessioned as well as privately
   held.

       The Museum has the remains of thousands of individuals in its collections, most
of which are accessioned and governed by the Policy Statement issued in 2017. As the
MOVE remains controversy illustrates, there may be other remains that are privately held
by anthropologists at the Museum and no clear policy relating to the possession,
cataloguing and use of such remains or records of their provenance.


6. Present a joint exhibition with the African American Museum in Philadelphia on
   the role of University-trained scholars and anthropologists in the development of
   scientific racism.

       As we have seen, the root cause of this MOVE remains controversy is the Morton
Collection and the ongoing professional debates about the role that Morton’s research



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and his collection played in the development and advancement of scientific racism. At a
minimum the possession of the Collection requires that the University acknowledge its
historical complicity – intended or not – in this development and join other institutions
in this reckoning and reconciliation. The Penn and Slavery Project has done significant
research in this area. A collaborative exhibit with the African American Museum in
Philadelphia would enhance the credibility of this effort.


7. Establish a scholarship program to actively recruit academically talented students
   who are graduates of Philadelphia public high schools and charter schools located
   within the 19142 and 19143 zip code areas in West Philadelphia.

      The University is one of this country’s most elite educational institutions. The
University’s graduates have been instrumental in shaping the country’s and
Philadelphia’s political, financial and cultural landscape. The University has a
demonstrated record of community involvement and outreach to its neighbors, especially
in the area of health-care disparities. These particular zip code sections of West
Philadelphia are immediately adjacent to the University. These areas have faced long-
standing educational and social-economic challenges that are enigmatic of Philadelphia.
There is also a historical distrust of the University and a concern in these zip code areas
that the University seeks to displace its residents. And because of the perceived and
actual disparity between the University and its neighbors, trust and cooperation have
been problematic. The specific identification of high school students from these zip code
areas and the granting of scholarships to them will be a meaningful step to maintaining
and reinforcing relationships between neighbors.




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                                 VI.    INTERVIEWS
Debbie Africa
Janet Africa
Janine Africa
Mike Africa, Sr
Mike Africa, Jr.
Sue Africa
Zhenia Bemko, Major Gifts Coordinator, Penn Museum
Dr. Michael Blakey, Professor of Anthropology, College of William and Mary
Dr. Marie-Claude Boileau, Director, Center for the Analysis of Archaeological Materials,
        University of Pennsylvania
William H. Brown, Former Chairman of MOVE Commission
Sean Burke, Associate General Counsel, University of Pennsylvania
Gregory Burrell, Director, Terry Funeral Home
William Conrad, Board of Directors, Penn Museum
Michael Coard, Civil Rights Attorney
Stacey Espenlaub, NAGPRA Coordinator, Penn Museum
Michelle Flamer, Esquire, Civic Leader
Councilwoman Jamie Gauthier, Third Councilmanic District
Ernest Jones, Esquire, Former President of the Urban Affairs Coalition
Dr. Jean Henry, Art Historian, Psychotherapist and Museum Volunteer
Dr. Charles Howard, Chaplin, University of Pennsylvania
Dr. Jane Kauer, Former Penn Museum Employee
Tisa Loewen, Graduate Student, Center for Bio Archaeological Research, Arizona State
        University
Paul Wolff Mitchell, Graduate Student in Anthropology, University of Pennsylvania
Dr. Janet Monge, Keeper and Associate Curator of the Physical Anthropology Department at
        the Penn Museum; Adjunct Professor, Princeton University
Dr. Katherine Moore, Professor of Anthropology, University of Pennsylvania
Abdul-Aily Muhammad, Community Activist
Dr. Melissa Murphy, Professor of Anthropology, Director of Graduate Studies
        Anthropology, University of Wyoming
Jake Nussbaum, Graduate Student in Anthropology, University of Pennsylvania
Walter Palmer, Community Activist, Lecturer at University of Pennsylvania
Wendell Pritchett, Provost, University of Pennsylvania
Baba Renfrow, Osage Avenue Resident
Dr. Julian Siggers, Former Director of Penn Museum
Dr. Deborah Thomas, Professor of Anthropology, University of Pennsylvania
Dr. Steve Tinney, Deputy Director of Penn Museum
Leland Ware, Professor of Law, University of Delaware
Linn Washington, Professor of Journalism, Temple University
Undergraduate Student
Wendy White, Senior Vice President and General Counsel, University of Pennsylvania
Lucy Fowler Williams, Associate Curator, Penn Museum
Dr. Christopher Willoughby, Visiting Scholar at Harvard University
Dr. Christopher Woods, Director of Penn Museum



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                     VII. TUCKER LAW GROUP PROFILE

       Tucker Law Group (“TLG”) is a boutique litigation and trial law firm. TLG
represents a diverse client base, ranging from individual litigants, Fortune 100
companies, higher education institutions, non-profit organizations and state and local
governmental entities. TLG attorneys represent clients in all aspects of litigation, trial and
appellate courts at the federal and state levels, administrative agencies, arbitration, and
mediation proceedings. TLG often is called upon to conduct highly sensitive internal
investigations concerning workplace policies, discrimination claims and financial
impropriety. TLG’s lawyers are involved in all aspects of Philadelphia community and
civil life; TLG’s lawyers provided hundreds of hours of pro bono and community service
work each year. The lawyers serve on non-profit boards and are active members of
Philadelphia’s religious and cultural society.


                        THE REPORT INVESTIGATION TEAM


       Joe H. Tucker, Jr., founder and CEO of Tucker Law Group, concentrates his
practice on complex civil litigation matters. Mr. Tucker’s lawyering skills are nationally
recognized, and he has received the Martindale-Hubbell’s “AV” Preeminent Rating,
which is the highest national rating (5 out of 5) for attorneys. Mr. Tucker has been
consistently selected by the Pennsylvania Super Lawyers as one of the top 100 attorneys in
Pennsylvania. Chambers USA has recognized Mr. Tucker as one of America’s best lawyers
and clients have praised him in Chambers stating he is “a phenomenal trial lawyer and
human being” and “an excellent trial lawyer.”              Mr. Tucker is a Fellow and
Secretary/Treasurer in the International Academy of Trial Lawyers, an invitation only
trial lawyers’ organization limited to 500 members.
       Mr. Tucker previously served as President of the Barristers’ Association of
Philadelphia. Mr. Tucker is deeply involved in the Philadelphia community. He currently
serves on the Boards of Big Brothers/Big Sisters Independence Region, Free Library of
Philadelphia Foundation, Philadelphia Police Foundation and Pennsylvanians for


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Modern Courts. His recognitions and awards include, among others: Women Against
Abuse, Advocate of the Year; The Support Center for Child Advocates’ 40 for 40 Friends
Award; Spectrum Health Services’ 50 Community Gems Award; African American
Chamber of Commerce Game Changer Award; Temple Law Alumni Association Diversity
Leadership Award; Temple University Black Law Students’ Cecil B. Moore Award; and
6ABC’s African American Businessman Making a Difference in the Community Award. Mr.
Tucker founded and funds two academic scholarships for minority law students.
       Mr. Tucker grew up in North Philadelphia and attended public schools in the city.
Mr. Tucker received his B.B.A from Howard University and his law degree from Temple
University School of Law. Prior to practicing law, Mr. Tucker was a certified public
accountant.


       Carl E. Singley, counsel to the firm, has had a diverse professional career as a
practicing attorney in the private and public sectors and as a legal educator and
administrator. Mr. Singley was a law professor at Temple University from 1974 to 2004
when he retired as professor emeritus. He served as dean of the school from 1983-1987.
At the time of his appointment, he was the first Black, the first Temple graduate and the
youngest dean in the history of the University. His teaching interests included Civil
Procedure, Evidence, Municipal Finance, Jurisprudence and Commercial Bankruptcy.
Mr. Singley has written and published numerous articles and essays on a wide variety of
subjects including legal ethics, evidence, public inquiry commissions, criminal justice,
jury trials, affirmative action, legal history, municipal finance, and leadership theory.
       Mr. Singley served as counsel to the Philadelphia Special Investigation
Commission (MOVE Commission) that investigated the MOVE bombing in 1985. See,
Singley, “The MOVE Commission: The Use of Public Inquiry Commissions to Investigate
Government Misconduct and Other Matters of Vital Public Concern”, 59 Temp. L.Q. 303
(1986). In 1984 he served on the Mayor’s Commission on Affirmative Action in the
Philadelphia Police Department, and in 2009 he chaired Philadelphia Mayor Michael
Nutter’s Advisory Commission on Construction Industry Diversity. Mr. Singley chaired



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the board of the African American Museum in Philadelphia for several years, and in 1999
he was the curator and author of the brochure catalogue of an exhibit entitled “Call to
Order: African Americans and the Law - 1776-1999.”
       Mr. Singley practiced for ten years in his own firm before serving as a partner in
two large Philadelphia law firms for eight years. Mr. Singley also served as First Deputy
City Solicitor. His practice concentration has been in the areas of civil and commercial
litigation, appellate advocacy, government contracts municipal finance and business
transactions. Mr. Singley has litigated and argued cases on employment law, contracts
and business law, tort liability, libel law, constitutional law, and municipal law in various
state and federal trial and appellate courts. He is a member of the bar of Pennsylvania
and admitted to practice before the United States Supreme Court.
       Mr. Singley’s awards include Thurgood Marshall Award (Thurgood Marshall
Scholarship Fund,); Diversity Attorney of the Year (Philadelphia Bar Association, Legal
Intelligencer); A. Leon Higginbotham Award for Distinguished Service (Pennsylvania Bar
Association); Temple University Law Review, 75th Anniversary Honoree; Lifetime
Achievement Award (Barristers Association of Philadelphia); and induction into the History
Makers Inc.
       Mr. Singley served as the chairman of board of the Philadelphia Urban League,
vice-chairman of the Pennsylvania Convention Center Authority, member of the
Delaware River Port Authority, and member of the board of the Federal Reserve Bank of
Philadelphia. Mr. Singley received the LL.M. from Yale University Law School, a J.D.
from Temple University School of Law and a B.A. in Economics and History from
Talladega College.




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       Dimitri Mavroudis is an experienced and versatile litigator and trial attorney who
focuses his practice on complex civil and commercial litigation matters, employment
discrimination cases, and civil rights litigation. Mr. Mavroudis has tried numerous jury
trials to verdict in federal and state courts. He has also brought and defended against
motions for preliminary and special injunction concerning commercial, constitutional,
and municipal tax matters. Mr. Mavroudis is experienced in all aspects of pre-trial and
trial practice.
       Prior to joining the Tucker Law Group, Mr. Mavroudis worked at the City of
Philadelphia Law Department. During his time in the Law Department, he served as the
Senior Attorney in the Affirmative and Special Litigation and Civil Rights Units. In that
capacity he served as counsel to multiple City departments as a litigator in disputes
concerning breach of contract, construction, real estate and land use, election law,
software development agreements, leases, tax disputes, and class actions.
       In addition to his commercial litigation practice, Mr. Mavroudis defended
challenges to City ordinances such as the Philadelphia Beverage Tax litigation. He also
served as counsel to the City in the Bailey v. City of Philadelphia “Stop & Frisk” litigation
and participated in the Philadelphia Police Department’s training on stop and frisk
practices. Mr. Mavroudis also successfully defended injunction motions brought against
the City seeking to enjoin government action related to contract formation and the
collection of real estate tax revenue.
       Mr. Mavroudis represented pharmaceutical companies in a wide array of products
liability and class action matters for five years in the Philadelphia office of a large
international law firm. In this role he coordinated all aspects of the firm’s pretrial
discovery process and worked with national and local trial counsel and in-house legal
teams to devise discovery and overall litigation strategies in these matters. Mr.
Mavroudis received a J.D. from Temple University School of Law and a B.A. from Boston
University.




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      Raashida S. Fleetwood recently joined the Tucker Law Group as an associate
specializing in civil litigation. Prior to joining the firm, Ms. Fleetwood worked at a
workers’ compensation defense firm. There, she represented governmental entities,
private companies and insurance companies in cases involving injuries sustained in the
workplace. She achieved favorable verdicts and resolved cases amicably for those
clients. Ms. Fleetwood also clerked for the Honorable Karen Shreeves-Johns and worked
for a criminal defense firm, litigating cases in municipal court. Ms. Fleetwood received a
J.D. from George Washington Law School and a B.A. from Howard University, Summa
Cum Laude and Phi Beta Kappa.


      David Carcamo is a rising third-year law student at Temple University School of
Law. He is currently a summer clerk at Tucker Law Group and served as a research
assistant for this report. In law school, David has interned with the Honorable L. Felipe
Restrepo in the Third Circuit Court of Appeals as well as Philadelphia City
Councilwoman Maria Quiñones-Sánchez. Prior to this, he attended the Pennsylvania
State University where he earned degrees in international politics and global security.




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Exhibit 26:   Morton Collection/MOVE Remains Public Controversy Timeline




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               ODYSSEY OF THE MOVE REMAINS TIMELINE

5/13/85          5:27 p.m. - The bombing of 6221 Osage Avenue

                 11:41 p.m. - The resulting fire is controlled

5/14/85          Several City agencies began the evacuation of the site with clam
                 claw crane.

                 3:50 p.m. Dr. Catherman from MEO went to site and to assist in the
                 recovery of the remains.

5/15/85          Dr. Robert Segal went to site and supervised the transfer of all
                 remains to the MEO

5/16 -17/85      Dr. Mann and Janet Monge examined the remains

6/19/1985        Mayor Goode appointed the MOVE Commission

6/24/1985        William H. Brown, III, Chairman of the MOVE Commission,
                 informed Dr. Marvin E. Aronson, the City’s Medical Examiner, hat
                 the Commission intended to retain a forensic pathologist to review
                 the MEO’s findings concerning the remains recovered from the
                 MOVE house on Osage Avenue. Brown further instructed Aronson
                 that the MEO was not to release or otherwise dispose of any
                 remains in the custody of the MEO.

7/12/85          MOVE Commission forensic experts, Hameli, Kerley and Levine
                 retained

July 1985        The identities of all six adults and three of the children were
                 resolved. The dispute over the identities of B-1 and Body G
                 developed

Fall, 1985       MOVE Commission hearings

11/5/85          Hameli testified before the MOVE Commission.

                 Hameli issued report concluding that the B-1 remains were those
                 of Katricia Africa and the Body G remains were those of Delisha
                 Africa




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11/14/85        Mann issued report contradicting Hameli’s conclusions on the
                identity of B-1 and Body G

11/20/85        Commission requested copy of Mann Report

12/1/85         Philadelphia Inquirer article reports that Hameli will conduct a
                follow up examination of the B-1 remains.

12/3/85         Hameli conducted second examination of B-1 and Body G.

12/4/85         Hameli authorized release of B-1 and Body G remains to families

12/14/85        City released remains of Katricia Dotson (B-1) to her father
                Nathaniel Galloway for burial.

1/00/85         Dr. Judy Suchey was retained at Dr. Hameli’s request to render an
                opinion on the identity of the B-1 remains and sends them to her
                office at California State University at Fullerton, California

1/22/86         Suchey concluded her examination, issued a report that confirms
                Hameli’s findings regarding B-1 and returned the remains to Segal

1/23/86         Segal informed Commission that Dr. Judy Suchey was retained to
                render an opinion on the identity of the B-1 remains.

                Segal stated in correspondence to the Commission that it would be
                unreasonable for him to reject Suchey, Hameli, and Kerley’s
                findings as to Body B-1 in light of the evidence available at that
                time. Segal made no mention of Body G in this correspondence.

1/31/86         Philadelphia Inquirer article on Suchey’s conclusions

1/30/86         Kerley issued a supplemental report confirming initial conclusions
                regarding the identities of B-1 and Body G

2/00/86         Segal gave Mann a box containing the B-1 remains, femur and
                pelvic fragments, which he takes to his offices at the Penn Museum
                for further study. (Early February)

3/6/86          MOVE Commission issued final report

4/14/86         Segal issued his final report on the MOVE investigation, which
                disagreed with the Commission’s findings regarding identity of B-1


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9/22/86         Remains of Delisha (Body G) released to Gerald Ford and were
                buried

1988            Monge displayed the B-1 remains to the students from the
                American Board of Forensic Anthropology to assist in the
                identification of B-1.

1995            Monge reached out to Ramona Africa to get her assistance in
                identifying the B-1 remains and is rebuffed.

2001            Mann left the University to take a position at Princeton and left the
                B-1 remains with Monge

12/7/14         Monge contacted Malcolm Burnley to get his assistance in
                contacting Consuewella Africa to help identify the B-1 remains

12/29/14        Burnley confirmed that Consuewella would not cooperate in
                identifying the B-1 remains

2015            Paul Mitchell claimed to have seen an occipital bone in a box along
                with the B-1 remains at the Museum

                Monge displayed the B-1 remains during a presentation to Museum
                donors

2/00/19         Monge displayed B-1 remains during a Princeton Online video class.

2019            An undergraduate student, supervised by Monge, wrote a senior
                paper on the B-1 remains that also included an occipital bone x-ray
                that was labeled Body G

4/16/21         Paul Mitchell met with Dr. Christopher Woods and informed him
                that that he had observed the remains of two MOVE children
                 at the Penn Museum and that Monge had displayed them in the
                Princeton Online video class

4/18/21         Dr. Steve Tinney directed Monge to take B-1 remains to Mann’s
                home

4/20/21         Tucker Law Group retained to conduct an independent investigation




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4/21/21         The first of several online and print articles are published asserting
                that the remains of two MOVE children were at the Museum and one
                set was used in the Princeton Online video.

4/21/21         Paul Mitchell circulated his report claiming that both the B-1 and
                Body G remains were housed at the Museum

4/26/21         University issued public statement apologizing to MOVE members.

4/30/21         The University paid Terry Funeral Home to transport the B-1
                remains back to its offices

5/13-14/21      The City of Philadelphia reports, then retracts a statement that in
                2017 the Health Commissioner had ordered the destruction of
                certain MOVE remains that had been in the Medical Examiner’s
                Office since 1985

5/29/21         The University purchased a casket from Terry to bury the B-1
                remains

6/16/21         Consuewella Africa died

6/24/21         Consuewella Africa’s remains were cremated

7/2/21          B-1 remains delivered to Sue Africa by agreement of several MOVE
                mothers




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                                                                                      Louise James
                       MOVE NINE                       OSAGE VICTIMS**
                                                                                          Africa
                                                             John Africa               (Deceased)
                        Merle Africa
                                                                 F                  (Sister to John &
                        (Deceased)
                                                                                         Laverne,
                                                                                    mother of Frank)
                        Eddie Africa                        Frank James
                         (Cousin of                            Africa
                          Conrad)                                K                     Laverne Sims
                                                                                           Africa
                        Chuck Africa                       Theresa Brooks               (Deceased)
                          (Son of                              Africa                (Sister to John &
                         Laverne)                                B                  Louise, mother of
                                                                                    Chuck & Debbie)
                                                           Raymond Foster
                       Mike Africa, Sr.                        Africa
                                                                 E                    Ramona Africa
Mike Africa, Jr.
                        Debbie Africa                       Rhonda Harris
                        (Daughter of                           Africa I              Michael “Birdie”
                          Laverne)                            (Mother)                 Ward Africa
                                                                                       (Deceased)

                                                              Delisha
                         Janet Africa
                                                              Africa G
                                                              (Minor)                  Pam Africa


                       Delbert Africa                      Zanetta Dotson
                        (Deceased)                            Africa D                Consuewella
                                                              (Minor)                    Dotson
                                                                                         Africa
                                                           Katricia Dotson             (Deceased)
                        Janine Africa                        Africa B-1                 (Mother)
                                                               (Minor)


                          Phil Africa                                                   Nathaniel
                                                             Phil Africa C
                         (Deceased)                                                     Galloway
                                                               (Minor)
                                                                                         (Father)
                                                                                      (Not Member)
                                                            James Conrad
                                                               Africa A
        **
     MOVE                                                                              Carlos Africa
  Commission’s
 Identification of                                          Tomasa Africa
 MOVE Remains                                                    H                      Sue Africa
                                                              (Minor)                   (Mother)
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*Chronology taken from the MOVE Commission Report


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                 Post - MOVE Commission Chronology
1988             City and federal grand juries exonerate city officials in the handling
                 of the confrontation

1990            City settles claims of parents of MOVE children killed for $2.5
                million. It had already spent $15 million to rebuild the
                neighborhood.

1991            City agrees to pay Birdie Africa $1.7 million

1992            Ramona Africa released after serving a 7-year prison term

2020            Delbert Africa released after serving a 29-year prison term




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I graduated from Penn in 1988 with a BA in psychology, and then in 2002 with a Ph.D. in
biocultural anthropology. My father graduated with a Ph.D. in anatomy from the School
of Medicine in 1973. Although Dr. Monge was not on my dissertation committee, she
took time to carefully mentor me by supporting my fledging teaching career when I
served as her TA. From 2002 to 2015 I taught as a lecturer in the Anthropology
Department, for the Critical Writing Program, and as a co-instructor in Political Science.
During the time I was teaching my own classes, I often benefited from Dr. Monge’s
expertise, shared casually, in passing, or when I was wrestling with how best to engage
students.
In January of 2016 I retired from teaching, and have since been working and
volunteering in a variety of ways to support local nonprofit organizations. This includes
volunteering in the physical anthropology section at the Penn Museum. I am responsible
for maintaining records of who makes requests to use physical anthropology section
materials for either teaching or research, how they are intended to be used, as well as
where and when. This includes every time materials are used in Penn classes or in the
classrooms of other institutions, and for presentations given to visitors of the Museum
from nearby high schools and occasionally middle schools. I also keep track of the use
of physical anthropology materials for museum programming purposes, whether for
public programs, fundraising, or other internal programs.
The notion that Dr. Monge has acted unethically by housing unidentified remains from
the MOVE bombing is a convenient narrative that was carefully crafted by Paul Wolff
Mitchell (PWM), currently the graduate student of Dr. Deb Thomas. PWM was a Penn
undergraduate who studied with Dr. Monge, and who over the years has worked with
her as an affiliate in the Physical Anthropology section of the museum. The last time Dr.
Monge provided mentoring support for PWM was in 2017 when she wrote a letter to a
German institute to support his work; at the time she was also instructing him in the use
of the 3D laser scanner for creating records of 129 skulls from the Morton collection. I
know PWM in his capacity as an affiliate, and had frequent interactions with him until he
lost access to the physical anthropology section in May 2019. PWM has continued to
use portions of the physical anthropology collections in presentations for museum
events, including the Morton collection. He has also used the collections for teaching
purposes. I have no personal relationship with PWM, and know him only in so far as I
have recorded his use of the collections as he is required to request access to any
physical anthropology materials.
In 2019, Dr. Monge learned that PWM had received the Provost’s Graduate Academic
Engagement Fellowship from reading the Penn Almanac, by happenstance. PWM did
not at any time share with Dr. Monge that he was planning to apply for a fellowship that
would support work requiring the use of Penn Museum physical anthropology section
collections, nor had she seen or reviewed the proposal he submitted. Although Dr.
Monge was the curator-in-charge and keeper of the physical anthropology section, and
PWM he had an existing professional relationship with her, he at no point
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communicated his plans to her. Dr. Monge found out after he had received the
fellowship. Let me repeat that, at no time did PWM request access to the Physical
Anthropology materials at the Museum that would be the basis of the work he proposed
to do using the support for that fellowship. It is important to be very clear: PWM was and
is well aware of the policy of the physical anthropology section that no part of the
collection may be used—including teaching collection, casts, Morton collection, and all
other items in the physical anthropology collections, and the section’s equipment and
texts—without explicit and direct permission from Dr. Monge, in writing, and which is
communicated as well to myself, as I am the person who keeps the records for what
specimens are used, for what, where, and when.
At the time she learned of PWM’s receipt of the fellowship, I suggested that Dr. Monge
share this lack of compliance with either Provost Pritchett’s office or the Chair of the
Anthropology department, but she declined because she was, even then, trying not to
be an obstacle to a graduate student. Around the same time, on May 13, 2019, the lab’s
log book for the CT scanner was found to have been vandalized, and several pages
torn from it were missing. Because of this and other irregularities with items missing
from the physical anthropology lab, Dr. Monge had the locks replaced to Physical
Anthropology section storage, and PWM’s access to the physical anthropology section
was withdrawn.
After Dr. Monge found that PWM had applied for the fellowship without her sign-off as
keeper of the Museum’s physical anthropology collection, he requested a meeting with
herself, the Chair of the NAGPRA (Native American Graves Protection and Repatriation
Act) committee and the Museum’s coordinator of all NAGPRA processes; the meeting
happened on May 22. At this meeting, PWM had to reveal that the fellowship proposal
had included a plan to add to the Museum’s website, as part of the information on the
Morton collection, a page that would have made his analysis of the historical materials
associated with the collection public. As this would have violated NAGPRA protocols,
and could have exposed the Museum to public censure for doing so, Dr. Monge denied
PWM’s request to create and publicly post the webpage with the Physical Anthropology
section materials. PWM “became violent” in the meeting, after which Dr. Monge and the
NAGPRA coordinator went to meet with the Museum Director, Julien Siggers, to talk
about PWM’s inappropriate behavior, and the issues arising from the fact that the
Museum’s physical anthropology section curator had not been notified of the fellowship
proposal. Dr. Monge subsequently meet with both Julien Siggers and Steve Tinney
about the issues arising from PWM’s behavior, reporting theft of materials, violent and
inappropriate behavior, vandalism, and an unwillingness to adhere to physical section
policies.

The fact that a white man with no credentials has placed himself in a position to benefit
from a story that is ultimately about Black pain and trauma is a terrible irony of the
ongoing scandal. To add insult to injury is that this position results in discrediting a
scholar with deep expertise and an unimpeachable rich record, who also happens to be
a woman and non-tenure track faculty.
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I have never met someone who is as devoted to being a good and effective teacher as
Dr. Monge, whether the audience is Penn undergrads, middle school students, a group
of local dentists, or a roomful of well-sated donors. Likewise, Dr. Monge’s rigor as a
scientist is exemplary, and in her work she holds herself and others to the highest
standards. Finally, she is an incredibly generous colleague, not only within the Penn
community, but across the world.
Penn has benefited, as is appropriate, from Dr. Monge’s teaching, scientific rigor, and
collegiality. She not only teaches in the anthropology department, and is the curator-in-
charge and keeper of the physical anthropology section, but she has been instrumental
in numerous major events that the Museum has held in recent years for the public (e.g.,
The Public Classroom: Science and Race–History, Use, and Abuse, 2016; Human
Evolution exhibit, 2008). Further, she has devoted many hundreds of hours of her time
specifically to fundraising efforts on behalf of not just the Penn Museum, but of the
entire University. In the last 3 years alone, Dr. Monge has been asked to take two trips
to cultivate donors, which she enthusiastically planned and then presented for several
days running, programming to donors in California (Central Development, 2019) and
Florida (Museum development office, 2020). The Development department has planned
numerous major fundraising events at which Dr. Monge was a central feature, for
example the Museum curators’ party: Under My Skin in October of 2016. In no case, for
the extra time planning, preparing, presenting, or traveling, was Dr. Monge
compensated in any way. I bring light to this because I feel strongly that the institution
that has drawn so very much support from Dr. Monge, MUST do its best to support her
as a member of the Penn community, and the Penn faculty.
Penn is allowing Dr. Monge to take the fall for issues that we all know are broader than
anthropology, or one person’s course. These problems arising from America’s history of
white supremacy exist across academic disciplines, and tarring and feathering Dr.
Monge is not going to solve anything. What is happening now is that Penn is allowing
the statements of a single White man without any recognized credentials in the field,
with reference to his own un-reviewed research, to create a narrative that is false, and
serves his own interests.
Please do something about this.


Sincerely,
Jane Kauer, Ph.D.
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                          EXHIBIT 13
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From: Paul Wolff Mitchell
Date: Friday, April 16, 2021 at 3:42 PM
To: "Woods, Christopher"
Subject: Re: confidential information relating to Physical Anthropology collections at Penn
Museum

Chris,

An additional note, by way of establishing context, on my chronology and involvement with the
collection:
I was an undergraduate at Penn from 2009-2013. I started working in the Physical Anthropology
section in summer 2010 and worked intensively, usually 20 hours/week, as a work-study student in
the collection through the remainder of my undergraduate time at Penn. I returned to Penn for a
PhD in 2015. I worked with Janet and in the collection for the first year after my return, but switched
my project in 2016 to an ethnographic one, feeling that Janet was not effectively supporting the
development of my research. Feeling that the best dissertation would be one that I could do
uniquely well, given my experience, I decided a year later instead to pursue a project in the history
of anthropology, around 19th century racial science, human remains collections, etc. Although my
primary advisors have been historians and cultural and museum anthropologists, I continued to work
closely with Janet in 2017-19 (although I was traveling for dissertation research in summer and fall
2018) until the late spring of 2019, when I was asked to present at the Penn and Slavery Project
symposium on the remains of enslaved individuals in the collection. After that time, I have not
actively worked in the collection, although I have worked extensively with archives related to the PA
collection at Penn, particularly the Morton collection.

Again, thanks for your time and attention. If you have any questions or know of how I can be helpful,
do let me know.

Best,
Paul

On Fri, Apr 16, 2021 at 4:25 PM Paul Wolff Mitchell                                        wrote:
  Hi Chris,

  I am writing following Deb Thomas’s suggestion, so that you have a clear record of relevant information. I ask
  for your confidentiality as I relay this information.

  Concerning other remains from forensic cases that are in the museum:

  The remains of fetuses from the Kermit Gosnell abortion clinic in West Philadelphia were given to Janet by the
  police after she and I conducted analysis of the bones in 2013. They were ultimately never used as evidence in
  court. Last I was there, these were in a black shadow box in shelves on the left side of the room in CAAM 183,
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above and to the left of the sink in the lab. The shadow box indicates at the top that these remains were taken
from a garbage disposal.

I believe that there are more unaccessioned remains from forensic cases on the top of shelves in 156. In
particular, there are burnt remains of a significantly intact body from Hamburg, Pennsylvania. I don’t know other
details than those, which are on a card present with the remains in a plastic container in which the body is stored.
This may go back to Wilton Krogman (retired 1970), although I am not sure.

There are other cases of unaccessioned remains in that room from archaeological contexts, including remains
excavated by John Cotter from the potter’s field underneath Franklin Field, and human remains from Botswana
(Gwi Pan) relating to a dissertation in the early 1990s by Trudy van Houten on faunal remains from the same site.
There are other cases that I would be able to help identify upon sight, but I can't recall without looking through
the material myself. Janet is the ultimate source of almost all of this information about the collections.

Another important story:

The remains of HH Holmes, including a left arm, hand and leg bones, are, I believe, still in the museum. The full
skeleton was excavated in spring 2017. All remains were set to be reinterred, after analysis, in fall 2017. Some of
the remains (as I recall: left arm, hand and leg bones) were still on a cart in the physical anthropology lab
(CAAM 183) after the reburial - court ordered, as I understand - was supposed to have taken place. Several
students in the PA section (Fiona Jensen Hitch and Sharon Ashok) and I noticed these, as these were prominently
filmed/photographed, etc. for a History Channel series, and the bones have a notable dark discoloration. After
Fiona pointed out that these looked to be the bones of HH Holmes still at the museum after the date of reburial,
Janet moved them from 183 to another room (I recall 160, although I may be misremembering the number). At
some point in fall 2017, I asked Janet about them and she told me to “not put my nose where it doesn’t belong.” I
didn’t have anything to do with the analysis of HH Holmes, but Sam Cox, a former bachelors and masters student
at Penn physical anthropology and long-time mentee of Janet (since awarded a PhD in archaeology at
Cambridge) undertook the analysis and was a part of the History Channel series. I had known Sam since 2010
and asked her about the bones and if Janet had talked to her about them. Sam was genuinely surprised and
dismayed at the sight of the remains. She said that Janet had not talked to her about them, and that Janet was
supposed to have put them all in a box for Sam to take for reburial. According to Sam, Janet had missed some of
the bones, and Sam did not take an inventory before reburial. I asked Sam if she was going to do anything about
it, and she said that she would not. Some weeks later, I found that Janet (or someone; the only other person who
would have had access and would have known about them was Sam, but it seems implausible that Sam would
have done anything without notifying or working with Janet) had put the bones in a tray of other bones used as
“teaching collection” examples for osteology courses. Feeling that this mixing in of these remains with others in
the collection was egregious and would potentially permanently disassociate them and render them “lost” in the
collection, but not knowing what else to do, I put the bones in bags and put them in a taped-shut small card box
box on the top of the shelves in 156, hoping to be able to address the issue at a later time. At the time, Janet was
on my dissertation committee, and Sam is the daughter of a major donor and figure in the museum, and I was
concerned that, to be frank, it would be an issue for me and progress in my dissertation, or my continued work
with the collection, if I were to tell the director at the time. Janet’s response to me when I pointed out the bones to
her indicated to me that she would not welcome my interference. Even so, I did not want the remains to become
mixed up in the teaching collection. Perhaps Janet knows these are in a box on top of the shelves in 156, perhaps
not. My relationship with Janet went from very close to effectively estranged (access to PA section revoked, etc.)
following my involvement with the Penn and Slavery project in the spring of 2019.

It is because you’ve asked directly about cases beyond the MOVE remains that represent unaccessioned bones in
the museum that should not be there, and because there is now a clear institutional impetus to make the physical
anthropology section much more transparent than it has been, that I am relaying this information. I do not believe
there is any reason to suppose that the HH Holmes case - or any of the other cases I have described save the
MOVE one - will be the cause of controversy, as very few people know the relevant information, and there are no
websites displaying these remains in the museum, etc. My strong preference would be that the HH Holmes case
be addressed only after Janet has retired. I understand that the museum has many interests to protect here, and I
will protect these by not sharing any of this information. In any case, I request your consideration in keeping my
identity confidential, particularly in relation to Janet, as these issues are addressed. That said, I am happy to be
helpful however I can be.
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  It was wonderful to meet you, Chris.

  With thanks for your attentiveness and consideration,
  Paul
  --
  Paul Wolff Mitchell
  PhD Candidate in Anthropology, University of Pennsylvania
  Affiliated Doctoral Fellow in the Penn Program on Race, Science, and Society
  Editor, History of Anthropology Review




--
Paul Wolff Mitchell
PhD Candidate in Anthropology, University of Pennsylvania
Affiliated Doctoral Fellow in the Penn Program on Race, Science, and Society
Editor, History of Anthropology Review
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I enlisted the help of Mr. Alan Epstein (Spector Gadon Rose Vince P.C.) on May 4th. I was
frightened by a sequence of events that seemed to be a process of removal of me from my po-
sition at Penn.

10 days of events that precipitated my action:


4/26   Locked out of lab and for all Physical Anthropology collection storage spaces for my
own protection. Dr. Woods and conveyed to me by Dr. Tinney


4/28   I became aware of an e-mail authored by Dr. Gutmann and Provost Prickett that called
my actions “insensitive, unprofessional, and unacceptable”.


4/28   Requested a call with Wendy White. I asked her if I was being fired and if I should find
an attorney


4/29   Dr. Morrison (Chair of Anthropology) requests a ZOOM call and tells me that “I have
been removed from my Penn classes” and does not know if I will continue to be paid.


5/3    ZOOM meeting with Mr. Tucker and Ms. Fleetwood to describe the MOVE remains.
(Proceeded by a short call from Wendy White)


5/4    Phone call with Dr. Tinney telling me that I have been removed from the summer pro-
grams at the Museum


5/4    e-mail from Ellen Owens (Director of Learning Programs, Penn Museum) that my
scheduled high school talk was cancelled.


5/5    Access University of Pennsylvania Anthropology webpage. On the front page is a call
to action in my termination from Penn. (This is my home academic department.). Marie Manski
(administrative assistant in anthropology) follows this up with an e-mail to ALL people associ-
ated with Anthropology at Penn.


I have not retained Mr. Epstein as my attorney but did seek advice as I prepared this docu-
ment. He helped me organize my thoughts.
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1. Introduction.


For my entire academic life I have worked for social justice. (See attached vita). Including as
working as a forensic anthropologist (without financial compensation) for the Philadelphia De-
fender’s Association and the Federal Defender’s Association. (See attached except article from
the Pennsylvania Gazette: full text: https://www.upenn.edu/gazette/1199/lonkevich2.html).
The restoration of personhood in forensic anthropology is a major tool in bringing about justice
to victims. Bones have no voice, no identity, no personhood, no ethnicity. It is a very special
skill set that is unique to my academic discipline.


The case of the “Jane Doe” remains from the MOVE house on Osage Avenue have not been
identified after 36 years of eﬀort including contact with family members. This could have been
resolved several times but without cooperation of the MOVE family members, these will never
be identified. From the very beginning, my colleague and I have worked tirelessly to restore
identity to the remains and have contextualized the tragedy of the MOVE house bombing in a
social and political arena. We were, and still are, convinced that there was a systemic cover-up
of the events and the outcome was contrived to hide aspects of the tragedy. In other words,
we were working to bring justice to the MOVE extended family.

I have made no public comment on these remains both before or during this investigation.


Mr. Paul Mitchell (graduate student in Anthropology) and Dr. Deborah Thomas (Professor An-
thropology) purposely, and will full knowledge that they were falsifying information, labelled
these bones as those of Katricia and did so in a public manner to cast aspersions on me, Alan
Mann, the Penn Museum and the University of Pennsylvania for their own benefit. As a conse-
quence of their actions, I have been a victim of threatening e-mails and phone calls. I have
never called these remains by any name except for “Jane Doe” or the original “B-1” designa-
tion by the MEs oﬃce. To the best of my knowledge, and without DNA evidence, this case will
never be resolved. In addition, and beginning with the Billy Penn article authored by Paul
Mitchell’s friend Maya Kassutto, Paul erroneously attributes another bone (or group of bones?)
in the lab, to a 2nd MOVE child “G-1” (Delicia).

I have not been in the lab since April 23, 2021. It was not possible for me to check my original
notes from 1985 and the details of the presentation of the child human remains from the MOVE
commission report.
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2. MOVE remains at the ME oﬃce


In 1985, Alan Mann and I were asked by Dr. Robert Segal (ME oﬃce Philadelphia) to help in the
sorting and analysis of human remains (skeletal) most especially those of the child victims of
the May 13th bombing on the Osage house of the MOVE organization.
       - these remains were removed from the site without proper excavation procedures after
the ensuing fire and smoldering of the building. These were isolated bones not in association
with each other.
       - not all of the skeletal remains of each individual were removed.
       - we were asked to sort the remains (small bones and bone fragments) into the age cat-
egories of the known children of the MOVE organization members.


This tragic event, and impact of the bodies of the victims, was overwhelming and frankly heart-
breaking. The remains were broken, burned and incomplete (as I explained to Mr. Tucker and
Ms. Fleetwood on 5/3).
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2 victims survived the bombing - Ramona Africa and Birdie Africa (Michael Ward). Michael
Ward, in initial interviews, told city oﬃcials that Katricia Africa had escaped the fire in front of
him. Personally, and without any evidence, I suspect that Katricia, after exiting 6221 Osage
Avenue, entered an adjacent house and was killed in the fire. Only the area of the MOVE house
was excavated for the recovery of human remains.


The eldest of the children thought to be at the residence at the time of the bombing and fire
was Katricia Africa (at 14.5 years of age).


Forensic Anthropologist are expert in the determination of morphological sex and the age at
death of the victims to aid in the identification of “personhood” of the remains. It became clear,
after our original sorting and assessment, that there were potentially no remains of youngster
Katricia. A blue jean pant leg contained remains of an innominate bone and a proximal femur.
Our forensic age assessment of these bones indicated an age of from 17 to 21 years and could
not have belonged to Katricia.
        - originally these 2 bones were given the designation of “B-1”.
        - a later assortment of bones by Ali Hamali and Ellis Kerley positioned the innominate
and femur along with bones originally placed with the remains labelled “E-1” into “B-1”.
Hamali and Kerley refused to discuss the bones with Alan Mann and myself. This new assort-
ment, and under much political pressure to do so, were labelled as the missing child Katricia.
        - this new assortment of bones, a composite individual, with the “B-1” designation were
described as Katricia by Hamali and Kerley. These are the remains returned to Isaac Dotson
for burial in December 1985. This assortment did not contain the innominate and femur. This
innominate and femur were at the time, and because of the aging criteria, fit with none of the
other remains and thus was categorized as a “Jane Doe”.




3. In the Lab


Under these conditions, the innominate and femur were released to Alan Mann in 1985 to con-
tinue the investigation of the Jane Doe remains. The remaining MOVE human remains were
returned to family members and the case was considered closed. We have worked continu-
ously to identify these remains enlisting the help of many other forensic anthropologists and
beginning in 2014/5, the use of new equipment made available by the Penn Museum in the
Human Evolution Laboratory.
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Forensic Anthropologists who did the identification of MOVE “Jane Doe” (there could actually
be more than this but this is all I retained notes on)


Stephanie Damatio (at the Smithsonian at the time - not sure what is up with her now and I do
not have an e-mail. This was reported in the Inquirer in 1985).


Stanley Rhine (professor at the University of New Mexico at the time and I don’t have an e-
mail)
He was the administrator of the Board Certification exam for the Society of Forensic Anthro-
pology. Exam given to 4 students. I only know the name of one of the students:
All of them agreed with our assessment and all of them passed the exam.


Milford Wolpoﬀ (University of Michigan)
David Frayer (University of Kansas)
Jakov Radovcic (Croatian Natural History Museum)
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Michelle (Mica) Glantz (Colorado State University)
Jaroslav Bruzek (at the time at the University of Bordeaux)
                                                       graduate of Penn). I asked         to review
all of the newest growth standards and apply these to the “Jane Doe” materials.


There are probably many many others but I did not record all of the names going back so many
years. Ellis Kerley and William Maples came to the Museum after the exam (both were diplo-
mats in the Society) and confronted me in the Kress Gallery and were very agitated. Kerley
and Hameli would never met with me and Alan Mann at the time the bones were in the MEs
oﬃce.


In the lab, beginning in 2015, I did a microscopic analysis of the areas of the innominate asso-
ciated with fusing or fused growth plates.

Work continued on these remains until 2019 when we failed to make a morphological associa-
tion with Katricia. During this time period, several attempts were made to contact the Africa
family including contact with the mother of Katricia, Consuela Dotson Africa to request a DNA
sample. (First attempt in 1995 with Ramona Africa at a meeting at the Penn Museum; subse-
quent attempts from 2014 onward are attached here as e-mail correspondence between Mal-
colm Burnley, research journalist and myself). The requests were not answered or answered in
the negative.

Malcolm Burnley is a research journalist and person of color, at the time, working freelance for
Philadelphia Magazine (the only journalist of color within that organization). I enlisted his help
as a black man to help me approach members of the Africa family. My own background does
not give me the moral authority or lived-experience to understand, and sensitively approach,
the MOVE organization folks.

Consuela Dotson Africa also ignored requests for the release of the remains of “B-1” remains
to her, the next-of-kin, in 1985 (see attached UPI article dated 9/18/1985). In 2019, we tried to
find Katricia’s uncle, Isaac Dotson.


(See attached e-mail listing the normal process of dealing with “Jane Doe” human remains.)


In 2019, when it became clear that the remains in my possession would never be identified, I
presented the fully contextualized case of the MOVE bombing, subsequent death of members
of the MOVE organization, and the City of Philadelphia attempts to misrepresent the nature of
the remains, as a case study in Forensic Anthropology.
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COURSERA: Real Bones.
The course was “live” for 6 months from the end of 2020 to April 2021. (See attached final
Coursera statistics in April 2021.).

2% of course content is on the MOVE bombing including a short video discussing the “Jane
Doe” remains. This short video is a small part of the larger topic being discussed including: 1.
The social and political context of the case; 2. The understanding of the nature of forensic re-
mains; 3. The identification of growth plates in the skeleton; 4. How to age human remains.
The individuals were never named and referred to as a “Jane Doe” - without a voice or person-
hood. (At the moment, I cannot double-check because the class has been removed from
Coursera.)


The COURSERA platform for this course is “free” BUT NOT OPEN TO THE PUBLIC except
through registration and is password protected. Students can “explore course content” and
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chose to register for the course, and eventually finish the course with all readings and examina-
tions. Registered students write to me and ask me questions and advice.




4. Public Release of False Information and What Precipitated the Action.

PUBLIC INFORMATION ON THE JANE DOE REMAINS is released by Paul Mitchell (graduate
student in Anthropology) and his advisor (Dr. Deborah Thomas) by associations with 2 op-ed
writers (Inquirer op-ed and Billy Penn authored by Paul Mitchell’s friend Maya Kassutto who did
not disclose at the time of publication her association with Paul, me, or the University of Penn-
sylvania Museum). These were released simulataneously and with malicious intent. (See at-
tached e-mail where Deb Thomas writes to the American Anthropological Association about
her direction of the actions of Paul Mitchell.)


This is a willful retaliation because I reported Paul Mitchell in May 2019 for plagiarism, vio-
lence, and theft of forensic specimens and was barred from access to any of the Penn Muse-
um Physical Anthropology collections.


Paul Mitchell was removed from his graduate program at the University of California, Berkeley
in 2013 for a violation of the ethical code of the university - plagiarism. (I have a copy of this
letter on e-mail that he gave to me.). At that time, I spend enormous eﬀort to help him over-
come this violation and worked within the Anthropology Department to have him return to Penn
for his graduate degree.


Witnesses to Paul Mitchell’s violence in the lab. May 2019
Stacey Esplenlaub
Lucy Fowler Williams
Reported to Julian Siggers (Penn Museum Director until August 2020)




Prior to May 2019, he had access to my lab and tampered with materials. He may have gained
access to the lab after May 2019 using false credentials. All of this was reported to Penn Mu-
seum security (and he admitted to to Dr. Kathleen Morrison, Chairperson of the Anthropology
Department and Jean Henry* (12 year volunteer in the Physical Anthropology Section of the
UPM)) and measures taken to secure the lab and all collections that are part of the Physical
Anthropology Collection. This was reported to Dr. Tinney and Dr. Siggers. (Theft of DNA sam-
ples associated with the recovery and identification of the remains of H.H. Holmes.)
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In addition, I requested the keys changed for my oﬃce (Room 340) and adjacent storage space
(Room 331) in the Anthropology Department on April 1, 2021. (I filled in a Museum work-order
that was completed by Kevin in the Facilities Department.) I found that at sometime in the
past, Paul had duplicated illegally the keys to both room after having found that he gained ac-
cess to those spaces and should have had no access to keys. What was removed is unknown.




5. Protocol in the Lab and Penn Museum


At no time were the whereabouts of the remains unknown. They were either in the possession
of Janet Monge (in a locked cabinet in my oﬃce (Room 340) prior to the opening of new lab
spaces - Room 183 - at the Penn Museum) or in possession of Alan Mann (at Penn or at
Princeton in the locked/security access lab in Aaron Burr Hall Room 215). The lab area of the
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Penn Museum is though 3 security doors now - in the past, through 2 security doors. (I previ-
ously told Mr. Tucker and Ms. Fleetwood that under the direction of Dr. Steve Tinney, I removed
the remains from Room 183 to the home of Alan Mann in Princeton on April 18, 2021.). Often
the human remains are kept in the original boxes or packing materials in which they were deliv-
ered to retain maximum information on the materials (paper labels, packing materials, etc. can
be important within the context of the analysis). There is a specific process in forensic anthro-
pology which was followed in this case (and in all forensic cases).


All forensic cases, and human remains that are being actively analyzed, are in 1 cabinet within
the lab. The remains are carefully monitored. Each active case is handled and processed using
normal practice in sample preparation.


Policies that apply across the university associated with human materials do not apply to
forensic cases or to any skeletal materials that are part of the UPM collection (e.g. IRB regula-
tions do not apply to deceased person skeletal materials - I have asked this question before).
Within the UPM, no other area of the museum deals with anything like these sorts of materials.
All of the forensic anthropologists that I know, usually work on forensic cases as an “individual
researcher” and not as an “institution” and keep these cases in their labs or oﬃces. In hind-
sight, I think now that I should have asked for policy changes when I brought the MOVE bones
into the laboratory area of the Museum in 2014. I am confident that Dr. Woods can work with
the UPM’s registrar oﬃce to establish a policy on forensic cases.


Although there was no secret that the remains were in the lab, these were not shown to anyone
except those directly associated with the case. I subsequently learned (in just the 2 weeks)
that Paul Mitchell had without my approval, used the remains that were being actively studied
by             (Penn senior thesis writer that I asked to review the aging methods used on the
innominate and femur), to show his friend and other undergraduate students who at that time
were working in the lab for their own senior theses projects (Spring semester 2019) or recently
graduated and still on campus. He appears to have misidentified bone (and occipital skull
bone) as belonging to a second MOVE individual (“G-1”)** that were part of another group of
samples present in the lab at that time. He apparently re-sorted forensic materials including
the theft of the DNA samples taken from HH Holmes (the Chicago serial killer who was execut-
ed in Philadelphia)***. He defaced lab books at the same time tearing pages from the equip-
ment use catalogue entries for the micro-CT scanner and SEM.


I have no idea what other bones were misused, stolen or otherwise misappropriated. The Penn
Museum houses and curates over 250,000 human remains.
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* In 2019, Paul Mitchell told Jean Henry that he wanted my job and wanted to discredit me in
 any way possible.


**Moreover, these human skeletal bones (occipital) cannot be used to distinguish children with-
in these age ranges.
***According to Jean Henry and Kathleen Morrison, he took the bones home but eventually
brought them back to the Museum and “hid” them within the massive collection. I have not
found these bones (as of May 9, 2021). He did this to discredit both me and the genetics post-
doc researcher who was working on the DNA samples (Dr. Samantha Cox).
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                          EXHIBIT 15
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               STATEMENT TO UNIVERSITY OF PENNSYLVANIA

                                     INVESTIGATION

                                         Alan B. Mann

                                           July 8, 2021

        I am pleased to continue to cooperate with Penn’s investigation into the
circumstances relating to the possession and use of certain MOVE remains. The events
underlying the inquiry occurred more than 35 years ago. While I remember some things
with reasonable clarity, please understand that because it was so long ago, I do not recall
many of the circumstance or details. I have not had the benefit of being able to review any
documents so I have to rely on my memory alone, which is hazy on some things concerning
my involvement. It would have been helpful to me to have had the opportunity to review
documents to refresh my memory of times and events, so this statement is the best I can do
at present to recall, as best I can, my involvement. I have asked that you provide me with
certain documents several times but you have not done so. Reluctantly, therefore, I am not
prepared to accept your invitation for an interview.

        Below, is my best recollection of events which I understand are relevant to your
investigation. If documents come to light or my memory is refreshed, I may recall additional
things or correct what I do recall. While I am 81 and continue to pride myself on my
analytic skills and recall, I recognize that the passage of time has had its impact. Additionally,
I had a serious stroke, which required me to be put in a medical coma in intensive care, and
it took many months to recover. That stroke, I think, has made more difficult the already
difficult task of remembering these events from long ago.

       Background

               My Efforts to Cooperate with Penn Investigation and the
               Investigation’s Failure to Provide Me with Requested, Relevant
               Documents

        In response to an inquiry from the law firm leading the investigation, I had my
counsel immediately respond to explain that I desired to cooperate with Penn’s investigation.
E-mail from Mark A. Aronchick to Joe Tucker dated May 17, 2021. Two days later, my
counsel John Summers wrote the investigators to reinforce my desire to cooperate,
explaining that because the events took place more than 35 years ago, I thought it important
to review relevant documentary evidence. Mr. Summers wrote by e-mail dated May 19,
2021:

               As a scholar and teacher, Dr. Mann has a keen interest in empirical work that
               relies on fact. Particularly here, where the controversy appears to center on
               events that took place more than 35 years ago, relevant documentary evidence

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                     is of course important. Dr. Mann therefore requests that the University
                     provide him access to whatever relevant documents it has or has access to so
                     that he can recall events as completely and accurately as possible, an interest
                     that I am sure the University shares. We anticipate in advance and appreciate
                     your cooperation on this.

Mr. Summers also provided the categories of documents that I thought important to me to
refresh my memory. 1

       Unfortunately, the investigators elected not to provide me with copies of documents
responsive to my requests and that it has had access to. In response to my request, Penn did
advise that the its Museum issued a Statement on Human Remains that was adopted in 2017
and posted to the Museum’s website in 2018; and further advising that the Museum did not
have a policy on human remains in 1985. E-mail from Sean Burke to John Summers dated
May 26, 2021. Thank you.

       In specific response to my request for documents, Penn advised that it “had no
extant relevant documents.” My request, however, was not limited to what Penn had or
what Penn (or its investigators) thought relevant, but rather I had requested what documents
Penn and the investigators had access to that would assist me in accurately recalling events
for Penn’s inquiry. After all, what I was interested in was the documents that
Penn/investigators had access to, not where they originally were found. I therefore had my
counsel explain that my request was for copies of responsive documents included those that
the investigators had reviewed as part of its investigation, whether or not Penn had them. E-
Mail from John Summers to Joe Tucker dated June 29, 2021.

       Regrettably, in response, although the investigators acknowledged that it had
reviewed documents at Temple University and/or the City of Philadelphia that were
“relevant to Dr. Mann,” they continued to not provide me with copies of the requested


1
    We specifically identified the following categories of documents:
      1. Any and all documents constituting guidelines, policies or practices (whether or not related to forensic
          investigations), for the period 1985 to the present, regarding: (a) the receipt, treatment, storage or transfer of
          skeletal fragments or human remains at the Museum; (b) the receipt, treatment, storage or transfer of skeletal
          fragments or human remains by Penn faculty; and (c) the use of skeletal fragments or human remains by Penn
          faculty in connection with teaching, research or otherwise.
      2. Any and all documents referring or relating to the skeletal fragments or human remains from the MOVE
          bombing (“MOVE Remains”), including without limitation: (a) any requests for or agreements to examine,
          analyze or study the MOVE Remains; (b) the examination, analysis or study of the MOVE Remains; (c) the use
          of the MOVE Remains in connection with any examination, analysis, study or teaching; and (d) the potential or
          actual transfer of the MOVE Remains to the Africa (or MOVE) family, Dr. Mann or anyone else.
      3. Any and all documents related to any alleged involvement by Dr. Mann with the MOVE Remains after he left
          the University of Pennsylvania to join Princeton University, including without limitation, in connection with (a)
          any Penn Professor’s teaching or other work at Princeton; or (b) the Coursera course entitled Real Bones:
          Adventures in Forensic Anthropology
      4. Any and all documents that refer or relate to Dr. Mann’s involvement with the MOVE remains, including
          without limitation, each of the above topics, as well as any other involvement.


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documents, and only referenced two documents. E-Mail from Joe Tucker to John Summers
dated July 1, 2021.

       From my perspective, cooperation is a two way street; I have repeatedly offered to
cooperate and wanted to cooperate, yet the investigators have declined to provide me with
copies of documents it readily acknowledges it has had access to and are relevant to me.
Nevertheless, I am prepared to assist Penn’s investigation by submitting this Statement
based on what I presently recall, as caveated above. I respectfully decline, however, to
submit to an interview because the investigators declined to provide me copies of
documents that it acknowledges are relevant to me. The documents would have been
helpful to my recalling events; and the refusal to provide them reveals an unwillingness to
cooperate with me and, frankly, offends my – and I think any reasonable person’s -- sense of
fundamental fairness. 2

         1985 MOVE Incident

       On May 13, 1985, city officials dropped explosives on a home in West Philadelphia.
The resulting fire killed 11 people, 5 of whom were children, and burned down more than 60
homes in the surrounding neighborhood. It was a shocking act of violence against the
members of MOVE.

       Thirty-six years later, this unimaginable tragedy is once again in the news and
surrounded by controversy. One part of that controversy is the handling of fragments of
two bones found at the scene of the crime.

        In 1985, my then-colleague Janet Monge and I, both physical anthropologists at the
University of Pennsylvania, were asked by the Philadelphia medical examiner’s office to help
identify the victims of the MOVE massacre. We undertook this work because we wanted to
help document a crime, with the hope that identification of the victims would bring a small
measure of peace to their families. I can’t imagine the pain and anguish experienced by the
victims and their loved ones. The loss of children, their lives cut short by the bombing of
their home, is heartbreaking.

         Approximately 1985 - 1986

       Within several days after May 13, at the request of the medical examiner’s office I
went to Osage Avenue to assist in identifying the remains of the victims of the bombing. It
was a horrible site. The house was a smoldering rubble. The remains of some of the
MOVE family lay in the rubble, incinerated by the fire. The site did not appear well


2 The investigators wrote, “[i]f you do not [submit to an interview], we will conclude our investigation and submit our

findings and recommendations without your client’s input and will make note of such.” E-Mail from Joe Tucker to John
Summers dated July 1, 2021. If any such “note” (or anything similar or any criticism of me for not submitting to an
interview) is made, this Statement should be attached to the writings including the “note” so that the reader can
understand my explanation for not participating in the interview.

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organized; the local police milled about and it was only the FBI that appeared focused on
trying to identify the remains.

       I recall that Dr. Monge and I were asked to review two bone fragments from the
same person, labeled B1, small segments of a pelvis and an upper part of a leg bone. The
question was whether they were the remains of a young girl (aged approximately 12 or 13) or
of a young adult woman, aged 17 to 21. Dr. Monge and I performed the examination that
was available to us at the time, namely physical examination, and concluded the latter (i.e.,
they were of a young adult woman) primarily because there was no discernable growth plate
evident in the skeletal fragments. As the MOVE investigation proceeded, it turned out that
Dr. Monge and my conclusion differed from that of other professional anthropologists, who
concluded that they were fragments from a young girl, aged approximately 13. Ultimately,
the MOVE Commission concluded that the remains were from a young girl based on, I
understand, the opinions of other professional anthropologists’ opinions.

         After the Move Commission completed its work in 1986, the City medical examiner
provided Dr. Monge and me the bone fragments to allow us to continue our review, in
particular to see if our opinion or that of the other anthropologists was correct. I do not
recall the specifics about how Dr. Monge and I obtained the fragments or any instructions
from the medical examiner’s office. I do recall that, at that time, the medical examiner’s
office was about 5 or 6 blocks from the Penn Museum and that either Dr. Monge or I went
to the medical examiner’s office to pick up the fragments or the fragments were provided to
Dr. Monge and me by the medical examiner’s office.

       My involvement at that time was tied to my positions at Penn. Dr. Monge and I both
held positions at the Penn Museum and I was a tenured Professor in the Department of
Anthropology. I had previously worked with the medical examiner’s office while I was at
Penn and with the Museum. We received the fragments for our review at the Museum and
we entrusted the bone fragments to the Penn Museum for safekeeping. I don’t believe that
the Penn Museum had any policies governing the receipt of bone fragments or remains such
as these. I felt assured, however, that the bone fragments were being safeguarded because
they were secured in the Penn Museum temperature and humidity controlled laboratory, and
by bubble wrapping them and placing them in a box inside a locked steel cabinet.

        I do not specifically recall, apart from re-examining the bone fragments, what we did
with the fragments after we secured them at the Penn Museum. As professors and scholars,
we were open to trying as best we could to determine whether the bone fragments were
from a young girl or a young adult woman. We continued to study the bone fragments and
also allowed some outside anthropologists, while they were at the University Museum for a
forensic anthropology session, to review them. They agreed with our conclusions that the
fragments were from a young woman 17-21 years of age. My best recollection is that Dr.
Monge’s and my conclusions did not change from our initial understandings; there thus
remained a difference between our original conclusions and that of the other anthropologists
who originally studied the fragments. Because methods of testing bone fragments evolve

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over time, I decided that, while my inquiry was then done, there might be future developed
tests or methods that could better identify the bone fragments.

        Thus, after early to mid-1986, I understood that the bone fragments continued to stay
at the Penn Museum for safekeeping, allowing further study as future testing methods
became available.

       After 1986

        My involvement with the bone fragments ended by early to mid-1986. After then, I
do not recall opening the Penn Museum cabinet that safeguarded the fragments or reviewing
the fragments. I also do not recall using the bone fragments for my teaching or research.

        In 2001, I left Penn to accept a position at Princeton University, where I have been
ever since. To my knowledge the bone fragments did not leave the Penn Museum from
1985 to 2001. Since joining Princeton in 2001, I recall seeing the bone fragments on several
occasions at Princeton when Dr. Monge came to Princeton to teach forensic anthropology.
She brought the bone fragments on those occasions and I looked at them. I do not recall
when that happened other than it was sometime between 2001 and 2015. I do not recall
seeing or reviewing the bone fragments at any other time at Princeton, nor do I recall seeing
or reviewing them, at Penn or elsewhere. I did not use them in my teaching or research.

       I understand that there is controversy regarding a video Coursera course that she
taught in which it is alleged that she showed, mentioned or identified the bone fragments. I
have no knowledge of this as I was not involved in the course and have not seen it.

       I recall that, at a time before I retired in 2015, Dr. Monge informed me that she had
attempted to reach out to members of the Africa group to obtain DNA samples to see
whether that could inform the study of the bones. She may also have asked whether the
family wanted the remains, but I am unclear about that. Absent additional information, I am
unable to date when this happened with any more precision. I did not participate in Dr.
Monge’s reach out. I believe, however, that she told me that she did not hear back from the
family members or that the family members would not participate.

        On April 18, 2021, Dr. Monge came to my home and gave me a small box containing
the bone fragments. She was upset and explained that there was a controversy at Penn
regarding them. I did not understand why they were being given to me, but I received the
box, as an accommodation to a longstanding and upset colleague. Within days, I received a
call from the Penn Museum that the remains were going to be picked up from me and
provided to a funeral home. That happened on April 30.

       Reflection

       Throughout my career, I’ve handled the remains and investigated the deaths of
people from many backgrounds, always with care and dignity. But anthropologists have

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sometimes historically not treated Black, Brown, and Native bodies with respect. We as a
society are finally confronting the systemic racism that has pervaded academia and
anthropology, in particular. I have long supported these efforts at reform. For example,
while at Penn, I – and Dr. Monge -- have helped with the repatriation of hundreds of
skeletal remains from Penn back to the communities from which they were stolen, including
some remains obtained by the 19th century white supremacist Samuel Morton.

      I believe, however, there is much more work to be done. The field of anthropology
must confront and reckon with its racist past. Universities and museums around the globe
must acknowledge their institutional racism and the harm done to communities of color.




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Sent: Wednesday, December 3, 2014 7:48 AM
To: Malcolm Burnley
Cc: Janet Monge
Subject: Re: Reached Consuewella

It is always so great to hear from you Malcolm.
Did Consuewella answer the phone yesterday? I am so so curious....
I hope you are healthy and healthy Malcolm. We miss seeing you at Penn.
JMo

Janet Monge

University of Pennsylvania Museum/Anthropology
3260 South Street
Phila., PA 19104



On Dec 1, 2014, at 4:35 PM, Malcolm Burnley <                             > wrote:

 Janet,

 I finally just got Consuewella on the phone. She nearly hung up on me when I mentioned her daughter's name. But she told me
 to call back tomorrow at 4pm.

 I had preplanned what I wanted to say when I called in the past, but I wasn't expecting her, so I kind of stumbled on my words. I
 managed to convey that the city might've gotten something wrong about her daughter's remains. I'm praying that she'll speak
 tomorrow, as she said.

 Wanted to give you the update. Might be the break we need.

 -Malcolm
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                          EXHIBIT 17
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  From: Malcolm Burnley
Subject: Re: Schedu e next week?
   Date: December 29, 2014 at 8:48 AM
     To: Janet Monge


       H Janet,

       I have to take a ra n check on tomorrow. My apo og es. Any chance you cou d do Wednesday?

       Ramona ema ed me back w th one ne, "No, I w not ta k to you." I guess I have to try to find the unc e now.

       Very d sappo nt ng.

       Sent from my Phone

       On Dec 22, 2014, at 11:32 AM, "Janet Monge" <                            > wrote:

         Hey Ma co m. I have to cance for tomorrow….so sorry about th s. It ooks ke I m ght have to go to Pr nceton. Do you th nk we
         cou d met up on tuesday December 30?
         JMo

         Janet Monge

         University of Pennsylvania Museum/Anthropology
         3260 South Street
         Phila., PA 19104




         On Dec 18, 2014, at 12:01 PM, Ma co m Burn ey <                              > wrote:

           Tuesday sounds wonderfu . And thank you—I m exc ted about both stor es. I te you more when we see each other.

           How are you fee ng?

           -Ma co m
           On Dec 18, 2014, at 11:32 AM, Janet Monge wrote:

             Hey Ma co m. YES. Maybe we can met up on tuesday. But you are r ght…..progress w be s ow on th s one. Thanks for the
             update and rea y happy to read about your feature stor es! That s GRAND. JMo

             Janet Monge

             University of Pennsylvania Museum/Anthropology
             3260 South Street
             Phila., PA 19104




             On Dec 18, 2014, at 11:20 AM, Ma co m Burn ey <                               > wrote:

                  Janet,

                  How are you fee ng? Any better (I hope!)?

                  I ve tr ed Conswue a a few t mes th s week and no answer. I d d not eave a message ntent ona y. I ve a so reached out to
                  the reporter who wrote Ph y Mag s story on B rd e Afr ca, so that he can g ve me Ramona s contact nfo.

                  I got some good news ear er th s week n that I ve got a coup e feature stor es ned up for January. Exc t ng news, wh ch had
                  me busy on Monday and Tuesday. So I m sorry I don t have further to report on our p ece—wh ch I m gett ng back to today.

                  Are you around next week to meet for unch? I cou d st come tomorrow, a though there m ght not be much progress for a
                  few days.

                  Ta k soon,
                  Ma co m
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                          EXHIBIT 18
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COURSERA.

General Outline.
The course is divided into 6 topical units. Within each unit, there are 4 segments (videos
showing Janet Monge talking to slides). 4 of the units contain student videos (showing bones/
mummies).
All segments with slides were lmed in the McGraw Center Studio at Princeton University. All
student videos were lmed in Room 190, Penn Museum.
At the end if each UNIT, there is an examination. There are readings for each UNIT.
Each Unit has a summary at the beginning of the Unit to let the students know what is covered
in that Unit.

                                           1 PERSONHOOD
                                             Losing Personhood: MOVE. A case
S1
                                             study
S2                                           Restoring personhood
S3                                           Tools of the trade
                                             Compared to what? Introduction to
S4
                                             forensic data
                                           2 BONES AND TEETH
S1                                           Teeth - the basics
S2                                           How teeth grow and develop
S3                                           Bone - the basics
S4                                           How bones grow and develop
                                             FORENSIC ANTHROPOLOGY
                                           3
                                             TOOK KIT
S1                                           Is this forensically interesting?
                                             Recovery process and case studies
S2
                                             (Holmes and Duffy’s Cut)
S3                                           Morphological sex
S4                                           Aging and comparative standards
                                             ASSESSING GROWTH AND
                                           4
                                             ADULTHOOD
S1                                           What is a growth standard?
S2                                           Stages of growth
S3                                           Dental and hand/wrist standards
                                             Do we need new growth
S4
                                             standards?
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               fi
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                                                      5 AGING TEETH
                                                        Dental, skeletal and chronological
          S1
                                                        age
          S2                                            Assessment of dental age
          S3                                            Staging of individula teeth
                                                        Development of standards -
          S4
                                                        Moorrees method
                                                        GROWING UP AND GROWING
                                                      6
                                                        OLD
          S1                                            Applying hand/wrist x-ray standards
          S2                                            Aging adult skulls
          S3                                            Aging adult pelves and teeth
                                                        Trauma and markers of
          S4
                                                        occupational stress

          UNIT

          Video showing the application of forensic tools of skeletal aging and the identi cation of
          morphological sexing.

          Unit 1 frames the discussion within forensic anthropology using a case study of the
          MOVE organization. The human remains are burned. This is more than just a forensic
          anthropology case study. There are very serious issues of social and political
          consequences of the event that led up to the assault on a neighborhood in Philadelphia
          and its outcome in a confrontation with law enforcement agencies



          VICE NEWS PODCAST
          https://www.youtube.com/watch?v=cWifLtv06H

          Philadelphia Inquire
          https://www.youtube.com/watch?v=widNelzBSQ


          Interviews with surviving MOVE members, Ramona Africa and Michael Ward (Birdie
          Africa) and various people involved in the incident. This video gives various viewpoints
          on the confrontation and aftermath. It also shows the political and social context of a
          forensic case of this magnitude.
 

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                         UNIT

                         This Unit introduces the structure, microstructure and function of bones and teeth. This
                         is part of the basic “toolkit” for forensic anthropologists because bone and tooth growth
                         and maintenance is critical to an understanding of techniques that are used often in
                         forensics, most importantly in assigning age at death of unknown remains.

                         Topics covered include
                         -identi cation of parts of bone and toot
                         -how these parts form/change beginning in the fetus, though growth and development,
                         to adulthoo
                         -how bone and tooth accommodates change in the adult bod
                         -what are the cells that produce bone and tooth and how do these maintain the
                         structural components of bone and tooth

                         Once you understand these processes of growth and maintenance, many of the
                         techniques applied in forensic anthropology covered in subsequent units will be much
                         clearer. The quiz questions in this unit will test your basic knowledge of the human
                         skeleton.

                         UNIT

                         Timeline: mummy scienc
                         https://www.youtube.com/watch?v=KNv_IxtiUL

                         This video (about 50 minutes long) is about the analysis of 3,000 year old well
                         preserved Egyptian mummy using many state of the art scienti c techniques. Many of
                         these techniques are applied in modern forensic cases.

                         The video is really about restoring personhood to a mummi ed individual. Here you can
                         see the application of
                         x-ray and CT scan analysi
                         various chemical tests on the residues and proteins extracted from the mumm
                         forensic ar
                         forensic archaeolog
                         paleopathology and causes of deat
                         problems assigning morphological sex

                         Introduced in this Unit are
                         What are growth standard
                         Are these population speci c standards
                         Patterns of health and disease in bone and tooth.
                         Forensic dentistry - pathology - tooth abscess and bone resorption
                         Issues associated with the identi cation of morpological sex
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          UNIT

          NO “FORENSIC ANTHROPOLOGIST AT WORK” segment for this Uni

          Youtube video

          https://www.youtube.com/watch?v=y12JxtlFER

          There are many speciality areas in forensics. This video focusses on Forensic
          Odontology (also called Forensic Dentistry). In general, these specialists are dentists
          that take on the special project of working with law enforcement to identify individuals in
          medical/legal cases. Many of the techniques will be familiar to you after you nish this
          Unit. There is a short segment in the video about bite marks, showing the differences
          between human and animal marks left on human esh.


          OVERVIEW OF UNIT

          Unit 5 covers
           The basics of the identi cation of individual teeth in the human jaws (maxilla and
          mandible) including all of the tooth types: Incisors, Canines, Premolars and Molars
           A discussion of “growth standards”. Growth standards are used to give an age at death
          in forensic cases
           How to read a dental x-rays and stage the degree of development of individual teeth
           A comparison of 2 different growth standards (Demirjian and Moorrees) developed in
          the middle of the 20thC
           Are new growth standards necessary for modern forensic cases?

          UNIT

          This Unit Video 1 completes the discussion of the use of “standards” applied to forensic
          cases where the recovered remains include those of young individuals. The emphasis
          in this Unit is on the use of Hand/Wrist x-rays for the assessment of age-at-death of
          those remains.

          No forensic course is complete without a discussion of the aging of adult individuals.
          Unlike in aging of young individuals, adult individuals can only be assessed in very
          broad categories like young, middle and older adult.

          Finally, this unit explores the use of forensic techniques to determine if the person in life
          experienced any episodes of trauma. Trauma forensically is determined to be before
          death (antemortem trauma with bone healing), perimortem (occurring around the time of
          death with little or no evidence of healing) or postmortem (breakage or distortion of
          bone or other tissues that occurred after the death of the individual).
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https://www.youtube.com/watch?v=3zqZPujAPuc


TED talk by Fredy Peccerelli on the genocide and recovery of information on genocidal
acts committed in Guatamala. The analysis of trauma is included in this video as are
discussions of aging and sexing of the skeletons. In addition, DNA recovery and
comparison to living community members is a large part of this story. In his TED talk
Peccerelli adeptly describes all of the political and social issues associated with the
identification of genocidal acts.  


https://www.youtube.com/watch?v=mfi6gOX0Nf4


Finding and identifying the remains of Richard III. It begins with an excavation in a
parking lot to the eventual process returning personhood to the remains. From
excavation to analysis, the excavation team steps through the process including a
detailed description of the sampling and analysis of ancient DNA.  




STUDENT VIDEOS at the PENN MUSEUM


Segment 1


STUDENT:  


MA, 2017, Egyptology, Department of Near Eastern Language and Civilization,
University of Pennsylvania.  

Intern: Penn Museum, Physical Anthropology Section


TITLE: Aging, dentition, gross morphology

                 (M.A. 2019 Egyptology, Department of Near Eastern Languages and
Civilization, University of Pennsylvania.     is also a research intern in the Physical
Anthropology Section of the Penn Museum) is doing a preliminary analysis of a series of
lower jaws from young individuals. This segment is on the analysis of whole bone/tooth
without the advantage of x-rays or CT scans to show the degree of development of
each tooth crown and root. Instead,              is looking at the eruption of the teeth,
and where possible when a tooth in the crypt is visible, at the degree of development of
the rooting system. Most of these jaws show a mixed dentition with both primary and
permanent teeth in place or in the process of erupting. From this initial inspection, he is
able to give a good estimate of the age at death of the individuals. Within this
sequence, we take a first look at an adult dentition showing various types of dental
disease including cavities and tooth loss due to infection. 



Segment 2

STUDENT:

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BA candidate 2020, Department of Anthropology, University of Pennsylvania.  


TITLE: Mummy and personhood

               (BA Candidate Anthropology, expected degree 2020, University of
Pennsylvania), experiences mummified remains for the first time. She discusses body
position, in this case a folded fetal position (if a person is buried in this position but with
the head upright, then the position is called the “ready” position) and what it is like to
bury a body. Then she moves on to discuss what can be learned on the morphological
sex of the mummified person - she is morphologically female. Finally,
estimates the age of the individual based on the full adult dentition. An X-Ray or a CT
scan of this individual would allow a more detailed analysis of the skull and pelvis for the
assessment of morphological sex and yield more detailed information on the dentition
and, in this case, perhaps for the assessment of dental disease.



Segment 3

STUDENT:


BA, 2019, Department of Anthropology, University of Pennsylvania

Intern: Penn Museum, Physical Anthropology Section


TITLE: MOVE - an analysis of the remains

              (2019 BA Anthropology, University of Pennsylvania) works towards the
identification of morphological sex and age at death of one of the MOVE remains.
Unfortunately, the only skeletal parts of this person recovered from the burned building
were a top part of a femur bone and one side (innominate) of the pelvis.        goes
over the process of how age was assessed using growth plates and growth features of
both of these bones. Her final assessment is that this individual was a morphological
female and that she died in the fire at at least 18 to 20 years of age. 


Segment 4

STUDENT:


BA, 2019, Departments of Anthropology and Environmental Science, University of
Pennsylvania

Intern: Penn Museum, Physical Anthropology Section


TITLE: Trauma - old, new, healing

          looks at several examples of cranial trauma in humans. Purposeful actions,
like trephination, a type of both ancient and modern skull surgery, and subsequent
healing, are described. She also discusses perimortem trauma on the skulls of
individuals who were killed in a conflict. Unlike the trephinated skull there is no sign of
bone healing. Additionally, the bone displays plastic distortion indicating that the
wounds were sustained while the individual was alive or just recently dead - thus
perimortem.

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                      EXAMPLE OF ONE OF THE QUIZES.

                      Morphological sex in forensic anthropology cases
                      is assessed using both the skull and pelvi
                      cannot be accurately assesse
                      can be assessed in both children and adult
                      can be assessed only in adults using the pelvi
                      none of the abov
                      ANSWER:

                      2. The “body” position of human remains
                      is rarely useful in a forensic investigation
                      is important in the recognition of a case that is forensically signi canc
                      is never part of forensic investigatio
                      is usually in the form of an extended (face upwards, arms to the side, legs straight)
                      buria
                      is only important if the remains have been burie
                      ANSWER:


                      3. Hypoplasia
                      is present in the teeth and in the long bones of the skeleton
                      is the same as dental calculu
                      is a line of arrested growth during infant and child enamel formatio
                      always results in the premature loss of teet
                      is viewed radiographically (with X-Rays
                      ANSWER:

                      4. Which of these statements is true
                      human and other mammal bones are morphologically identical to each other
                      raccoons and dogs often nd and retrieve human remains from unihabited areas
                      all forensic anthropologists can recognize and identify even small fragments of bon
                      a clandestine burial can be identi ed based on changes to the vegetation and soi
                      a and
                      c and
                      ANSWER:

                      5. Morphological sex in the skull
                      is expressed in a range from super-female to super-mal
                      is expressed in the degree of development of the muscle attachment area
                      is expressed in features of the chin ranging from round to a
                      is the second best area for the assessment of sex in the skeleto
                      all of the above except
                      a and
                      ANSWER
l

     d

      d

      b

           E

                A

                 B

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                                         Memorandum

To: Provost Wendell Pritchett, University of Pennsylvania

From: Dr. Michelle Glantz (C’90, Gr’99), Professor and Chair, Department of Anthropology
    and Geography, Interim Chair, Department of Ethnic Studies, Colorado State University;
    Dr. Sheela Athreya (G’96), Associate Professor and Chancellor’s Edges Fellow,
    Department of Anthropology, Texas A&M University;
    Dr. Jane Kauer (C’88, Gr’02), Assistant to the Physical Anthropology Section Lead, Penn
    Museum;
    Dr. Melissa Murphy (HC’94, Gr’04), Associate Professor and Interim Chair, Department
    of Anthropology, University of Wyoming;
    Dr. Emily Renscher (BMC’96, Gr’07),
    Dr. Pamela L. Geller (C’96, Gr’04), Associate Professor, Department of Anthropology,
    University of Miami
    Dr. Alexis T. Boutin (Gr’08), Professor and Chair, Department of Anthropology, Sonoma
    State University
    Dr. Briana Pobiner (BMC ’97), Research Scientist and Educator, Department of
    Anthropology, National Museum of Natural History, Smithsonian Institution

Re: The Samuel G. Morton Crania Collection and its steward, Dr. Janet Monge

Date: September 9, 2020

Overview

The intention of this letter is to alert you to a growing and damaging misrepresentation of how
the Penn Museum approaches the curation of the Samuel G. Morton Crania Collection (links
below) and the potential for an inexcusable scapegoating of its steward, Dr. Janet Monge
(Gr’91). We are reaching out to you with urgency to caution against any new policy decisions
about the collection based on recent media and to advocate for Dr. Monge and her
management of the collection. We are deeply concerned that descriptions in the media have
been fueled by individuals on the Penn campus with careerist motivations and/or without
sufficient knowledge of the history of the debate. Now, this unvetted commentary is positioned
to inform policy changes that are misguided about what to do with the collection. Particularly
troubling is the notion that the collection and those who have worked with it should be
‘cancelled.’

Why our voices need to be considered

As alumni, we collectively hold eleven degrees from Penn, two from Bryn Mawr College, one
from Haverford College, and six PhDs conferred by the School of Arts and Sciences and the
Department of Anthropology. We have in common the Penn perspective on biological
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anthropology that we attribute to the significant and positive years-long mentorship of Dr.
Monge, the current Curator in Charge of the Physical Anthropology Section at the Penn Museum
as well as non-tenure track faculty in the Department of Anthropology. In addition, all of us
have worked with the Samuel G. Morton Collection in some capacity. As professional mid-
career anthropologists, we possess the disciplinary expertise needed to navigate the complex
history of biological anthropology and its ethical challenges as well as NAGPRA (the Native
American Graves Protection and Repatriation Act of 1990) policies and guidance. We draw on
our collective experiences in the field and our knowledge of Dr. Monge’s professionalism to
provide you with context and perspective on the curation of the Samuel G. Morton
Collection.

Background to the current global crisis concerning human skeletal collections housed in western
institutions

It is a painful reality that all scientific skeletal collections around the globe, Morton’s included,
are largely comprised of bodies from vulnerable and victimized communities. We have
published on the morally troublesome roots of anthropology and related topics throughout our
careers (Glantz, 2019, Athreya and Ackermann 2019, Boutin 2019, Boutin et al., 2017, Long and
Boutin, 2018; Murphy 2017a and b, Geller 2015, 2017, 2020, in prep; Geller and Stojanowski
2017, Renschler and Monge 2008). Indeed, anthropology and archaeology as disciplines and
museums such as Penn’s would not exist today in their current forms, if not for their colonial
roots. We are at a crossroads where, in the current social and political climate, it is easy to target
every dimension of anthropology for its past appropriation of bodies and cultures. These
criticisms are valid and serve as a call to action to improve the discipline and correct museum
practices. At the same time, research institutions, like Penn, have provided the critical training
materials for decades of students who today burnish the university’s reputation by being among
those anthropologists at the forefront of advocating for change in the management of such
collections.

Thanks to Dr. Monge, we have spent our careers engaging in post-colonial critiques of
anthropology and attendant museum policies to interrogate the role the discipline has played in
the continuing objectification and exploitation of brown and Black bodies. We have seen how
this interrogation requires collaboration with descendant communities impacted by the collection
of their ancestors currently housed in institutions like the Penn Museum. But we also have seen
individuals from outside of these communities try to hijack the narrative, to speak for brown and
Black communities by leveraging the mantle of advocacy. This represents a 21st century form of
neo-colonialism.

One of the problems is that although NAGPRA lays out clear guidelines for Native American
remains and cultural material, best practices related to historic Black and brown communities are
not clear – and it is this discussion that is relevant to the management of the Morton Collection.
As you can imagine, the merits of foregrounding a collaborative approach to resolving these
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problems is populated by good and bad actors. The bad actors exploit the perceived opening as
an opportunity to serve themselves and their careers.

Our concern: We are aware of self-serving actors who have maneuvered their cause into a
powerful but woefully ignorant narrative about the issues and personnel associated with
the curation of the Morton Collection, and are using the conversation and cloak of allyship
to further their own privilege and voice in the name of underrepresented peoples.

Our Plea to you: We call for a halt to any policy action or personnel changes until a fair
consideration of our concerns can be addressed by an independent group of experts.

What we can attest to as former students of Dr. Monge

During her tenure at Penn, Dr. Monge has raised thousands of dollars in donations to the
museum from the community and Penn alumni. She has recruited most of the biological
anthropology majors into the department through her well-regarded teaching and mentoring, and
served on countless graduate committees. Her work with students has given rise to a new
generation of highly successful biological anthropologists. Dr. Monge also boasts a robust and
unimpeachable research record, including two successfully funded NSF projects1 related to
museum collections and their use.

Dr. Monge has been at the forefront of conversations about the use and misuse of skeletal
material in biological anthropology and the need for community engagement. Importantly, long
before any self-serving actors materialized, she had initiated and supervised the successful
repatriation of hundreds of individuals. All of us can attest to the fact that Dr. Monge uses the
museum exhibitions2 to educate students and the broader public about how science has been
used to justify and naturalize racism and racial categories. In Dr. Monge, Penn has a fierce ally
for what we understand to be strong and ethically-driven science. It is exactly her success at
doing this that helped produce the generation of scholars who drafted this memo to you.

Unfortunately, the initial Daily Pennsylvanian article did not research Dr. Monge’s vanguard
role in these conversations over the past 30 years, or credit her for the important work she has
done. This incomplete but seductive narrative was picked up by other media outlets—a fresh
bloodletting is always exciting fodder for news outlets.



1
 National Science Foundation grant: Native Voices: Past and Present” (2005-2008). This project gave
Native American college students the opportunity to work on Penn Museum collections in partnership
with other Penn undergraduate students.
2
 https://penntoday.upenn.edu/news/making-and-unmaking-race-morton-collection-human-crania-
spotlight-penn-museum
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The published accounts of the collection’s management are poorly informed to say the least, and
we fear her position at Penn is vulnerable because it is not tenure-track.

Current critiques of museum holdings and management are important and justified, but
NONE of them can be applied to Dr. Monge’s curatorial oversight of Penn’s human
skeletal collections. We have witnessed Dr. Monge’s engagement with these issues over the last
30 years. All of us have first-hand knowledge of her work in advocating for a decolonizing
process with the Morton Collection. Allowing outsiders to co-opt the process in the thin disguise
of promoting an ethical high ground conveniently obscures their own complicity as participants
in and beneficiaries of the colonial structures that support the institutions they seek to tear down.
Dr. Monge embodies the best practices of curation as we can and will document in detail if
asked. Her professional demeanor is inclusive, not obstructionist or opportunistic. She must not
be scapegoated because of political expediency. Her long service to the university should be
cherished and appreciated as a resource, and given the respect afforded to those with protected
status in the university community.

Concluding note

We understand that changes are already in motion with regard to the Morton Collection and its
management; if done reactively Penn loses the opportunity to signal its position on the right side
of this cause long before it was brought to the attention of the media. It would be a grave mistake
to damage the career and scapegoat a 30-year, devoted, thoughtful and productive member of
Penn’s faculty, instead of relying on her leadership, wisdom and voice regarding the collection
she has helped catalogue, organize, repatriate, and use as an example of how biological
anthropology should move forward on these matters in the 21st century.

Again, we ask that you to halt any movement toward policy changes until a fair evaluation
of the circumstances can take place. We are certain that other renowned biological
anthropologists will readily join our plea for fairness. If need be, we will pursue our unified
position publicly.
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   I.      Recent media coverage concerning Samuel G. Morton Collection

https://www.thedp.com/article/2020/06/penn-museum-samuel-morton-collection-repatriation-nagpra-
skulls-racist-science

https://www.nytimes.com/2020/07/27/us/Penn-museum-slavery-skulls-Morton-cranial.html

https://www.inquirer.com/news/penn-museum-morton-enslaved-skulls-student-activists-
20200727.html

https://www.art-critique.com/en/2020/07/penn-museum-to-return-skulls-held-in-the-morton-cranial-
collection/

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    Bioarchaeology Through Community Collaboration. Bioarchaeology International 1(3-4): 191-204.
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    Collection. In Disturbing Bodies: Perspectives on Forensic Anthropology, edited by Z. Crossland and
    R. Joyce, pp. 137-56. Santa Fe, NM: SAR Press.
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Glantz, Michelle M. 2019. Hegemony and the Central Asian Paleolithic record: perspectives on
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Long, Madison and Alexis T. Boutin. 2018. A Skull’s Tale: From Middle Bronze Age Subject to
    Teaching Collection ‘Object’. In Bioarchaeological Analyses and Bodies: New Ways of Knowing
    Anatomical and Archaeological Skeletal Collections. P.K. Stone, ed. Springer International
    Publishing AG, pp. 213-230.
Murphy, M.S. and H. Klaus (editors). 2017a. Colonized Bodies, Worlds Transformed. Toward a Global
    Bioarchaeology of Contact and Colonialism. Gainesville: University Press of Florida
Murphy, M.S. and H. Klaus. 2017b. Transcending conquest: Bioarchaeological perspectives on conquest
    and culture contact for the twenty-first century. In Colonized Bodies, Worlds Transformed. Toward a
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MORTON COLLECTION/MOVE REMAINS PUBLIC CONTROVERSY TIMELINE

10/4/18:   “A New Take on the 19th- Century Skull collection of Samuel Morton”
           Science Daily, Paul Mitchell

5/2019:    Monge – Mitchell argument over Morton Collection, Mitchell barred
           from access to collection, however he continued to have access until August
           of 2019

7/12/19:   “As Repatriation Debate Continues, the University of Pennsylvania Has a
           Role to Play” Philadelphia Inquirer, Abdul-Aily Muhammad

7/29/20:   “Penn Museum to Relocate Skull Collection of Enslaved People” New
           York Times, Johnny Diaz

           “Penn Museum to Repatriate Skulls of Enslaved People Held in the Morton
           Cranial Collection” Art Critique, Katherine Keener

8/20       Penn Museum forms Morton Collection Committee to determine “next
           steps towards repatriation or reburial of the crania of enslaved individuals
           within this Collection.” The Committee proposed a “NAGPR informed
           infrastructure and process that would inform the repatriation or
           reburial of the enslaved and Black individuals in the Collection.”

9/9/20:    Letter to Provost Pritchett from six women anthropologists expressing their
           concerns that the Morton Collection public controversy was being used to
           “scapegoat” Janet Monge, Exhibit 25.

12/8/20:   Tinney held meeting to discuss Mitchell’s claim that certain skulls in the
           Morton Collection were of Blacks from Philadelphia.

1/21/21:   Penn Museum announces the hiring of Christopher Woods as the new
           executive director

2/9/21     Mitchell tells Monge during a two-hour telephone conversation that the
           remains of 14 Blacks in the Morton Collection had been robbed from graves
           located at the old Philadelphia Alms House and Potter’s Field that are
           currently partially covered by Franklin Field.

2/15/21:   “Black Philadelphians in the Samuel Morton Cranial Collection” Penn
           Program on Race, Science and Society, Paul Mitchell
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2/16/21:   “Some Skulls in Penn Museum Collection May Be the Remains of Enslaved
           People from a Nearby Burial Ground” Philadelphia Inquirer, Steven
           Salisbury

4/1/21:    Christopher Woods started as Penn Museum Director

4/5/21:    “It Past Time for Penn Museum to Repatriate the Morton Skull Collection”
           Philadelphia Inquirer, Abdul-Aily Muhammad

4/7/21:    “Activists Renew Calls for Penn Museum to Repatriate Skulls of Enslaved
           People” Hyperallergic, Hakim Bishara


4/8/21:    Morton Collection Committee issues report of process for repatriation and
           burial of certain remains.



4/12/21:   Woods announced plans to deaccession the skulls in the Morton Cranial
           Collection

4/13/21    “Penn Museum Announces Recommendations for Repatriation of Human
           Skulls” The Art Newspaper, Gabriela Angeleti

4/14/21    “Penn Museum to Repatriate Skulls of Black Americans and Slaves from
           Cuba” Philadelphia Tribune, Peter Crimmins, WHYY,

4/16/21    “How a Museum’s Skull Collection Sparked a Racial Reckoning.” Forbes
           Magazine, Kelleher

4/16/21:   Paul Mitchell met with Christopher Woods to discuss his concerns about
           the Morton Collection and the MOVE remains at the Museum

           Maya Kassutto contacts a Museum employee to “fact check” an article that
           she is writing on the MOVE remains.

4/18/21    Jake Nussbaum, an anthropology graduate student, sends Princeton an
           email regarding the Coursera course.

4/21/21    “Penn Owes Reparations for Previously Holding Remains of a MOVE
           Bombing Victim.” Philadelphia Inquirer, Abdul-Aily Muhammad

           “Remains of Children Killed in MOVE Bombing Sat in a Box at Penn
           Museum for Decades” Billy Penn Newsletter, Maya Kassutto
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4/22/21    “Racism Has No Place in Our Museum” Statement of Penn Museum on
           Morton Collection

4/23/21    Mitchell publicly circulates a document claiming that the remains of two
           MOVE children were at the Penn Museum.

           “Penn Museum Kept Remains of MOVE Bombing Victim: Now, Activists
           Call for Curator’s Firing ”Hyperallergic, Hakim Bishara

4/26/21    “Penn Museum apologizes….” Philadelphia Inquirer, Vinny Vella, and
           Mensa Dean

           American Association of Anthropologists condemns treatment of the remains.

4/27/21    “Princeton Apologizes for the Handling of the MOVE remains” Princetonian

           “MOVE Members Mourn Their Children’s Lives as Penn Museum
           Apologizes for Storing Remains” Billy Penn Newsletter, Maya Kussutto

4/28/21    “Toward a Respectful Resolution…” First Penn Museum Statement,
           on MOVE remains, Pritchett, and Woods

           Abdul-Aily Muhammed and 100 protesters march at Penn Museum over
           MOVE remains

4/29/21:   “Penn, Princeton Apologize for Treatment of Bombing Victims Remains”
           Inside Higher Education, Colleen Flaherty

5/4/21     “Toward a Respectful Resolution Apology to the Africa Family” Updated
           Penn Museum Statement, Pritchett, and Woods.

5/9/21     “Laying Questions to Rest: Treatment of MOVE Remains Probe”
           Philadelphia Inquirer, Abdul-Aily Muhammad

5/10/21    “As Philly Reckons with MOVE Remains, Anthropologists Must Confront
           Our Role” Philadelphia Inquirer, Tisa Loewen

5/16/21    “Saying Her Name” The New Yorker, Heather Thompson

7/2/21     MOVE remains returned to MOVE members
